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                                                                    Page 364

 1                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
 2                                EASTERN DIVISION
 3
            ______________________________
 4
            IN RE: NATIONAL PRESCRIPTION                    MDL No. 2804
 5          OPIATE LITIGATION                               Case No. 17-md-2804
 6
            This document relates to:                       Judge Dan
 7                                                          Aaron Polster
 8          The County of Cuyahoga v. Purdue
            Pharma, L.P., et al.
 9          Case No. 17-OP-45005
10          City of Cleveland, Ohio vs. Purdue
            Pharma, L.P., et al.
11          Case No. 18-OP-45132
12          The County of Summit, Ohio,
            et al. v. Purdue Pharma, L.P.,
13          et al.
            Case No. 18-OP-45090
14          _______________________________
15
16
17                                 VOLUME II
18                  Videotaped Deposition of Joseph Rannazzisi
19                              Washington, D.C.
20                               May 15, 2019
21                                 8:43 a.m.
22
23
24          Reported by: Bonnie L. Russo
25          Job No. 3301884

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                                                             Page 365                                                                 Page 367
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     1   APPEARANCES (CONTINUED):                                        1   APPEARANCES (CONTINUED):
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                                                                                                                              3 (Pages 369 - 372)
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     1          CONTENTS
                                                                                       1          PROCEEDINGS
     2    EXAMINATION OF JOSEPH RANNAZZISI                          PAGE
     3    BY MR. LANIER            375                                                 2
     4                      631
     5    BY MR. MAINIGI            513
                                                                                       3           THE VIDEOGRAPHER: We are now on
     6    BY MR. EPPICH            582                                                 4   the record. My name is Dan Lawlor, I'm a
     7    BY MR. STEPHENS            610
     8
                                                                                       5   videographer with Golkow Litigation Services.
     9                EXHIBITS                                                         6   Today's date is May 15, 2019, and the time is
    10
          Exhibit 1 Letter dated 9-27-06  428
                                                                                       7   8:43 a.m.
    11           ALLERGAN_MDL_02467796-7799                                            8          This video deposition is being held
    12    Exhibit 2 Letter dated 12-27-07  463
                 MCKMDL00478910-8911                                                   9   in Washington, D.C., in the matter of In RE:
    13                                                                                10   National Prescription Opioid Litigation, MDL
          Exhibit 3 Settlement and Release              471
    14           Agreement                                                            11   No. 2804. The deponent is Joseph Rannazzisi.
                ABDCMDL00279854-9865                                                  12          Counsel will be noted on the
    15
          Exhibit 4 Settlement and Release    473                                     13   stenographic record. The court reporter is
    16           Agreement and Administrative                                         14   Bonnie Russo and will now swear in the witness.
                 Memorandum of Agreement
    17           MCKMDL00337001-7024                                                  15
    18    Exhibit 5 Administrative Memorandum     475                                 16             JOSEPH RANNAZZISI,
                 of Agreement
    19           MCKMDL00355350-5363                                                  17    being first duly sworn, to tell the truth, the
    20    Exhibit 6 Settlement Agreement      484                                     18      whole truth and nothing but the truth,
                 CVS-MDLT1-000060796-804
    21                                                                                19            testified as follows:
          Exhibit 7 Administrative Memorandum                 486                     20      EXAMINATION BY COUNSEL FOR PLAINTIFFS
    22           of Agreement
                 MNK-T1_0007027620-7650                                               21         BY MR. LANIER:
    23                                                                                22      Q. Mr. Rannazzisi, thank you for your
          Exhibit 8 Handwritten Slides                 512
    24                                                                                23   time today. My name is Mark Lanier. You and I
          Exhibit 9 Title 21 United States Code 525
                                                                                      24   have not met before you sat down here just a
    25           (USC) Controlled Substances Act
                 Section 823                                                          25   few minutes ago; is that right?
                                                                           Page 374                                                      Page 376
     1   EXHIBITS (CONTINUED):
     2                                                                                 1       A. That's correct.
     3
         Exhibit 10 Title 21 Code of Federal
                Regulations
                                                 525
                                                                                       2       Q. You understand, though, that I
     4
                Section 1301.74                                                        3    represent the claimants that are bringing this
         Exhibit 11 Report to Congressional      576                                   4    lawsuit against the various opioid defendants
     5          Requesters
                June 2015                                                              5    that are present in court today.
     6
         Exhibit 12 DEA's Privilege/Redaction Log 595                                  6           Do you understand?
     7
         Exhibit 13 Handwritten Slides          610
                                                                                       7       A. Yes.
     8
         Exhibit 14 The Drug Enforcement      622
                                                                                       8       Q. All right. I have got a picture
     9          Administration's Role in                                               9    with some notes that I will make as we go
                Combating the Opioid Epidemic
    10          Hearing                                                               10    along. That's you.
                3-20-18
    11                                                                                11           Did I spell your name right?
    12   Exhibit 15 Washington Post Article
                10-15-17
                                                 634
                                                                                      12       A. Yes, sir.
    13
         Exhibit 16 Industry Compliance     648
                                                                                      13       Q. Would you pronounce it for me so
    14         Guidelines Healthcare                                                  14    that I can pronounce it right?
                Distribution Management
    15          Association Industry                                                  15       A. Rannazzisi.
                Compliance Guidelines:
    16          Reporting Suspicious Orders                                           16       Q. Rannazzisi. All right. And that
    17
                and Preventing Diversion of
                Controlled Substances
                                                                                      17    picture looks pretty much like you. I don't
    18   Exhibit 17 NWDA Suspicious Order
                Monitoring System date
                                               652                                    18    see much difference there.
    19          stamped 6-21-93                                                       19           Let me tell you where we would like
         CAH_MDL_PRIORPROD_DEA07_00869965-0002
    20                                                                                20    to go today and what all I need to ask you
         Exhibit 18 Administrative Memorandum          654
    21          of Agreement                                                          21    about. I have done a little roadmap for you
    22
                CAH_MDL2804_00135203-5210
                                                                                      22    and for the jury so that we can follow along.
    23
         Exhibit 19 Memorandum dated 3-1-07
                Handwritten Slide
                                            671                                       23    The roadmap, I am calling you the 60 Minute
         CAH_MDL_PRIORPROD_DEA12_00010978-979                                         24    Man. You have been on 60 Minutes; is that
    24
    25   (Exhibits included with transcript.)                                         25    right?
                                                                                                                         4 (Pages 373 - 376)
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                                                  Page 377                                                  Page 379
     1       A. Yes, sir.                                     1      Q. Fair enough. All right. Did you
     2       Q. All right. So on 60 Minute Man                2   ever work as a pharmacist?
     3   Road, I want to make a stop to talk about your       3      A. I interned at a community pharmacy,
     4   background, I want to make a stop to talk about      4   Hooks Drugstore in Indianapolis and my primary
     5   the 60 Minutes episode and then I want to ask        5   employment post-graduation was at the Veterans
     6   some follow-up questions and we will deal with       6   Administration as a staff pharmacist.
     7   some roadblocks or some questions about your         7      Q. So you were a pharmacy intern and
     8   testimony along the way. Okay?                       8   then a staff pharmacist for the VA?
     9       A. Yes, sir.                                     9      A. Yes.
    10       Q. So with that, if you have got any            10      Q. All right. Did you get any more
    11   questions as we go along, let me know but we're     11   education beyond your bachelor's degree in
    12   going to begin with stopping at your background     12   pharmacy?
    13   and I will start a clean sheet on your              13      A. Yes, sir, I did.
    14   background so that we can look at it together.      14      Q. What else -- where else did you go
    15   All right?                                          15   to school?
    16       A. Yes, sir.                                    16      A. I went to Detroit College of Law at
    17       Q. Would you please tell the jury a             17   Michigan State University and received my juris
    18   little bit about where you are from, where you      18   doctor in 1999.
    19   grew up, just so they've got a feel for you.        19      Q. So Michigan State University?
    20       A. I grew up in a town on Long Island,          20      A. Detroit College of Law.
    21   New York, Freeport, New York. It's a smaller        21      Q. Detroit College of Law. And you got
    22   town on the south shore of Long Island. Went        22   a law degree?
    23   to Freeport High School, from Freeport High         23      A. Yes, sir.
    24   School, I went to Butler University.                24      Q. What year was that?
    25       Q. And Butler university is in                  25      A. '99.
                                                  Page 378                                                  Page 380
     1   Indianapolis?                                        1      Q. Did you ever take the bar exam?
     2      A. Yes, sir.                                      2      A. Yes, sir.
     3      Q. What's their mascot, the Butler --             3      Q. Did you pass?
     4      A. Bulldogs.                                      4      A. Yes, sir.
     5      Q. -- bulldogs.                                   5      Q. So you are a lawyer as well?
     6      A. Yes, sir.                                      6      A. Yes, sir, State of -- a member of
     7      Q. All right. So you were a bulldog               7   the Michigan Bar.
     8   and when did you get out of college, out of          8      Q. All right. Do you keep your law
     9   Butler?                                              9   license up as well?
    10      A. 1984.                                         10      A. Yes, sir.
    11      Q. And what was your major?                      11      Q. All right. In addition to your --
    12      A. Pharmacy.                                     12   by the way, did you ever do work as a lawyer
    13      Q. Are you actually a licensed                   13   per se?
    14   pharmacist or have you been at some point in        14      A. Just in my daily functions as a
    15   your life?                                          15   deputy assistant administrator.
    16      A. Yes, sir. I maintain my pharmacy              16      Q. All right. That's what we will get
    17   license, State of Indiana.                          17   to in a moment.
    18      Q. Okay. So you are a licensed                   18          You have worked for the DEA; is that
    19   pharmacist in Indiana. What does that enable        19   correct?
    20   you to do?                                          20      A. Yes, sir.
    21      A. It enables me to dispense medication          21      Q. Okay. So I got on the Internet
    22   pursuant to physicians' prescriptions.              22   because I am a visual guy and I looked up these
    23      Q. I assume that is if you are in                23   pictures and this is what I found.
    24   Indiana?                                            24          Did you get one of those badges?
    25      A. If I am in Indiana, yes, sir.                 25      A. Yes, sir, I did.

                                                                                             5 (Pages 377 - 380)
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                                                   Page 381                                                 Page 383
     1      Q. So you had, like, one of these DEA              1   the badge?
     2   badges we see people flash on TV?                     2       A. Yes, sir.
     3      A. Yes, sir. Special agent badge.                  3       Q. Did you, like, carry a gun and
     4      Q. All right. When did you start                   4   stuff?
     5   working for the DEA?                                  5       A. Yes, sir.
     6      A. 1986 was when I was on board with               6       Q. When we see the TV shows and they
     7   the DEA.                                              7   make the drug busts of, like, the person
     8      Q. Spoiler alert. Are you still with               8   selling the street drugs or something like
     9   the DEA?                                              9   that, are those DEA agents sometimes?
    10      A. No, I retired.                                 10           MS. MAINIGI: Objection.
    11      Q. When did you retire?                           11           THE WITNESS: Sometimes they are
    12      A. 2015.                                          12   portrayed as DEA agents, yes.
    13      Q. And there is a story behind that               13           BY MR. LANIER:
    14   that we will get to later on, but for now, the       14       Q. I mean, did you ever, like, arrest
    15   jury can know that you worked there from '86 to      15   anybody or do any of that stuff?
    16   2015?                                                16           MS. MAINIGI: Objection.
    17      A. Yes, sir.                                      17           THE WITNESS: Yes, sir.
    18      Q. Can you give us a thumbnail sketch             18           BY MR. LANIER:
    19   of what kinds of jobs you did for our Drug           19       Q. All right. In addition to your job
    20   Enforcement Administration?                          20   starting in '88 as a special agent, what else
    21      A. Initially from '86 to '88, I was a             21   did you do for the DEA?
    22   diversion investigator.                              22       A. Well, in '88, I started in general
    23      Q. All right. Now I think everybody is            23   enforcement. I was working just general
    24   going to know by the time we play your               24   illicit drug cases concentrating on clandestine
    25   deposition, but just in case they don't, define      25   laboratories, methamphetamine and amphetamine
                                                   Page 382                                                 Page 384
     1   for us what is diversion.                             1   cases, up until that occurred -- up until about
     2      A. Diversion is when pharmaceuticals or            2   1995 or '96.
     3   listed chemicals are taken from the normal            3          At that point in time, I was
     4   stream or the legitimate stream of commerce and       4   promoted to the group supervisor of the Red Rum
     5   moved into the illicit marketplace.                   5   Task Force which is a drug-related homicide
     6      Q. So diversion happens when drugs are             6   task force and we worked homicides,
     7   diverted from their legal use?                        7   drug-related homicides, street enforcement in
     8      A. Basically, yes.                                 8   public housing project cases. I guess from '96
     9      Q. Okay. So basically -- and does that             9   or '97 to 2000.
    10   happen often?                                        10      Q. All right. We're going to pause for
    11      A. Unfortunately, yes.                            11   just a moment.
    12      Q. So as a diversion investigator, what           12          Are you picking up the bam, bam,
    13   would you do?                                        13   bam, bam?
    14      A. We would investigate the methods               14          THE VIDEOGRAPHER: A little bit.
    15   trying to determine why or how those drugs are       15          MR. LANIER: Is there somebody who
    16   being removed from the illicit supply chain,         16   can stop the bam, bam, bam, bam?
    17   how they are getting to the illicit supply           17          Don't be charging my time to fixing
    18   chain and investigate and then take action to        18   the bam, bam, bam, bam, please.
    19   stop that from happening.                            19          THE VIDEOGRAPHER: Do you want to go
    20      Q. All right. In addition to your job             20   off the record?
    21   as a diversion investigator, what else did you       21          MR. LANIER: If we need to. I don't
    22   do for the DEA?                                      22   hear the bam, bam now. Do you?
    23      A. In 1988, I became a special agent.             23          Let's go off the record.
    24      Q. All right. So this first job was in            24          THE VIDEOGRAPHER: We are going off
    25   '86, '88, special agent -- is that when you get      25   the record. The time is 8:54.

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                                                   Page 385                                                 Page 387
     1          (A short recess was taken.)                    1   toxic chemicals in the confines of the
     2          THE VIDEOGRAPHER: This is the                  2   residence.
     3   beginning of Media File No. 2. The time is            3           We would have to dismantle potential
     4   8:58.                                                 4   clandestine lab, then remove those
     5          BY MR. LANIER:                                 5   contaminants, those gross contaminant, the
     6      Q. We had a brief break just now.                  6   chemicals that we have encountered that are
     7   During the break, I asked you, did you get one        7   being used to manufacture methamphetamine.
     8   of those windbreakers that have the big DEA in        8           BY MR. LANIER:
     9   gold on the back and you had told me yes, but         9      Q. Was your work as a DEA agent, in
    10   you also started telling me about the overalls       10   regards to some of this, ever one that put your
    11   or the jumpsuit. Jumpsuit, not overalls. What        11   life at risk?
    12   was that you were telling me?                        12      A. Yes, sir. Yes, sir.
    13      A. We also had jumpsuits that we wore             13      Q. All right. You worked then as -- in
    14   as well, jumpsuits -- basically to cover --          14   general enforcement, you worked as a group
    15   cover our whole bodies because we were               15   supervisor. Had work in the homicide unit.
    16   sometimes in environments that were extremely        16           What -- what other job work did you
    17   dirty, contaminated places, you know, to get         17   do with the DEA?
    18   full coverage. The windbreakers only cover the       18      A. In 2000, I was transferred to DEA
    19   top.                                                 19   headquarters as a staff coordinator for the
    20      Q. So the jury has got a full idea of             20   dangerous drugs and chemical section or
    21   what DEA agents do and what you do and the           21   domestic operations west, which became the
    22   skill set it takes to be an agent. I want you        22   dangerous drugs and chemical section, and
    23   to give us a little bit more detail about even       23   shortly thereafter, I was promoted to section
    24   just the jumpsuits. Why do you wear them? We         24   chief of that section.
    25   will start there and then I will ask you             25      Q. Dangerous drugs and chemical
                                                   Page 386                                                 Page 388
     1   another question afterwards.                          1   section. What is that?
     2          MR. BENNETT: Objection. Scope.                 2      A. Dangerous drugs and chemicals
     3          Do you understand the limits of what           3   handled pretty much everything except for
     4   you are allowed to discuss?                           4   cocaine, heroin and marijuana. So every -- all
     5          BY MR. LANIER:                                 5   the synthetic drugs that you see, all the
     6      Q. Yes, don't do it -- don't give me               6   manufactured clandestine --
     7   any secret info, just what publicly is                7   clandestinely-manufactured drugs, drugs like
     8   available. Thank you.                                 8   MDMA, methamphetamine, amphetamine,
     9      A. We wear the jumpsuits just to                   9   fenfluramine X, fentanyl, all those drugs that
    10   protect us from the environment that we are in,      10   are clandestinely-manufactured would fall under
    11   just to make sure that we are -- we have             11   the dangerous drugs, ecstasy, LSD.
    12   clothing that is not going to, you know, that        12      Q. All right. And you changed and went
    13   we could take off and wash so we are not             13   from being the staff coordinator for that to
    14   bringing anything home with us or any kind of        14   the chief you said?
    15   toxins or contaminates that might be on those        15      A. Section chief.
    16   clothes.                                             16      Q. Section chief. Do you remember
    17      Q. What was it you were doing that                17   about when that was?
    18   would expose you to toxins and contaminants if       18      A. Probably around 2001. Late 2000,
    19   you can tell me, publicly. Don't divulge any         19   early 2001.
    20   DEA secrets, please.                                 20      Q. And beyond that, did you have any
    21          MS. MAINIGI: Objection.                       21   other jobs with the DEA?
    22          THE WITNESS: We regularly would be            22      A. Yes. In -- I was -- in 2002, I was
    23   in environments, for instance, you know, crack       23   transferred back to the Detroit field division
    24   houses, clandestine labs, where we would go          24   as assistant special agent in charge,
    25   into environments that have some chemicals,          25   overseeing enforcement groups, HIDTA, the high

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     1   intensity drug -- high intensity drug                 1   or what was your next job after that?
     2   trafficking area groups and also                      2      A. In 2005, Mr. Walker was deployed,
     3   administration.                                       3   military service, and so the administrator
     4      Q. All right. And as we continue, Mr.              4   asked me to take over the office of diversion
     5   Rannazzisi, to look at your background, how --        5   control in addition to doing my duties as
     6   what was your next job within DEA beyond that?        6   deputy chief of enforcement operations. And
     7      A. In 2004, I was transferred back to              7   that was from about July of 2005 to January of
     8   DEA headquarters as a deputy director to the          8   2006.
     9   office of diversion control.                          9      Q. Okay. What was your next job within
    10      Q. And where is DEA headquarters?                 10   the company or company -- within the
    11      A. In Arlington, Virginia.                        11   government, the DEA?
    12      Q. So a suburb of Washington, D.C.?               12      A. In 2006, Administrator Tandy asked
    13      A. Yes, sir.                                      13   me to take the permanent deputy assistant
    14      Q. All right. Deputy director to the              14   administrator job in the office of diversion
    15   office of diversion control. What were your          15   control. I believe that was because Mr.
    16   job responsibilities there?                          16   Walker's time in the military was extended
    17      A. I was the number two person to the             17   quite a bit and they didn't want to leave it as
    18   deputy assistant administrator, at the time was      18   a part-time job. They wanted to fill it.
    19   Bill Walker and my day-to-day responsibilities       19      Q. All right. And what was your next
    20   were to review cases, make sure Mr. Walker had       20   job after that?
    21   the information he -- that was required for him      21      A. Retirement.
    22   to make policy decisions, reviewing documents,       22      Q. And so that took you up through
    23   just basically ensuring that the office ran          23   retirement?
    24   smoothly under his control.                          24      A. Yes.
    25      Q. And is that the ultimate job that              25      Q. Now I want to talk about since
                                                   Page 390                                                  Page 392
     1   you held? Did you keep that to retirement or          1   retirement, things that you've done, but before
     2   something else?                                       2   I do that, so that the jury can put this into a
     3      A. I was only in that position for                 3   context, would you help us understand what
     4   about three months and then I was transferred         4   diversion -- why is diversion relevant in the
     5   to the deputy chief of enforcement operations.        5   opioid litigation?
     6      Q. And so is this still around '04 or              6          MS. MAINIGI: Objection.
     7   so?                                                   7          MR. EPPICH: Objection.
     8      A. Yes, September of '04.                          8          BY MR. LANIER:
     9      Q. And you became the deputy chief of              9      Q. To you?
    10   -- what did you call it, enforcement?                10      A. Diversion is relevant because as
    11      A. Office of enforcement operations.              11   these opioids, these tablets, liquids,
    12      Q. And what did you do as that?                   12   whatever, move into the illicit marketplace,
    13      A. I was the -- behind the chief of               13   they cause harm to the general public.
    14   enforcement operations, we controlled all            14   Overdoses, deaths, you know, are because
    15   enforcement operations in the DEA worldwide.         15   diversion exists, and if diversion or even a
    16   We oversaw all the enforcement.                      16   small amount of diversion could cause a serious
    17      Q. So the DEA, and we may later look at           17   amount of harm in the communities where the
    18   the DEA budget. The DEA has reached where?           18   diversion is occurring.
    19      A. 66 countries, over 66 countries in             19      Q. All right. And so did you have
    20   the world plus throughout the United States, 21      20   frontline responsibility and observation and
    21   field divisions throughout the United States.        21   ability to learn and understand about the
    22      Q. All right. And you were the deputy             22   perils of diversion?
    23   chief for enforcement?                               23          MS. McCLURE: Objection.
    24      A. Yes, sir.                                      24          THE WITNESS: Yes, sir.
    25      Q. And how long did you keep that job,            25          BY MR. LANIER:

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     1      Q. Since you retired, and we will talk            1      Q. Sometimes you get paid to give
     2   about why you retired shortly, but since you         2   speeches?
     3   retired, what have you done?                         3      A. Yes, sir.
     4          MS. MAINIGI: Objection.                       4      Q. Sometimes you give speeches for
     5          THE WITNESS: I took time off, you             5   free?
     6   know, quite a few months and then I was working      6      A. Yes, sir. It's groups where
     7   with a tech company that was basically trying        7   families have lost children or lost loved ones.
     8   to create software to help the diversion -- to       8   Those are free. I generally just ask them to
     9   help identify diversion.                             9   pay for my way out and back. Law enforcement,
    10          In December of 2000 -- I guess it            10   free, except again, if they pay my way out and
    11   was December 2016, I went to work for the tech      11   back.
    12   company sometime in 2016, I believe it was May      12          Pharmacy -- some pharmacy groups,
    13   of 2016.                                            13   especially if it is, like, a state, they are
    14          In December of 2016, I underwent             14   doing -- if they are doing continuing
    15   heart surgery and I was -- I basically came         15   education, I will do those for free as well.
    16   back to the tech company for a very small brief     16      Q. What do you speak about?
    17   period of time because of what was going on         17      A. Generally my speeches are tailored
    18   health-wise, I left the tech company, and then      18   to what the audience, what they are interested
    19   I really -- most of my time was spent helping       19   in. Sometimes I will speak about the overall
    20   -- helping people in the opioid litigation.         20   opioid crisis where we will just talk about,
    21          BY MR. LANIER:                               21   you know, how it occurred, historically what
    22      Q. All right. So you are what is                 22   happened.
    23   called a consultant for folks; is that fair?        23          For pharmacists, I generally stay
    24      A. Yes.                                          24   towards corresponding responsibility, helping
    25          MS. McCLURE: Objection.                      25   the states and the pharmacists understand what
                                                  Page 394                                                   Page 396
     1         BY MR. LANIER:                          1          corresponding responsibility is and what is
     2      Q. And as a consultant, do you consult     2          required of a pharmacist with prescriptions and
     3   with legal teams for example?                 3          what they are supposed to do, how they are
     4      A. Yes, sir.                               4          supposed to resolve red flags.
     5      Q. What do you -- and I've never hired     5                  A lot of times, I go and speak and
     6   you but I would assume some different lawyers 6          then just help the parents, talk to parents,
     7   who may have litigation have. What do you     7          you know, who have lost kids, talk to parents
     8   charge as a consultant?                       8          who just want to tell their story which, you
     9      A. $500 an hour.                           9          know, is definitely -- it's tragic, all those
    10      Q. Are you getting paid for your          10          kids and all those people. Very tragic.
    11   testimony today?                             11             Q. All right. That's going to do our
    12      A. No, sir, except for my witness fee.    12          first stop on the road. So we have got your
    13      Q. Which is?                              13          background information here.
    14      A. $56.                                   14                  It is going to be relevant as we go
    15      Q. Per hour?                              15          along, but I want to move to the next stop on
    16      A. No. I think I got a check for $56.     16          the road, which is what I call the 60 Minute
    17      Q. You got 56 bucks for a couple of       17          stop. Okay?
    18   days of your time?                           18             A. Yes, sir.
    19      A. Yes, sir.                              19                  MR. STEPHENS: Object to form.
    20      Q. That is like jury duty.                20                  BY MR. LANIER:
    21         MR. STEPHENS: Objection.               21             Q. All right. Let's move to the 60
    22         BY MR. LANIER:                         22          Minute stop and we will get a sheet set up for
    23      Q. You have given speeches, I saw that    23          that stop and talk to you about that. Okay?
    24   in one of the write-ups, you gave?           24             A. Yes, sir.
    25      A. Yes.                                   25             Q. First set of questions here, how on

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      1   earth -- by the way, this 60 Minutes, that the       1   frankly, they saw -- they saw my testimony
      2   TV show, right?                                      2   before Congress and it wasn't difficult to see
      3      A. Yes, sir.                                      3   in my testimony before Congress, you know, it
      4      Q. That's the one that's got on those             4   was -- there was a lot of -- there was quite a
      5   ads, the ticking clock, tick, tick, tick, tick,      5   bit of tension between what DEA was doing and
      6   tick?                                                6   what Congress wanted us to do.
      7      A. Yes, sir.                                      7          BY MR. LANIER:
      8      Q. All right. What -- how did you even            8      Q. All right. If we -- I don't want to
      9   get involved to get on 60 Minutes? How did           9   go back necessarily to your background, but one
     10   that come about?                                    10   of the things that you did when you worked for
     11          MS. McCLURE: Objection.                      11   the DEA that we have left out is your testimony
     12          THE WITNESS: I -- it basically               12   to Congress.
     13   didn't start with 60 Minutes. It started with       13          You testified to Congress; is that
     14   reporters calling asking certain things about       14   right?
     15   the opioid crisis and I never -- if a reporter      15      A. Yes, sir.
     16   called and asked questions, I felt obligated to     16      Q. Do you recall how many times you got
     17   answer them.                                        17   called on to come give testimony to the United
     18          As more reporters called, reporters          18   States Congress?
     19   obviously read other reports and they started       19      A. I believe it's right around 33,
     20   -- Washington Post called and they were looking     20   maybe a little more.
     21   at a story and they asked several questions and     21      Q. So 33 times you were selected I
     22   I explained how things happened and how things      22   assume, or were you invited or how does that
     23   occurred in the opioid crisis, and they were        23   work?
     24   very interested in the Insurance Patient Access     24          MR. STEPHENS: Objection.
     25   Act and one thing led to another and they           25          THE WITNESS: Sometimes I was
                                                   Page 398                                                  Page 400
      1   started writing about different things and the       1   requested, other times, just a general witness
      2   interplay between, you know, Congress and other      2   was requested to the department and DEA and I
      3   entities.                                            3   was offered as the witness.
      4          From there, 60 Minutes started                4           BY MR. LANIER:
      5   working with the Washington Post and we ended        5       Q. You got served up to go testify?
      6   up on 60 Minutes.                                    6           MR. EPPICH: Objection.
      7          BY MR. LANIER:                                7           BY MR. LANIER:
      8      Q. Was not something you sought out?              8       Q. Was that kind of a scary thing to do
      9      A. No, sir.                                       9   at least the first few times?
     10          MR. STEPHENS: Object to form.                10       A. I think the first -- first couple of
     11          BY MR. LANIER:                               11   times, it was a little unnerving but as you do
     12      Q. Why you? Do you know?                         12   it, just like testifying in court. Once you --
     13          MR. STEPHENS: Object to form.                13   you know. It is not a -- the difference is the
     14          BY MR. LANIER:                               14   United States Congress, there is really no
     15      Q. Let me ask it this way. Let me                15   rules. I mean, they can pretty much ask
     16   re-ask the question.                                16   whatever they want and it could get -- it could
     17          In your mind, what made you                  17   get a little adversarial sometimes.
     18   particularly important or useful for a 60           18       Q. I mean, it's not -- when you go to
     19   Minutes story?                                      19   court, you can drive and park in a garage
     20          MS. MAINIGI: Objection.                      20   nearby. There is not, like, parking right at
     21          MR. EPPICH: Objection.                       21   the U.S. Congress, is there?
     22          THE WITNESS: I think because I was           22           MR. EPPICH: Objection.
     23   -- I was there during that time period. I was       23           THE WITNESS: No.
     24   there during the time period where the deaths       24           BY MR. LANIER:
     25   increased or the overdoses increased, and quite     25       Q. How -- where would you be giving

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                                                    Page 401                                                  Page 403
      1   this testimony?                                       1   distributors because of the way the bill was
      2      A. Depending on what committee it was              2   written.
      3   and the committee offices, the different              3          BY MR. LANIER:
      4   buildings that surround Congress, that surround       4      Q. When you say, "go after
      5   the Capitol, generally we go there, we would be       5   manufacturers and distributors," are we talking
      6   dropped off and then picked up.                       6   about including on the opioid matters?
      7      Q. All right. Okay. So we are talking              7      A. Yes, sir.
      8   about this in terms of 60 Minutes, that they --       8          MR. EPPICH: Objection.
      9   you had been there. You were at the DEA you           9          MS. MAINIGI: Objection. Form.
     10   said. You said that they had probably seen           10          THE WITNESS: Any controlled
     11   your testimony before Congress and some things       11   substance, it doesn't matter, but yes, opioids.
     12   like that.                                           12          BY MR. LANIER:
     13          What was the story that you were              13      Q. Was your concern in part -- at least
     14   there to testify about?                              14   in large part, the opioid crisis?
     15          MR. STEPHENS: Object to form.                 15          MR. EPPICH: Objection.
     16          BY MR. LANIER:                                16          MS. MAINIGI: Objection.
     17      Q. Not testify. Let me re-ask that.               17          THE WITNESS: Opioids and
     18          What was the story behind the 60              18   benzodiazepines at that point, yes.
     19   Minutes episode as you understood it?                19          BY MR. LANIER:
     20          MR. STEPHENS: Same objection.                 20      Q. And what do you mean by, "stop the
     21          MR. EPPICH: Objection.                        21   ability of the DEA to go after?" What do you
     22          THE WITNESS: Congress had passed a            22   mean by "go after?"
     23   bill called the Insurance Patient Access Act         23      A. We couldn't investigate
     24   and that bill in my opinion, hampered DEA's          24   manufacturers and distributors for diversion,
     25   ability to go after large manufacturers and          25   just like pharmacists and doctors. The
                                                    Page 402                                                  Page 404
      1   distributors with a tool that we had called an        1   difference is, when we made a decision that
      2   immediate suspension order. It also weakened          2   there was an imminent threat, imminent danger
      3   DEA's ability to do their administrative job,         3   to public health and safety, we had a tool at
      4   to stop the flow of controlled substances into        4   our disposal to stop, to do an immediate
      5   the illicit marketplace quickly.                      5   suspension on a DEA registration and while
      6           BY MR. LANIER:                                6   still affording due process, stopping the
      7      Q. Have I written this accurately, that            7   action, stopping the hemorrhaging of drugs into
      8   from your understanding, Congress passed a bill       8   a community or into a state, and what we were
      9   that you, Joe Rannazzisi thought hampered the         9   worried about was, we could still investigate
     10   DEA's ability to do its job stopping the flow        10   but the provisions of the bill that were passed
     11   of drugs?                                            11   now prevented us from using that immediate
     12      A. Drugs -- the controlled substances             12   suspension tool against the upstream
     13   into the illicit marketplace.                        13   manufacturers and distributors and it also gave
     14      Q. That's diversion?                              14   them -- it was almost like a get out of jail
     15      A. That would be diversion, yes.                  15   free card.
     16      Q. Had you spoken out against this                16           They could basically submit a
     17   bill?                                                17   corrective action plan and at that point in
     18           MR. EPPICH: Objection.                       18   time, we would have to determine whether to
     19           THE WITNESS: Yes. Beginning --               19   stop the administrative action from occurring
     20   when the bill was initially introduced the end       20   and allowing them to continue, and the whole
     21   of '13, early '14, when I was still in my            21   idea behind this was, if we did an order to
     22   former position, I was very vocal about what         22   show cause or administrative inspection or an
     23   the consequences of the bill would be, even in       23   immediate suspension order, the fact was, that
     24   the earliest form, that it would decrease DEA's      24   we didn't believe, we didn't have confidence
     25   ability to go after these manufacturers and          25   that those manufacturers or distributors would

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      1   continue to operate without diverting drugs.          1      Q. So it would be more than addiction
      2      Q. You have used a lot of terms that               2   but it would include addiction?
      3   are -- perhaps depending upon the level of the        3      A. Yeah.
      4   trial, at what point we are, that may be              4      Q. Physical, psychological abuse?
      5   unusual terms for some people.                        5      A. Dependence.
      6           So at the risk of making you be an            6      Q. Dependence. Sorry. Dependence.
      7   educator, will you help us understand some of         7          And that would include addiction?
      8   these terms, please?                                  8          MR. EPPICH: Objection.
      9      A. Sure.                                           9          THE WITNESS: Yes.
     10      Q. First of all, what is a controlled             10          BY MR. LANIER:
     11   substance?                                           11      Q. Are opioids in one of these -- are
     12      A. A controlled substance is a                    12   opioids a controlled substance?
     13   substance that is under one of five schedules        13      A. Yes.
     14   in the Controlled Substances Act.                    14      Q. What type of a controlled substance
     15      Q. There is an actual act passed by               15   are opioids?
     16   Congress called the Controlled Substances Act?       16          MS. MAINIGI: Objection.
     17      A. Yes, sir. It's under Title 21                  17          BY MR. LANIER:
     18   United States Code 800 throughout -- in fact,        18      Q. What category?
     19   scheduling actions, I believe are 21 USC 811 or      19      A. In Schedule I, heroin is an opioid.
     20   12. I think it was 811.                              20   It doesn't have a medical use but it is an
     21           And the Controlled Substances Act            21   opioid and it's found in the illicit
     22   set out five schedules. Schedule I being the         22   marketplace.
     23   most abused drugs that have no medical use.          23          Schedule II, you have drugs like
     24   Schedule II would be drugs that have a medical       24   oxycodone, hydrocodone, fentanyl. I mean,
     25   use but they have a high incidence of physical,      25   those were the -- those were the big ones.
                                                    Page 406                                                  Page 408
      1   psychological dependence.                             1      Q. And are those what we could commonly
      2      Q. All right. I'm going to pause                   2   call opioids?
      3   there. There are five, but these are two that         3      A. Yes, sir. Morphine is -- morphine
      4   help us out.                                          4   is in Schedule II as well. Morphine is a
      5          Schedule II, you said drugs that               5   natural product so it's included in an opioid,
      6   have a medical use?                                   6   as an opioid, but it's actually an opiate.
      7      A. Yes, sir.                                       7          All the rest of those drugs are
      8      Q. But have a high incidence of                    8   semisynthetic or synthetic drugs. Morphine is
      9   physical logical dependence?                          9   a natural product that's derived from the
     10          MR. EPPICH: Object to form.                   10   poppy.
     11          BY MR. LANIER:                                11      Q. So what, under the Controlled
     12      Q. Explain that, please.                          12   Substances Act, what happens to these
     13          MR. EPPICH: Object to form.                   13   controlled -- these opioids that are Category 2
     14          BY MR. LANIER:                                14   controlled substances?
     15      Q. Go ahead.                                      15          MS. McCLURE: Object to form.
     16      A. It's physical or psychological --              16          MS. MAINIGI: Objection.
     17      Q. Thank you.                                     17          MR. EPPICH: Objection. Vague.
     18      A. -- dependence.                                 18          THE WITNESS: I'm sorry. Could you
     19      Q. All right. So have a medical use,              19   --
     20   but a high incidence -- is that what we would        20          BY MR. LANIER:
     21   commonly just call addiction?                        21      Q. Yeah, yeah, yeah. It may be too
     22          MS. McCLURE: Objection.                       22   vague.
     23          THE WITNESS: You can -- you could             23          We got to this because you said that
     24   place addiction into that.                           24   the bill made it more difficult to go after
     25          BY MR. LANIER:                                25   manufacturers and distributors, you lost the

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                                                     Page 409                                                   Page 411
      1   tool to suspend and stop the actions, in               1   medication, they are -- that pharmacy is a DEA
      2   essence gave the companies a get out of jail           2   registrant. Not the pharmacist, but the
      3   free card.                                             3   pharmacy.
      4      A. Yes, sir.                                        4          The hospital is a DEA registrant, a
      5          MR. EPPICH: Objection.                          5   manufacturer is a DEA registrant, a distributor
      6          BY MR. LANIER:                                  6   is a DEA registrant, a nurse is not a DEA
      7      Q. So with that as the background, I                7   registrant unless they are a prescribing nurse,
      8   said what are the controlled substances and you        8   a practitioner, in which case they would be a
      9   started telling us about the Act. What is it           9   DEA registrant.
     10   that the DEA had the ability to do?                   10          So the Controlled Substances Act and
     11          MR. EPPICH: Objection. Form.                   11   the regulations specifically outline who is a
     12          MS. MAINIGI: Objection.                        12   registrant and what their requirements are to
     13          MS. McCLURE: Objection.                        13   maintain a registration and all DEA registrants
     14          THE WITNESS: If we identified in               14   must maintain effective controls against
     15   the supply chain diversion, moving drugs into,        15   diversion. That's 1301.71.
     16   you know, out of the legitimate supply chain to       16      Q. All right. So if the DEA registrant
     17   an environment or climate of diversion where          17   is someone who is registered to handle opioids,
     18   people are abusing the drugs that they are            18   for example, we are segregating out opioids,
     19   seeking or they're getting from that supply           19   are manufacturers registrants, manufacturers of
     20   chain, at that point in time, we could stop it.       20   opioids?
     21          We, you know, the administrator                21      A. Yes, sir.
     22   makes a determination that the activity of            22      Q. Are the distributors of those
     23   diversion that is occurring is an imminent            23   opioids from the manufacturers to the
     24   danger to public health and safety and at that        24   pharmacies or hospitals or whatever --
     25   point in time, we execute, issue an immediate         25          MS. MAINIGI: Objection. Form.
                                                     Page 410                                                   Page 412
      1   suspension order with an order to show cause           1           BY MR. LANIER:
      2   and that would stop them from doing any                2      Q. -- are they registrants?
      3   controlled substance business, so that would           3      A. Yes, sir. If they are dealing with
      4   stop them from distributing oxycodone,                 4   controlled substances, absolutely.
      5   hydrocodone, fentanyl downstream. That's how           5      Q. And if the sellers are selling
      6   it would work.                                         6   opioids, are they registrants?
      7          BY MR. LANIER:                                  7      A. The sellers being the pharmacies?
      8      Q. So we will get to this in more                   8      Q. Yes.
      9   detail later, but did the Controlled Substances        9      A. Yes.
     10   Act put any responsibilities on the                   10      Q. And then prescribers of opioids,
     11   manufacturers, the distributors, the retailers?       11   would they be registrants?
     12          MR. EPPICH: Objection.                         12      A. Yes.
     13          THE WITNESS: Yes, sir. Every                   13      Q. Hospitals that dispense opioids,
     14   registrant, every DEA registrant must maintain        14   would they be registrants?
     15   effective controls against diversion.                 15      A. Yes.
     16          BY MR. LANIER:                                 16      Q. In other words, can just anyone on
     17      Q. All right. You just used another                17   the street or any company or any business, can
     18   word I want to make sure we define, a                 18   the Kroger's grocery store outside of the
     19   registrant. What do you mean -- what is a             19   pharmacy section -- or maybe not Kroger's,
     20   registrant?                                           20   let's say mom and pop grocery stores, can
     21      A. A DEA registrant is a controlled                21   anyone handle or sell opioids openly?
     22   substance handler, a dispenser, a distributor         22           MR. EPPICH: Objection.
     23   so a practitioner that prescribes is a DEA            23           THE WITNESS: No, sir. You have to
     24   registrant, if he prescribes controlled               24   have a controlled substance registration. You
     25   substances. A pharmacy that dispenses                 25   have to be licensed by the state and registered
                                                                                               13 (Pages 409 - 412)
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                                                   Page 413                                                  Page 415
      1   with DEA to handle a controlled substance.           1      Q. So that I am real clear, I am
      2          BY MR. LANIER:                                2   reading word for word what you said on 60
      3      Q. Is -- all right. These are good                3   Minutes and I am just asking you to explain
      4   definitions.                                         4   what you said already publicly on 60 Minutes.
      5          Here is what I would like to do now.          5      A. I believe that that is accurate,
      6   I have got some quotes that you gave in the 60       6   based -- there is actually -- that was based on
      7   Minute story and I want to ask you about some        7   a document that was done, industry document,
      8   of those quotations. Okay?                           8   where they were talking about 80 to 90 percent
      9      A. Sure.                                          9   of the revenue for downstream sales were -- 80
     10      Q. So what we will do is, we will come           10   to 90 percent of the revenue -- I think it was
     11   up here and we'll put those quotation across        11   85 to 90 percent of the revenue of downstream
     12   the top here.                                       12   sales were based on Cardinal, McKesson and
     13          First of all, you spoke about the            13   AmerisourceBergen.
     14   three largest distributors. Explain to the          14      Q. Did you have experience interacting
     15   jury what a distributor is.                         15   with those distributors?
     16          MR. STEPHENS: Object to form.                16          MR. EPPICH: Object to form.
     17          THE WITNESS: A distributor obtains           17          THE WITNESS: Personally? Maybe two
     18   drugs from a manufacturer, controlled               18   of the three, but for the most part, my staff
     19   substances from a manufacturer, and then            19   -- my staff interacted with all three of those
     20   distributes -- distributes those controlled         20   companies.
     21   substances downstream to pharmacies, hospitals,     21          BY MR. LANIER:
     22   and in some cases nursing homes, to --              22      Q. You also said, this is an industry
     23   basically distributing to DEA registrants           23   that is out of control. What they want to do
     24   that -- outlets that provide patient care that      24   is, what -- is do what they want to do and not
     25   are allowed to maintain stocks of controlled        25   worry about what the law is and if they follow
                                                   Page 414                                                  Page 416
      1   substances.                                     1        the law and drug supply -- and if they don't
      2          BY MR. LANIER:                           2        follow the law and drug supply, people die,
      3       Q. You said, and I'm going to quota you     3        that's just it, people die.
      4   here -- let me put it up so that you can see    4                Do you remember saying that on 60
      5   it.                                             5        Minutes?
      6          The three largest distributors are       6           A. Yes, sir.
      7   Cardinal Health, McKesson and                   7                MR. STEPHENS: Object to form.
      8   AmerisourceBergen. They control probably 85 or  8                BY MR. LANIER:
      9   90 percent of the drugs going downstream.       9           Q. Was it an industry, based on your
     10          Did that reflect what you believed      10        experience and opinion, that was out of
     11   to be the truth?                               11        control?
     12          MR. EPPICH: Object to the form.         12                MR. EPPICH: Object to form.
     13          Object to the fact that we are not      13                MR. BENNETT: Objection. Scope.
     14   seeing the citation or the identification of   14                Same instruction.
     15   where this quote is coming from.               15                THE WITNESS: Yes, sir.
     16          MR. BENNETT: I will object to scope     16                BY MR. LANIER:
     17   and remind Mr. Rannazzisi that you are not     17           Q. Explain what you mean by that,
     18   allowed to base personal opinions on nonpublic 18        please.
     19   facts or information you've acquired in        19           A. I think for starters, we -- when we
     20   performance of your official duties.           20        saw the initial problem, we sat down and
     21          To the extent that you can answer       21        explained to them what the requirements were
     22   this question outside of nonpublic facts or    22        under the law. We kind of refreshed their
     23   information you acquired with the DEA, you may 23        recollection on what the regulations were and
     24   answer.                                        24        what their requirements were under the statute
     25          BY MR. LANIER:                          25        and under the regulations, under 1301.74 and
                                                                                            14 (Pages 413 - 416)
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                                                    Page 417                                                  Page 419
      1   also under A23 -- 21 USC A23.                         1   when looking -- I think the regulations are
      2           We sent letters, we tried to push             2   very specific. It says when an administrator
      3   them, enforce them into compliance, but they          3   is looking to see or to determine that the
      4   just -- they wouldn't comply, and my                  4   registrant is maintaining effective controls
      5   observations were that when they decided they         5   against diversion, the administrator is
      6   didn't want to comply, they just used influence       6   directed to the regulations in 1301.72 to 75, I
      7   to create a law or to change a law, so yeah, I        7   think it is, and 1301.74 -- 1301.74(b) is the
      8   pretty much believed that they were out of            8   provision that requires suspicious order
      9   control.                                              9   reporting, 1301.
     10           BY MR. LANIER:                               10      Q. So the registrants, these
     11      Q. All right. What I would like you to            11   manufacturers, distributors, sellers, et al.,
     12   do is explain to us, please, what the                12   the registrants are required to report a
     13   requirements were for compliance.                    13   suspicious order?
     14           What -- what was industry supposed           14      A. Yes, they are required to maintain a
     15   to be doing --                                       15   system that identifies suspicious orders and
     16           MS. MAINIGI: Objection. Form.                16   then they are supposed to report those
     17           BY MR. LANIER:                               17   suspicious orders when discovered.
     18      Q. -- that you thought they weren't               18      Q. So in addition to reporting one, you
     19   doing?                                               19   said they are supposed to maintain a system to
     20      A. Well, first of all, all DEA                    20   detect it?
     21   registrants are required to maintain effective       21      A. Yes.
     22   controls against diversion. Now, when you look       22      Q. What type of a system did -- would
     23   at the definition of maintaining effective           23   DEA -- would the DEA dictate that system or --
     24   controls against diversion, that includes            24   explain that to us, please.
     25   security provisions and one of the security          25          MR. EPPICH: Object to form.
                                                    Page 418                                                  Page 420
      1   provisions was to create and operate a system    1               THE WITNESS: The systems that are
      2   that identifies suspicious orders to the         2        -- that are in place, that's a business
      3   registrant.                                      3        decision. The company must determine what --
      4           A suspicious order in the regulation     4        what system is correct for their business model
      5   is an order of unusual size, frequency or        5        or how they are doing business, as long as it
      6   substantially deviating from the normal          6        identifies, you know, the definition of a
      7   ordering pattern. The suspicious order is        7        suspicious order, an order of unusual size,
      8   supposed to be reported to DEA when found, when 8         frequency or substantially deviating from the
      9   discovered.                                      9        normal ordering pattern, that is what the
     10      Q. All right. I'm going to break this        10        requirement is, and the -- it was the
     11   apart into subparts to make sure that I have    11        industry's or the registrant's system so they
     12   got it.                                         12        were to create that system.
     13           So what compliance is required, was     13               BY MR. LANIER:
     14   my question, and you started out by saying all  14            Q. All right. So it's a business
     15   of the registrants.                             15        decision based upon, I guess it might be
     16           So we remember, a registrant you        16        different for a manufacturer than a distributor
     17   said is someone who is registered to handle --  17        than a seller, et cetera?
     18   we are talking opioids here, so it would        18               MR. EPPICH: Object to form.
     19   include manufacturers and distributors and      19               MR. STEPHENS: Objection.
     20   sellers, prescribers and hospitals?             20               MS. MAINIGI: Object to form.
     21      A. Uh-huh.                                   21               THE WITNESS: Yes.
     22      Q. All registrants are required to           22               BY MR. LANIER:
     23   maintain effective control against diversion.   23            Q. But whatever decision they make, was
     24   How?                                            24        it required that they identify these suspicious
     25      A. Well, again, in the regulations,          25        orders?

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                                                 Page 421                                               Page 423
      1          MR. EPPICH: Object to form.               1   doing due diligence to make a determination and
      2          THE WITNESS: They must identify the 2         resolving suspicions. So it was the position
      3   suspicious orders and report them.               3   that those orders should not be shipped unless
      4          BY MR. LANIER:                            4   the suspicions were resolved.
      5      Q. All right. You have now used               5          BY MR. LANIER:
      6   another word that I want to make sure we         6      Q. So unless a full due diligence
      7   define, a suspicious order.                      7   resolved suspicions, you don't ship?
      8          What is a suspicious order?               8          MS. McCLURE: Objection to form.
      9      A. By definition, a suspicious order is       9          THE WITNESS: That's correct.
     10   a controlled substance order that is of unusual 10          MR. EPPICH: Objection. Leading.
     11   size, unusual frequency or substantially        11          BY MR. LANIER:
     12   deviating from the normal ordering pattern.     12      Q. All right. Now, your statement then
     13      Q. A substantial deviation from normal       13   to 60 Minutes was, this industry's out of
     14   pattern?                                        14   control, what they want to do is do what they
     15      A. Yes.                                      15   want to do and not worry about what the law is.
     16      Q. Does it have to be all three of           16          What, that you can tell us about,
     17   those?                                          17   did you base that opinion on?
     18      A. No.                                       18          MR. STEPHENS: Object to form.
     19          MR. EPPICH: Object to form.              19          MR. EPPICH: Objection to the Touhy
     20          THE WITNESS: No, it doesn't.             20   authorization to the extent you are calling for
     21          BY MR. LANIER:                           21   any information that he learned during his time
     22      Q. Two of them?                              22   at the DEA.
     23          MR. EPPICH: Object to form. Calls        23          MR. BENNETT: Mr. Rannazzisi has
     24   for a legal conclusion.                         24   been authorized to disclose his personal
     25          MS. McCLURE: Object to form.             25   recollection regarding your interactions with
                                                 Page 422                                               Page 424
      1          BY MR. LANIER:                            1   manufacturers and distributors of opioids
      2      Q. Based upon the practice -- I am            2   during your tenure at the office of diversion
      3   talking to you. I know you are a lawyer, but I 3     control and your recollection of communication
      4   am talking to you based upon the practice of     4   with those registrants regarding suspicious
      5   the DEA and what they would enforce.             5   orders.
      6      A. It doesn't -- it doesn't have to be        6          So you are authorized to talk about
      7   all three. It doesn't have to be two of the      7   those communications and interactions.
      8   three. Generally, it is multiple, but for the    8   However, you are not authorized to disclose any
      9   most part, it could be just one.                 9   information regarding nonpublic specific DEA
     10      Q. Okay. So the company -- the               10   investigations or activities.
     11   registrants are required to maintain effective 11           THE WITNESS: Okay. Thank you.
     12   control to detect suspicious orders and         12          Initially in 2005, we sat down with
     13   identify them.                                  13   the three major distributors and explained to
     14          Who do they report these suspicious      14   them what the diversion problem was at that
     15   orders to?                                      15   point in time and what they needed to do. We
     16      A. The Drug Enforcement Administration. 16        reminded them that they must file suspicious
     17      Q. Do they simply report them or does        17   order reports with the DEA.
     18   it have any implications for whether or not     18          We gave them specific instances of
     19   they ship them?                                 19   -- of orders for each distributor that would be
     20          MR. EPPICH: Object to the form.          20   deemed suspicious, that should have been deemed
     21          THE WITNESS: We -- we took the           21   suspicious, should have been reviewed,
     22   position that if you're maintaining effective   22   reconciled, and we explained that that is what
     23   controls against diversion and you have a       23   -- not only what we expect, but that is what
     24   suspicious order, you wouldn't ship that        24   the law requires, what the regulation requires.
     25   because by definition, it's suspicious, without 25          And we tied it back to maintaining

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                                                     Page 425                                                 Page 427
      1   effective controls against diversion explaining        1   what -- that's what I meant by people die.
      2   that their -- their licenses, their DEA                2   Diversion causes death.
      3   registrations required them to maintain                3          MR. LANIER: Okay. Can we take a
      4   effective controls against diversion.                  4   break for a moment, please. Go off the record.
      5           After that, we sent out letters with           5          THE VIDEOGRAPHER: We're going off
      6   almost the same language explaining what the           6   the record. The time is 9:52.
      7   requirements were, but it continued to happen.         7          (A short recess was taken.)
      8   It continued to not file suspicious orders or          8          THE VIDEOGRAPHER: We are going back
      9   to go around the suspicious order requirement          9   on record. Beginning Media File No. 2. The
     10   or creating systems where the systems looked          10   time is 10:09.
     11   good but they were not executing systems as           11          BY MR. LANIER:
     12   required, and I think that is what I -- the           12      Q. Okay. Before the break, we had gone
     13   second round, after we served orders to show          13   through our roadmap, Mr. Rannazzisi, and we had
     14   cause and immediate suspension orders in 2007         14   done background. We talked about the 60
     15   and I guess '7 and '8 -- '6, '7 and '8, the           15   Minutes and you were starting to explain some
     16   second round, when it still occurred, only            16   of the background behind the 60 Minute story,
     17   instead of the Internet, it was pain clinics          17   so I'm going to transition us to follow up as
     18   but the same patterns were occurring.                 18   our last stop on the road.
     19           We took the same action against them          19          What we're going to do with follow
     20   for doing the same things. It was a different         20   up is, I want to follow up with some more
     21   type of -- a different type of diversion, but         21   information and questions about the 60 Minute
     22   it was the same pattern of activity and they          22   things and about what you have said, but I also
     23   still didn't -- they still didn't comply.             23   want to talk about some potential roadblocks
     24           And again, when they decided that,            24   that have been discussed with you. Okay?
     25   you know, they just didn't want to get fined          25      A. Yes, sir.
                                                     Page 426                                                 Page 428
      1   anymore, they just didn't want to have their --        1      Q. All right. In that regard then, we
      2   their registrations revoked, suspended, they           2   were on this sheet where we were talking about
      3   brought it to Congress and changed the law.            3   the diversion methods and I am transitioning us
      4   That's what I meant by out of control.                 4   to overflow or follow up so that we can make
      5           BY MR. LANIER:                                 5   our subsequent notes.
      6      Q. All right. And then the last part                6          Specifically, you said you sent
      7   of your statement here, if they don't follow           7   letters in 2006 and 2007 after you had already
      8   the law in drug supply, people die. That's             8   sat with the distributors and explained the law
      9   just it. People die.                                   9   and what was expected.
     10           Explain what you meant when you said          10          Do you recall that testimony?
     11   that.                                                 11      A. Yes, sir.
     12           MR. STEPHENS: Object to form.                 12      Q. I'd like to show you those letters,
     13           MS. MAINIGI: Object to form.                  13   two of the letters at least and talk to you
     14           THE WITNESS: Again, when you have             14   about them in some detail.
     15   diversion and these drugs are -- are going out        15          So the first letter we will mark as
     16   into the community and getting into the wrong         16   exhibit number -- do you remember what the next
     17   hands, the drugs are being used without               17   exhibit number is? Am I safe saying Exhibit
     18   supervision. The drugs are being abused. It           18   No. 1?
     19   causes overdose, that causes death.                   19          All right. We're going to call this
     20           That is why our police officers had           20   Exhibit No. 1 and let me give you a copy of it
     21   to start carrying Naloxone because there were         21   as well, sir.
     22   overdoses. Some communities were overrun with         22          (Deposition Exhibit 1 was marked for
     23   overdoses. We were losing people left and             23   identification.)
     24   right. In '15 or '14, we lost over 16,000             24          MR. LANIER: And counsel.
     25   people just to the pharmaceuticals. That's            25          BY MR. LANIER:

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                                                   Page 429                                                 Page 431
      1      Q. So what I have got here marked as              1   record. The time is 10:13.
      2   Exhibit No. 1 is U.S. Department of Justice          2          (A short recess was taken.)
      3   Drug Enforcement Administration.                     3          THE VIDEOGRAPHER: Going back on
      4          By the way, what does that                    4   record. Beginning Media File No. 4. The time
      5   Department of Justice mean on top of DEA?            5   is 10:15.
      6          MR. EPPICH: Object to form.                   6          BY MR. LANIER:
      7          MS. MAINIGI: Objection to form.               7      Q. Every -- you sent this letter to
      8          THE WITNESS: The Drug Enforcement             8   every commercial entity registered with the DEA
      9   Administration is under the Department of            9   to distribute controlled substances.
     10   Justice, United States Department of Justice.       10          Are those what you defined earlier
     11          BY MR. LANIER:                               11   as DEA registrants?
     12      Q. Okay. So if we were to chart                  12      A. No. It would just be the
     13   through the government and put, like, a             13   distributors and the manufacturers.
     14   corporate tree of the government, the DEA is        14      Q. All right. You referenced
     15   under the DOJ, the Department of Justice?           15   "industry" a few times in your testimony. Is
     16      A. Yes, sir.                                     16   that what industry would be to you?
     17      Q. But the DEA here is the DEA where             17      A. Distributors and manufacturers,
     18   you were sitting as -- they moved you up            18   yeah, that would pretty much be industry.
     19   through a bunch of different jobs. That was         19      Q. So you sent this letter to each of
     20   the DEA with the badge, right?                      20   them. The purpose of this letter is to
     21          MR. EPPICH: Objection.                       21   reiterate the responsibilities.
     22          THE WITNESS: Yes, sir.                       22          What do you mean by reiterate?
     23          BY MR. LANIER:                               23      A. This letter was sent as a follow up
     24      Q. All right. So we've got a letter              24   to the face-to-face meetings we had with some
     25   here. The letter seems to be about four pages       25   of the distributors and then also to the other
                                                   Page 430                                                 Page 432
      1   and at the very end, it is signed by Joseph T.       1   distributors and manufacturers, again, just
      2   Rannazzisi, deputy assistant administrator,          2   making sure they understand what their
      3   office of diversion control. Is that you?            3   obligations were, what the obligations that
      4      A. Yes, sir.                                      4   they signed on to when they became DEA
      5      Q. And if we go back to the background            5   registrants.
      6   sheet where we started with you, deputy              6      Q. Were these obligations already there
      7   assistant administrator, office of diversion         7   or were you making new policy?
      8   control, this is what you were moved to              8      A. No, the --
      9   permanently in 2006; is that right?                  9          MS. MAINIGI: Objection.
     10      A. Yes, sir.                                     10          THE WITNESS: The obligations in
     11      Q. All right. So I would like to talk            11   1301.74(b) and in 823(e) and (a), (b), were all
     12   to you about this letter that you sent and have     12   in place since the early stages of the
     13   you help us understand some parts of it.            13   Controlled Substances Act, over 40 years.
     14           First of all, can you tell the jury         14          BY MR. LANIER:
     15   what the date of the letter was?                    15      Q. Since the 1970s?
     16      A. September 27 of 2006.                         16      A. Yes.
     17      Q. And you're sending this letter, this          17      Q. So if lawyers or experts or someone
     18   letter is being sent to every commercial entity     18   within industry were to suggest that you, Joe
     19   in the United States registered with the DEA to     19   Rannazzisi, were initiating a brand new
     20   distribute controlled substances.                   20   responsibility in this 2006 letter, would they
     21           Did I read that correctly?                  21   be correct?
     22      A. Yes, sir.                                     22          MR. EPPICH: Object to form.
     23           MR. LANIER: Let's go off the                23          MS. MAINIGI: Object to form.
     24   record.                                             24          MR. STEPHENS: Object to form.
     25           THE VIDEOGRAPHER: We're going off           25          THE WITNESS: In -- in my opinion,
                                                                                            18 (Pages 429 - 432)
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                                                   Page 433                                                  Page 435
      1   no. Absolutely not. Again, 1301.74(b) has            1   news media and DEA, I think we laid a pretty
      2   been in place for -- since the '70s, well over       2   good foundation for the abuse problem plus
      3   40 years. This is nothing new. We just wanted        3   NIHTA and FDA were talking about the abuse
      4   to make sure they remembered what their              4   problem in the United States.
      5   responsibilities were.                               5          BY MR. LANIER:
      6           BY MR. LANIER:                               6      Q. Okay. You then go on to talk about
      7      Q. All right. So you're writing to                7   enforcing the Controlled Substances Act and I
      8   make sure that they remember their                   8   want -- the CSA is what you abbreviated it as.
      9   responsibilities?                                    9          Do you see that?
     10           MR. EPPICH: Object to form.                 10      A. Yes, sir.
     11           THE WITNESS: Yes.                           11          MR. EPPICH: Object to form.
     12           BY MR. LANIER:                              12          BY MR. LANIER:
     13      Q. Now, in this regard, let's look at            13      Q. Is that the same Controlled
     14   what you say about those responsibilities in        14   Substances Act that when you were giving us
     15   the letter that you sent out marked as Exhibit      15   definitions, you said categorized drugs into
     16   No. 1.                                              16   various categories.
     17           You were talking about the purpose          17      A. Schedules, yes.
     18   is to reiterate these responsibilities of           18      Q. Schedules. Thank you. And that's
     19   distributors in view of the prescription drug       19   where you said under that Act, if diversion was
     20   abuse problem our nation currently faces.           20   identified back then, the DEA could stop it
     21           What was that drug abuse problem            21   hopefully.
     22   that you were writing about in 2006?                22      A. Yes.
     23      A. The problem of the abuse, use and             23          MS. McCLURE: Object to form.
     24   abuse of hydrocodone, mostly hydrocodone and        24          BY MR. LANIER:
     25   then oxycodone that was diverted from the           25      Q. I guess the big "if" there is, if
                                                   Page 434                                                  Page 436
      1   supply chain.                                        1   the diversion is identified. Fair?
      2      Q. So opioid diversion?                           2          MR. EPPICH: Object to form.
      3      A. Yes, sir.                                      3          THE WITNESS: Yes.
      4      Q. And then you continued to say, as              4          BY MR. LANIER:
      5   each of you is undoubtedly aware, the abuse of       5      Q. Can't stop something you don't know
      6   controlled prescription drugs is a serious and       6   about, right?
      7   growing health problem in this country.              7          MR. EPPICH: Object to form.
      8          Did I read that correctly?                    8          THE WITNESS: Yes, sir.
      9      A. Yes, sir.                                      9          BY MR. LANIER:
     10      Q. You put in there, you chose these             10      Q. All right. So you talk here about
     11   words, as each of you are undoubtedly aware.        11   that Act in some detail to the registrants, the
     12          Why did you feel confident saying            12   manufacturers and distributors.
     13   that they were undoubtedly aware of this?           13          You say the CSA, that's the
     14          MS. MAINIGI: Objection. Form.                14   Controlled Substances Act, was designed by
     15          MS. McCLURE: Objection. Form.                15   Congress to combat diversion. It does it by
     16   Foundation.                                         16   providing for a closed system of drug
     17          MR. EPPICH: Object to form.                  17   distribution.
     18          THE WITNESS: Well, for the                   18          Explain what is meant by you when
     19   companies that we had already done face-to-face     19   you talk about a closed system.
     20   meetings with, we explained that to them, but       20          MR. EPPICH: Object to form.
     21   there were news reports out there, the states       21          THE WITNESS: A closed system of
     22   were sending out their own reports, state           22   distribution in theory should be able to
     23   boards of pharmacy were sending out reports,        23   account for all drugs from the manufacturer all
     24   you know, identifying opioid abuse as a             24   the way down -- all controlled substances from
     25   problem, so between the state regulators, the       25   the manufacturer all the way down to when they

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                                                    Page 437                                                 Page 439
      1   are put into the pharmacies or hospitals and          1   opioids, can it be dangerous?
      2   then dispensed out to the patients.                   2          MR. EPPICH: Objection.
      3           It's a system of accountability.              3          MS. McCLURE: Objection. Scope.
      4   It's a system of recordkeeping, audits,               4          THE WITNESS: Yes, sir. The opioids
      5   inventory, security, so the system is secure.         5   -- benzodiazepines, they have specific
      6   It is secure physically, it is secure by the          6   pharmacologic effects on the body. For
      7   recordkeeping through inventory and through           7   instance, opioids and an opioid naive patient
      8   accountability.                                       8   could cause excessive respiratory depression
      9           BY MR. LANIER:                                9   and it is compounded if you take other
     10       Q. So the system, you all kept track --          10   depressants with it. It could lead to
     11   the system -- let me put it this way.                11   respiratory arrest.
     12           The system was designed to follow            12          BY MR. LANIER:
     13   these pills from the person who makes it all         13      Q. Respiratory arrest means you quit
     14   the way to the person who is supposed to take        14   breathing?
     15   them; is that right?                                 15      A. Yes, sir.
     16       A. Yes, sir. That's the system of                16      Q. Can they be addictive?
     17   accountability.                                      17          MR. EPPICH: Objection. Calls for
     18       Q. And it is a closed system, meaning            18   expert conclusion.
     19   that everybody in the system has to what?            19          MR. LANIER: He is a pharmacist.
     20       A. Has a legal obligation. A legal               20          THE WITNESS: Absolutely.
     21   obligation to follow the security and                21          BY MR. LANIER:
     22   recordkeeping requirements under the Act and         22      Q. Thank you.
     23   under the regulations and to all maintain            23          Now, this closed system of
     24   effective controls against diversion so the          24   distribution you are talking about, if we were
     25   system is not breached.                              25   to try and understand it a little bit more and
                                                    Page 438                                                 Page 440
      1      Q. You're not a medical doctor,                    1   put it into categories, you have got a group of
      2   correct?                                              2   folks who make these pills.
      3      A. That is correct, sir.                           3           What are they called in DEA speak?
      4      Q. You don't know when it's right to               4      A. Those would be manufacturers. They
      5   prescribe or when it's not right to prescribe a       5   manufacture the raw material and also the
      6   medicine from the extent of giving a medical          6   dosage forms.
      7   doctor's diagnosis, fair?                             7      Q. All right. And in the chain from
      8      A. That's fair.                                    8   the manufacturers, what comes next?
      9      Q. But you are a licensed pharmacist,              9      A. Distributors.
     10   aren't you?                                          10      Q. And the distributors -- explain what
     11      A. Yes, sir.                                      11   the distributors do so I can draw a good
     12      Q. And as a licensed pharmacist, are              12   picture.
     13   you trained and aware of the harms and hazards       13      A. Distributors obtain the finished
     14   of these opioid drugs if they are being used         14   form of the drug from the manufacturers, from
     15   improperly?                                          15   different manufacturers, because different
     16          MR. EPPICH: Objection.                        16   manufacturers manufacture different --
     17          MS. McCLURE: Objection.                       17   different types of drug in a basic class. They
     18          THE WITNESS: Yes, sir. Yes, sir, I            18   take all of those and then they distribute it
     19   am.                                                  19   through their distribution chain down to
     20          BY MR. LANIER:                                20   pharmacies, so they are a middleman between the
     21      Q. I mean, if somebody takes an extra             21   manufacturers and the patient care -- patient
     22   vitamin pill, maybe it's just passed out             22   care entities, like, pharmacies, hospitals.
     23   through the urine or something, I don't know,        23      Q. All right. In my drawing, that's a
     24   I'm not an expert, but if someone takes an           24   pill. It is not really a good one. I think
     25   unnecessary and excessive quantity of these          25   most of these weren't that color or size, but

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                                                  Page 441                                               Page 443
      1   that's a pill.                                      1           I put quotation marks around this in
      2          So the distributors are kind of,             2   the notes. That is not -- I think you said all
      3   like, the tree. It takes those pills from the       3   of that stuff, but I don't think it is a direct
      4   manufacturer and sends them out?                    4   quote. I need to put some dots in there.
      5      A. Yes, sir. Through a system of                 5           And my -- what I do need to do to
      6   ordering, they will be sent to pharmacies,          6   make this something you agree with?
      7   hospitals.                                          7      A. Well, the legal obligation is to
      8      Q. And I assume the distributor is               8   maintain effective controls against diversion,
      9   making money off of distribution?                   9   and the regulations set out what those
     10      A. I believe so, yes.                           10   obligations are. Those obligations include
     11          MS. McCLURE: Objection.                     11   security of the supply chain, the physical
     12          BY MR. LANIER:                              12   security of the manufacture and distribution
     13      Q. Manufacturers are making money off           13   facilities, the pharmacies, the recordkeeping.
     14   manufacture?                                       14           Each -- each level of the supply
     15          MR. EPPICH: Objection.                      15   chain has a recordkeeping obligation that must
     16          THE WITNESS: Yes.                           16   be maintained. The system of auditing, where
     17          BY MR. LANIER:                              17   each individual registrant must audit, must
     18      Q. And then this distribution goes from         18   inventory, and the system of recordkeeping,
     19   the distributors to -- is that how the             19   where they must account for all the drugs that
     20   pharmacies get them?                               20   were either sent downstream, destroyed, taken
     21      A. Pharmacies, hospitals, yes.                  21   back and moved to another entity, but that
     22      Q. So this is my storefront for the             22   system, that system of control which is
     23   pharmacy.                                          23   basically what it is, from scheduling the drugs
     24          By the way, do you know what Rx             24   to putting them in classes so the pharmacists
     25   stands for?                                        25   understand what their obligations are, through
                                                  Page 442                                               Page 444
      1      A. Well, it stands for prescription,             1   security, recordkeeping, auditing and
      2   but --                                              2   accountability, all of that is a system that
      3      Q. Where on earth did it come from?              3   creates the infrastructure for the Controlled
      4      A. I, you know, all my years as a                4   Substances Act.
      5   pharmacist, I have never been asked that            5      Q. So there is a lot that the companies
      6   question. I have no idea.                           6   can do to maintain effective control; is that
      7      Q. They didn't, like, teach you that in          7   right?
      8   Pharmacy 101?                                       8      A. Yes.
      9      A. No. We were too bogged down with              9          MR. EPPICH: Object to form.
     10   Latin.                                             10          BY MR. LANIER:
     11      Q. Okay. All right.                             11      Q. And this obligation that you are
     12          MR. EPPICH: Before we shift to              12   talking about applies to which of these three
     13   another line, Mr. Lanier, I just wanted to         13   groups?
     14   object to this demonstrative because that -- I     14          MR. EPPICH: Object to form.
     15   don't know if you meant to do this, but the        15          THE WITNESS: All registrants must
     16   quote you have up there, the system is for         16   maintain effective controls against diversion.
     17   legal obligation to secure, keep records and       17          BY MR. LANIER:
     18   control against diversion, you have that in        18      Q. All right. So that envelopes all of
     19   quotes, but that is not actually a quote from      19   these groups, fair?
     20   Mr. Rannazzisi.                                    20          MR. EPPICH: Objection. Leading.
     21          MR. LANIER: You are right. I                21          THE WITNESS: Yes.
     22   apologize. It's my mistake.                        22          BY MR. LANIER:
     23          BY MR. LANIER:                              23      Q. Okay. Now you have said here in
     24      Q. Sir, I put quotation -- let me clean         24   your letter, talking about this closed system,
     25   up the record.                                     25   you have said distributors are of course one of
                                                                                          21 (Pages 441 - 444)
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                                                   Page 445                                                Page 447
      1   the key components of the distribution chain.        1   to them, this responsibility is critical.
      2          Did I read that correctly?                    2           Am I reading that correctly?
      3      A. Yes, sir.                                      3      A. Yes.
      4      Q. And that's this chain that you have            4      Q. As Congress has expressly declared
      5   told us about, manufacturers, distributors,          5   that the illegal distribution of controlled
      6   retailers, hospitals, others, right?                 6   substances has a substantial and detrimental
      7      A. Yes, sir.                                      7   effect on the health and general welfare of the
      8      Q. All right. Distributors are one of             8   American people.
      9   the key components. What makes the                   9           Did I read that correctly?
     10   distributors a key component?                       10      A. Yes, sir.
     11      A. They act as a bridge from the                 11      Q. When you talk about how this is
     12   manufacturers to the pharmacies. They -- they       12   critical because of its effect on the health
     13   have this view of the distribution chain that,      13   and welfare of the American people, did you
     14   you know, is wide-ranging. They understand --       14   mean that?
     15   the customers downstream are their customers.       15           MS. MAINIGI: Objection.
     16   They could see what is going on downstream.         16           THE WITNESS: Absolutely. If -- if
     17      Q. You call them a bridge. I'll put              17   the system is not followed according to the
     18   that in quotation marks. It's your word. I          18   regulations, then diversion will occur. The
     19   will put down here key component. That is           19   system is set up to prevent diversion.
     20   another one of yours.                               20           If diversion occurs and the drugs
     21          Then you also say, if the closed             21   get out into the, you know, to those who
     22   system is to function properly as Congress          22   shouldn't have the drugs, those who are drug
     23   envisioned, distributors must be vigilant in        23   seekers, people will be harmed and I think
     24   deciding whether a prospective customer can be      24   that's in the preamble in 801, I think that is
     25   trusted to deliver controlled substances only       25   what Congress was getting at in my opinion.
                                                   Page 446                                                Page 448
      1   for lawful purposes.                                 1   They wanted us to prevent diversion and that's
      2          Did I read that correct?                      2   why they set the Act up in the manner they did.
      3      A. Yes, sir.                                      3          BY MR. LANIER:
      4      Q. Explain what you meant by "must be             4      Q. All right. In that regard, you talk
      5   vigilant."                                           5   about the statutory scheme, how the statute
      6      A. Those are the requirements for each            6   works and the legal duties of distributors as
      7   individual -- each individual registrant within      7   well as registrants.
      8   the system. To be vigilant is just that. To          8          You say, although most distributors
      9   know your customers. To make sure you do due         9   are already well aware of the following legal
     10   diligence on your customers. You look at            10   principles, they are reiterated here as
     11   orders. You look at orders that are                 11   additional background for this discussion.
     12   suspicious. As a pharmacist, you would be           12          Do you see that?
     13   looking at individual prescriptions to -- under     13      A. Yes, sir.
     14   the doctrine of corresponding responsibility,       14      Q. Second time you have used that word
     15   you must determine that a prescription is           15   "reiterate," isn't it?
     16   effective and valid before you could dispense.      16      A. Yes, sir.
     17          Every manufacturer sending drugs             17      Q. Again, is this something that was
     18   downstream, they are supposed to be vigilant.       18   brand new?
     19   Know what your middleman customers are doing.       19          MR. EPPICH: Object to form.
     20   Everybody has to be vigilant. The only way the      20          THE WITNESS: No. Again, these
     21   supply chain works, the only way that the           21   requirements have been in place since the
     22   infrastructure control works in the Controlled      22   nascent stages of the Controlled Substances
     23   Substances Act is if everybody complies with        23   Act.
     24   their own obligations under the Act.                24          BY MR. LANIER:
     25      Q. All right. You say in your letter             25      Q. You are saying, "the natient
                                                                                           22 (Pages 445 - 448)
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                                                 Page 449                                                Page 451
      1   stages." I am from Lubbock, Texas. I'm not      1           A distributor, you reiterate this.
      2   sure on that word. The early stages?            2    Excuse me. A distributor, and those are the
      3      A. Early stages, yes.                        3    middlemen, right?
      4      Q. Natient.                                  4       A. Yes.
      5      A. Nascent.                                  5       Q. A distributor has a statutory
      6      Q. Nascent. All right. Got it.               6    responsibility to exercise due diligence to
      7          Your second page, and I'm not going      7    avoid filling suspicious orders that might be
      8   to go through the whole letter because we don't 8    diverted into other than legitimate medical,
      9   have time, but the second page has another      9    scientific and industrial channels; is that
     10   sentence I want to make sure that we           10    correct?
     11   understand.                                    11       A. Yes, sir.
     12          Moreover, all registrants,              12       Q. Did you find that all of the
     13   manufacturers, distributors, pharmacies,       13    distributors were living up to what you
     14   practitioners share responsibility for         14    understood to be their legal responsibility
     15   maintaining appropriate safeguards against     15    here?
     16   diversion.                                     16           MR. EPPICH: Object to form.
     17          Do you stand by that?                   17    Foundation.
     18      A. Yes, sir.                                18           MS. MAINIGI: Objection.
     19      Q. And so if we are back to our picture     19           MR. BENNETT: Objection. Scope.
     20   in that closed system, manufacturers,          20           You are not authorized to disclose
     21   distributors, retailers, the doctors writing   21    any information regarding specific nonpublic
     22   the prescriptions and others, what do you mean 22    DEA investigations or activities in answering
     23   when you say that all of them "share           23    that question.
     24   responsibility for maintaining appropriate     24           THE WITNESS: We found that some
     25   safeguards against diversion?"                 25    distributors were not and that's why we issued
                                                 Page 450                                                Page 452
      1          MS. MAINIGI: Objection.                   1   orders to show cause and immediate suspension
      2          THE WITNESS: What I was getting at 2          orders.
      3   was everybody within that delivery system had 3             BY MR. LANIER:
      4   an obligation, and appropriate safeguards are, 4        Q. All right. We will look at some as
      5   you are following the regulations and the        5   an example here in a moment, but before we do,
      6   statutory requirements, so for a doctor, a       6   I want to look at what you said in the next
      7   doctor must prescribe for legitimate medical     7   paragraph.
      8   purpose in the usual course of professional      8          Given the requirement under the law
      9   practice, but if the doctor is not doing that,   9   that a distributor maintain effective controls
     10   the pharmacist has a corresponding              10   against diversion, a distributor may not simply
     11   responsibility under 1304 to ensure that the    11   rely on the fact that the person placing the
     12   prescription is valid and effective.            12   suspicious order is also registered and cannot
     13          If the pharmacist is not doing that      13   turn a blind eye to the suspicious
     14   and ordering significant amounts of drugs and 14     circumstances; is that right?
     15   they're suspicious, the distributor must report 15          MR. EPPICH: Objection.
     16   that suspicious order and he must do due        16          THE WITNESS: Yes, that's correct.
     17   diligence and find out what is going on at that 17          BY MR. LANIER:
     18   pharmacy.                                       18      Q. Were you concerned that you needed
     19          BY MR. LANIER:                           19   to reiterate this and say it over and over?
     20       Q. All right. Let me interrupt you for      20          MR. EPPICH: Objection. Vague.
     21   a moment because you say some of that in the 21             THE WITNESS: I was -- I was
     22   letter and I want to make sure that we've got 22     concerned, but I was trying to reinforce what
     23   it in your writings of what you provided to all 23   the requirements were. Just because somebody
     24   of these industries that you referenced before 24    is a DEA registrant doesn't mean that they are
     25   2006.                                           25   following the rules, they are following the

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                                                   Page 453                                                Page 455
      1   law.                                                 1   between 9 and 12 percent of the drugs of
      2           BY MR. LANIER:                               2   controlled substances and this pharmacy is
      3      Q. All right. In the third page, you              3   ordering 40 or 50 percent and it is limited, it
      4   go on to say, here are some circumstances that       4   is limited to oxycodone, hydrocodone --
      5   might indicate there is diversion going on; is       5   oxycodone, hydrocodone and hydromorphone, that
      6   that right?                                          6   should set up red flags. It even goes deeper
      7      A. Yes, sir.                                      7   if they were ordering a high dose of those
      8      Q. And these -- you gave four examples,           8   drugs.
      9   much like you have told us in here before, were      9       Q. All right. Order excessive
     10   concerns that you had or that people could look     10   quantities of limited varieties in combination
     11   at -- strike that. Let me start that question       11   with excessive quantities of lifestyle drugs.
     12   again.                                              12   Another red flag?
     13           You give four circumstances that            13       A. Yes. That was tapping into the
     14   might indicate diversion; is that fair to say?      14   three drug combination, the panel that we were
     15      A. Yes, sir.                                     15   seeing, things like alprazolam, hydrocodone and
     16      Q. Ordering excessive quantities of a            16   carisoprodol or hydrocodone -- or oxycodone,
     17   limited variety of controlled substance while       17   carisoprodol and alprazolam, diazepam,
     18   ordering few, if any, other drugs.                  18   clonazepam, any of those different combinations
     19           Why would that perhaps be indicative        19   of drugs that is unusual.
     20   or perhaps indicate diversion?                      20       Q. You are throwing out a bunch of
     21      A. Well, for the most part, pharmacies           21   words that most of us have never heard of in
     22   generally follow a pattern of ordering for          22   our life because we just get told, go buy Advil
     23   controlled substances and depending on what we      23   or something like that.
     24   have read, it could be anywhere as low as 9         24          You're -- are these those -- these
     25   percent to up to 12 or 13 percent as the            25   are the chemical names that you are using for
                                                   Page 454                                                Page 456
      1   average. So it is a red flag when a pharmacy         1   these drugs?
      2   is ordering, you know, 40, 50 percent of their       2      A. Yeah. So, for instance,
      3   drugs has controlled substances, you know, and       3   benzodiazepines -- the three most used
      4   looking at the legend or the noncontrolled           4   benzodiazepines would be alprazolam, clonazepam
      5   drugs, you've got to ask questions.                  5   and diazepam. Those are antianxiety agents
      6           Why are you not ordering? If you             6   and --
      7   are a full service pharmacy, why are you not         7      Q. Chill pills?
      8   ordering noncontrolled legend drugs?                 8      A. Yeah, I guess you could call them
      9      Q. All right. So we've got a red flag             9   chill pills.
     10   on that.                                            10           When -- in and of themselves, they
     11           The second one you gave is ordering         11   are fine, but when you take them with a potent
     12   a limited variety of controlled substances in       12   opioid like hydrocodone or oxycodone, both of
     13   quantities that are disproportionate, not in        13   the effects are enhanced.
     14   proportion, to the quantity of noncontrolled        14      Q. All right. So that becomes a thrill
     15   medications ordered.                                15   pill at that point, I guess, instead of a chill
     16           Is that also a red flag?                    16   pill. I will move to strike.
     17      A. Again, same concept. No. 1 handles,           17           All right. And No. 4 is ordering
     18   you know, where we are only ordering large          18   the same controlled substance for multiple
     19   quantities of oxycodone, hydrocodone, nothing       19   distributors, multiple middlemen.
     20   else or oxycodone, hydrocodone, alprazolam.         20           Now explain why that should -- might
     21           The second one is again, you are            21   be a red flag?
     22   taking the hydrocodone and the oxycodone and it     22      A. The pharmacy is trying or attempting
     23   is far exceeding what you are ordering normal       23   to not raise suspicions with one distributor.
     24   noncontrolled drugs. So it's disproportional.       24      Q. All right.
     25           If the normal pharmacy is ordering          25      A. So if they order for multiple, they

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                                                  Page 457                                                  Page 459
      1   are thinking that they could fly under the          1   than just these?
      2   radar.                                              2      A. Yes, sir.
      3       Q. How would a distributor know if              3      Q. So if we look at a distributor's
      4   someone uses multiple distributors?                 4   program that they have in place by 2006, we
      5           MR. EPPICH: Objection. Foundation.          5   should already see some of this due diligence
      6           BY MR. LANIER:                              6   but we may see other things as well, fair?
      7       Q. Based on your experience with the            7          MR. EPPICH: Object to form.
      8   DEA that you are allowed to talk to us about.       8          THE WITNESS: I am just reading.
      9           MR. EPPICH: Same objections.                9   Yes. That's fair.
     10           THE WITNESS: There's -- there's            10          BY MR. LANIER:
     11   several ways. One is knowing your customer and     11      Q. But by the same token, once you have
     12   doing due diligence. When you on board your        12   sent this out, would it -- would you agree with
     13   customer, ask them where they are getting their    13   the proposition that surely a responsible
     14   -- who was previously supplying your drugs.        14   distributor would then incorporate these types
     15   Are you still supplying -- still getting           15   of questions into their due diligence, just
     16   supplies from them.                                16   their routine. Would you agree?
     17           Sending out questionnaires. Looking        17          MS. MAINIGI: Objection.
     18   at third-party aggregator information, seeing      18          THE WITNESS: Yes. That's what the
     19   if that pharmacy has purchased drugs or you        19   basis of this letter was. We were trying to
     20   know how much you have supplied that pharmacy,     20   explain how, you know, how we believe, you
     21   but look and see how much is being dispensed       21   know, questions that we believe are important
     22   out of the pharmacy. If they are dispensing        22   to be asking, in addition to whatever questions
     23   more than you supplied, chances are there is a     23   they felt important to ask their customers.
     24   third party somewhere, a fourth party.             24          BY MR. LANIER:
     25           BY MR. LANIER:                             25      Q. So did I write it right? Earlier
                                                  Page 458                                                  Page 460
      1       Q. Now, you told us this earlier when           1   you told us -- let me find the note card that
      2   you were talking about these distributors and       2   we had.
      3   why they must be vigilant that they need to         3          That -- when I asked you what
      4   know their customers and you just said that is      4   compliance was required, you said all the
      5   part of knowing the customers, but you also         5   registrants are to maintain effective control
      6   said they are supposed to look at suspicious        6   against diversion, that they are required to
      7   orders.                                             7   report a suspicious order and then you said
      8           You put in this letter you sent to          8   they are to maintain a system to detect
      9   all of them, a list of things that they may         9   suspicious orders and they don't ship them
     10   wish to inquire about if they have a suspicion,    10   without full due diligence that resolves their
     11   if they're -- to determine whether a suspicious    11   suspicion.
     12   order indicates diversion, then they may wish      12          So this is -- do you remember
     13   to inquire.                                        13   testifying about this earlier?
     14           Are these some questions that they         14      A. Yes.
     15   could put into their policies to make sure that    15      Q. And so this list that you gave them,
     16   they are doing their due diligence?                16   this nonexhaustive list are things that they
     17           MS. MAINIGI: Objection.                    17   should have had in their approach to make sure
     18           THE WITNESS: This is a                     18   before they sell these drugs that they are
     19   nonexhaustive list of questions that are           19   being sold properly. Fair?
     20   suggested they ask to make a determination if      20          MS. MAINIGI: Objection.
     21   they are -- the pharmacy they are supplying is     21          THE WITNESS: Yes.
     22   operating within the confines of the Act or if     22          BY MR. LANIER:
     23   they are actually diverting.                       23      Q. And you even told the industry these
     24           BY MR. LANIER:                             24   questions are not all-inclusive, nor will the
     25       Q. By nonexhaustive, there are more            25   answer to any of these necessarily determine

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                                                    Page 461                                                  Page 463
      1   the answer. Consider the totality of the              1      A. Yes, sir.
      2   circumstances, correct?                               2      Q. And you sent it to a number but I
      3      A. Yes, sir.                                       3   have pulled out one of the samples so the jury
      4      Q. Now, again, if -- by the way, let me            4   can see how you specifically addressed these
      5   digress for a minute.                                 5   various letters.
      6          Do you think industry, and by that I           6          I would like to give you the letter.
      7   mean manufacturers, distributors and sellers,         7   We will mark it as Exhibit No. 2.
      8   were tuned in to the fact that these drugs are        8          Here is a copy for you, Counsel.
      9   dangerous drugs?                                      9          (Deposition Exhibit 2 was marked for
     10          MR. EPPICH: Object to form.                   10   identification.)
     11   Foundation. Calls for speculation.                   11          BY MR. LANIER:
     12          THE WITNESS: I -- yes, I do.                  12      Q. Do you have Exhibit No. 2 in front
     13          BY MR. LANIER:                                13   of you?
     14      Q. And you don't have to speculate on             14      A. Yes, sir.
     15   that, do you? You know that. Why do you know         15      Q. All right. Exhibit No. 2 is a
     16   that to be true?                                     16   sample letter that you sent out to McKesson
     17      A. Again, because when we sat down and            17   Corporation.
     18   talked to the distributors, when we went out         18          Do you see that?
     19   and did presentations for the industry, we           19      A. Yes, sir.
     20   talked about the drugs and the dangers of the        20      Q. And in our buckets, McKesson -- or
     21   drugs, the dangers of addiction, the dangers,        21   in our distribution center, is McKesson a
     22   all the way through -- all the way up until I        22   manufacturer, a distributor or a retailer?
     23   was -- I left in 2015. That was standard in          23      A. They would be a distributor.
     24   our presentations, plus the fact that the news       24      Q. The middleman?
     25   media were reporting on this on a regular            25      A. Yes, sir.
                                                    Page 462                                                  Page 464
      1   basis, the states were sending out guidance and       1      Q. All right. And so you sent out
      2   notifications of different problems that are          2   these letters and this is a sample to McKesson,
      3   occurring with these opioids and the                  3   did you send this letter, in fact, to all of
      4   benzodiazepines, so the information was out           4   the registrants that you were talking about
      5   there. It was offered. It was -- I can't              5   before?
      6   imagine that they didn't know what was going          6      A. This letter went to all
      7   on.                                                   7   manufacturers and distributors.
      8      Q. Were you aware during the time you              8      Q. In fact, you say that at the
      9   wrote this letter, that the way the economics         9   beginning. This letter is being sent to every
     10   of this closed system was working, the more the      10   entity registered with the DEA to manufacture
     11   distributors sold, the more money they made?         11   or distribute controlled substances, correct?
     12          MS. MAINIGI: Objection.                       12      A. That's correct.
     13          MR. EPPICH: Objection to form.                13      Q. And again, were you trying to
     14          MS. MAINIGI: Objection. Scope.                14   reiterate responsibilities that they had?
     15          MR. EPPICH: Foundation.                       15      A. Yes. We were trying, again, explain
     16          BY MR. LANIER:                                16   to them what their legal obligations were under
     17      Q. Were you aware of that?                        17   the Act and the regulations.
     18      A. In volume-wise, yes. I think -- I              18      Q. And you have been in here throwing
     19   think throughout the chain, that's -- money is       19   around numbers of laws and all the rest of this
     20   made on volume sales, yes.                           20   stuff just from memory, but did you actually
     21      Q. Now, we have looked at the first               21   put down, for example, the law that is entitled
     22   follow up letter of the 2006 letter, and that        22   21 Code of Federal Regulations 1301.74(b) that
     23   was Exhibit No. 1.                                   23   specifically requires.
     24          You sent a second follow up letter,           24          Is that the right word that you
     25   didn't you?                                          25   wanted to use, requires?

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                                                   Page 465                                                  Page 467
      1       A. It's a regulation. It's required,             1   set it aside in the interest of time.
      2   yes.                                                 2           MR. EPPICH: Objection.
      3       Q. Is it optional?                               3           BY MR. LANIER:
      4       A. No.                                           4      Q. But I am going to ask you whether or
      5       Q. Requires that a registrant, quote,            5   not, even after these letters, you had any
      6   design and operate a system to disclose to the       6   issues or problems with the companies doing
      7   registrant suspicious orders of controlled           7   what they were obligated to do?
      8   substances; is that true?                            8           MR. EPPICH: Objection. Form.
      9       A. Yes, sir.                                     9   Vague.
     10       Q. Well, who -- whose responsibility is         10           MR. BENNETT: Objection. Scope.
     11   it to design that system?                           11           THE WITNESS: There were cases that
     12       A. The individual registrant.                   12   were done that were -- that were reported out
     13       Q. You say that the regulation clearly          13   that involved manufacturers and distributors
     14   indicates it's the sole responsibility of the       14   that -- or manufacturers and distributors that
     15   registrant to design and operate such a system,     15   were not doing their obligations even after the
     16   true?                                               16   letters and after the face-to-face visits,
     17       A. Yes, sir.                                    17   meetings.
     18       Q. And you are reiterating this. Is             18           BY MR. LANIER:
     19   this new law, is this some new guideline?           19      Q. All right. In this regard for
     20       A. It's the same regulation, same               20   follow up, what types of actions did -- let me
     21   statutory provision that has been in place          21   get a piece of paper.
     22   since the beginning of the Controlled               22           When the DEA under your oversight
     23   Substances Act.                                     23   found that there were problems and issues
     24       Q. Well, what if the lawyers or the --          24   before the law was changed --
     25   the defendant companies want to tell the jury,      25           MS. MAINIGI: Objection.
                                                   Page 466                                                  Page 468
      1   hey, don't blame us, the DEA didn't -- it's the      1          BY MR. LANIER:
      2   DEA responsibility to design and operate the         2      Q. -- did you ever have to try and
      3   system. Would that be true?                          3   enforce the law and again, within the confines
      4          MR. EPPICH: Objection.                        4   of what you can publicly say to us.
      5          MS. MAINIGI: Form.                            5          MS. MAINIGI: Objection.
      6          THE WITNESS: No, that is just                 6          THE WITNESS: Depending on the
      7   incorrect. It is very specific. The                  7   violations, depending on the scope of the
      8   regulation is specific.                              8   violations and the potential for imminent
      9          BY MR. LANIER:                                9   danger, yes, we did. We would issue orders to
     10      Q. Well, what if they say, oh, but the           10   show cause and in cases of imminent danger, we
     11   DEA told us it is okay to do it this way?           11   would issue immediate suspension orders.
     12          MR. EPPICH: Objection. Form.                 12          BY MR. LANIER:
     13          THE WITNESS: No. The DEA would not           13      Q. All right. Those of us who don't do
     14   tell them to do something outside of the            14   what you do need to make sure we understand
     15   regulation.                                         15   what these are.
     16          BY MR. LANIER:                               16          So what is an order to show cause?
     17      Q. And did you specifically warn them            17      A. A show cause order is basically
     18   of this, that the DEA does not approve or           18   notice. It's notice of violations, and the
     19   otherwise endorse any specific system for           19   show cause gives them an opportunity for the
     20   reporting suspicious orders?                        20   registrant to appear before an administrative
     21          MS. MAINIGI: Objection.                      21   law judge and show cause why the government
     22          THE WITNESS: Yes.                            22   should not take action against their
     23          BY MR. LANIER:                               23   registration.
     24      Q. All right. So much of this is the             24          It's basically an order of notice
     25   same as the 2006 letter. I am just going to         25   giving them an opportunity to be heard in front

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                                                    Page 469                                                Page 471
      1   of an ALJ at the DEA.                            1               BY MR. LANIER:
      2      Q. An ALJ is an administrative law            2           Q. And I want to ask you a number of
      3   judge?                                           3        these questions now as some examples, and I
      4      A. Yes.                                       4        will make it real clear, I am not being
      5      Q. And you all have those as well at          5        exhaustive. All I am talking about are
      6   the -- that is in the DOJ, in the Department of 6         examples that are public that you are allowed
      7   Justice, right?                                  7        to talk about. Okay?
      8      A. No. The administrative law judges          8           A. (Witness nodding head.) Yes, sir.
      9   actually sit at DEA.                             9           Q. So examples. I saw a settlement
     10      Q. Oh, at DEA?                               10        agreement with AmerisourceBergen that we will
     11      A. Yes, sir.                                 11        mark as Exhibit No. 3.
     12      Q. So you notice a violation and give        12               (Deposition Exhibit 3 was marked for
     13   the company a chance to come in, in essence, 13           identification.)
     14   and defend themselves?                          14               BY MR. LENIER:
     15      A. Yes. And during the proceedings,          15           Q. I am sorry to be throwing documents
     16   they are allowed to maintain their business and 16        at you, sir.
     17   continue to handle and distribute or            17           A. That's fine.
     18   manufacture, dispense controlled substances. 18                  MS. McCLURE: Excuse me, do you have
     19      Q. All right. And then the suspension        19        another one of those documents?
     20   order, what is that?                            20               MR. LANIER: Yes. Ms. Singletary
     21      A. Well, an immediate suspension order 21              Fitzpatrick is going to be passing those out.
     22   is part of an order to show cause. A show       22        Thank you. She has got a full set to make sure
     23   cause order, like I said, they are allowed to   23        we can get as many out as possible.
     24   continue to do business. But an immediate       24               BY MR. LANIER:
     25   suspension order attached to an order to show 25             Q. So I am marking this as Exhibit No.
                                                    Page 470                                                Page 472
      1   cause, it's at that point in time, the                1   3. This is a settlement and release agreement
      2   violations are presenting an imminent danger to       2   entered into in June of '07 between
      3   public health, public safety.                         3   AmerisourceBergen and the DEA.
      4          So at that point in time, we take              4          MS. McCLURE: Objection. Form.
      5   the registration, the administrator of DEA            5          BY MR. LANIER:
      6   finds that there is an imminent danger, that          6      Q. Is that correct?
      7   finding is incorporated into the show cause           7      A. Yes.
      8   order and we immediately take their                   8      Q. And so we are clear,
      9   registration, we take their drugs, whatever           9   AmerisourceBergen in the closed system, what
     10   drugs they have on hand, secure their drugs, in      10   are they?
     11   some cases take their files, make sure that          11      A. They are a --
     12   their order forms and make sure that they are        12          MS. McCLURE: Objection. Form.
     13   not operating until the conclusion of all the        13          THE WITNESS: Sorry. They are a
     14   proceedings related to the show cause order.         14   distributor.
     15      Q. So you put a stop to their business            15          BY MR. LANIER:
     16   on those drugs; is that right?                       16      Q. All right. So an example of someone
     17      A. Yes.                                           17   where you had to issue this, would be the
     18      Q. Did you ever have to do this for any           18   distributor AmerisourceBergen?
     19   distributors because of the opioid problems?         19          MS. McCLURE: Form.
     20      A. Yes.                                           20          BY MR. LANIER:
     21           MR. BENNETT: Objection. Scope.               21      Q. Is that fair?
     22          To the extent it has been made                22      A. Yes, sir.
     23   public, you may answer.                              23      Q. Another example, McKesson. Do you
     24          THE WITNESS: Yes.                             24   recall having to do this for McKesson?
     25          MR. EPPICH: Objection.                        25      A. Yes, sir.
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                                                    Page 473                                               Page 475
      1          MR. EPPICH: Object to form.                    1   any information regarding specific nonpublic
      2          BY MR. LANIER:                                 2   DEA investigations or activities.
      3      Q. I'm going to give you a document we             3          To the extent you can answer that
      4   will mark as Exhibit No. 4. Put it up here so         4   question based on publicly available
      5   the jury can see it.                                  5   information, you may answer.
      6          (Deposition Exhibit 4 was marked for           6          THE WITNESS: Could I have a second
      7   identification.)                                      7   with the DOJ attorney?
      8          BY MR. LANIER:                                 8          MR. LANIER: Sure. Go off the
      9      Q. Did the DEA enter into a settlement             9   record.
     10   and release agreement, an administrative             10          THE VIDEOGRAPHER: Going off record.
     11   memorandum of agreement between McKesson             11   The time is 11:07.
     12   Corporation and the DEA?                             12          (A short recess was taken.)
     13      A. Yes, sir.                                      13          THE VIDEOGRAPHER: We are going back
     14      Q. And McKesson is what type of a                 14   on the record. Beginning of Media File No. 5.
     15   company in our closed system?                        15   The time is 11:19.
     16      A. They are a distributor.                        16          (Deposition Exhibit 5 was marked for
     17      Q. Another example of how you had to              17   identification.)
     18   enforce the law and bring an action against the      18          BY MR. LANIER:
     19   company for what the DEA considered to be            19      Q. All right. You left the DEA in
     20   violations?                                          20   2016, correct?
     21          MR. EPPICH: Object to form.                   21      A. '15, October of 2015.
     22          THE WITNESS: Yes, sir.                        22      Q. Sorry. My mistake. 2015.
     23          MR. EPPICH: Mr. Lanier, this                  23          The document that I've handed you
     24   document is confidential and to the extent           24   now is Exhibit No. 5, is an administrative
     25   there was any confusion in the record earlier,       25   agreement that was entered into McKesson --
                                                    Page 474                                               Page 476
      1   the document itself is confidential and not           1   with McKesson after you left. The date on it
      2   public.                                               2   is January 2017.
      3          MR. LANIER: Okay.                              3          Do you see that?
      4          BY MR. LANIER:                                 4      A. Yes, sir.
      5      Q. Is this when McKesson paid a $13.25             5      Q. Were you aware of this agreement
      6   million fine?                                         6   before I handed it to you?
      7      A. Yes.                                            7          MR. EPPICH: Object to form.
      8      Q. 2008?                                           8   Foundation.
      9      A. Yes, that's correct.                            9          THE WITNESS: No. I have never seen
     10      Q. One year after your 2007 letter, two           10   this agreement before you handed it to me.
     11   years after your 2006 letter, after all the          11          BY MR. LANIER:
     12   meetings you all had, after the law had been in      12      Q. All right. I will represent to you
     13   place since the 1970s?                               13   that this is an agreement that's been provided
     14          MR. EPPICH: Object to form.                   14   to us. I want to read you some statements that
     15          THE WITNESS: Yes, sir, that's                 15   were agreed to by McKesson and ask you whether
     16   correct.                                             16   or not you have any awareness that you are
     17          BY MR. LANIER:                                17   allowed to testify about concerning those
     18      Q. By the way, while we are on the                18   actions.
     19   subject with McKesson, did you know that             19          So if you will look on first the
     20   McKesson continued to violate the law even           20   front page, you will see that this agreement
     21   after they entered into this agreement with the      21   applies to McKesson and the DEA, or any
     22   DEA?                                                 22   facility owned or operated by McKesson that is
     23          MR. EPPICH: Object to form.                   23   registered with the DEA to distribute or
     24          MR. BENNETT: Objection. Scope.                24   otherwise handle controlled substances.
     25          You are not authorized to disclose            25          Do you see that?

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      1           MR. EPPICH: Object to form.                  1   not you had that job description because I
      2   Foundation.                                          2   wrote your name down?
      3           THE WITNESS: Yes, sir.                       3      A. No, sir.
      4           BY MR. LANIER:                               4      Q. I thought you told us that long ago.
      5      Q. And you will notice in Paragraph 2             5   We looked at two of those letters, didn't we?
      6   under background, it references the fact that        6      A. Yes, sir.
      7   this is not, as we would say in Lubbock, not         7      Q. You sent these letters, including to
      8   their first rodeo. They had done this before.        8   McKesson, we even used the McKesson example for
      9           Do you see that?                             9   the 2007 letter, didn't we? Exhibit 3.
     10           MR. EPPICH: Object to form.                 10      A. Yes, sir, we did.
     11   Foundation. Characterization.                       11      Q. The DEA letters contained, among
     12           THE WITNESS: Yes, sir.                      12   other things, guidance for the identification
     13           BY MR. LANIER:                              13   and reporting of suspicious orders to the DEA
     14      Q. May 2008, McKesson entered into a             14   as required under the law.
     15   settlement and release agreement.                   15          That is, in fact, what your letters
     16           That's the one that was happening           16   did. Would you agree with that
     17   under your watch that is referenced here in         17   characterization?
     18   background Paragraph No. 2; is that fair?           18      A. Yes, sir, that's why they were sent
     19           MR. EPPICH: Objection. Foundation.          19   out.
     20           THE WITNESS: Yes, sir.                      20          MR. EPPICH: Object to foundation.
     21           BY MR. LANIER:                              21          BY MR. LANIER:
     22      Q. If you will switch over to Page No.           22      Q. McKesson acknowledges that at
     23   3, there is a paragraph entitled: "Acceptance       23   various times during the period from January
     24   of Responsibility."                                 24   2009 up through and including the effective
     25           Do you see that paragraph?                  25   date of this agreement, it did not identify or
                                                   Page 478                                                   Page 480
      1      A. Yes, sir.                                      1   report to DEA certain orders placed by certain
      2      Q. On or about September 27, 2006,                2   pharmacies which should have been detected by
      3   February 7, 2007, and December 27, 2007, DEA's       3   McKesson as suspicious based on the guidance
      4   deputy assistant administrator, office of            4   contained in your letters.
      5   diversion control, sent letters to every entity      5           Do you see that?
      6   in the U.S. that was registered with DEA to          6           MR. EPPICH: Objection. Foundation.
      7   manufacture or distribute controlled substances      7           THE WITNESS: Yes, sir.
      8   including McKesson. Those are called the DEA         8           BY MR. LANIER:
      9   letters.                                             9      Q. At any time that you are allowed to
     10          Do you see that?                             10   tell us about, based on the guidance in your
     11      A. Yes, sir.                                     11   letters about the requirements of the law, I
     12      Q. Now, this DEA deputy administrator,           12   left that part out.
     13   assistant administrator, office of diversion        13           You see where it says requirements?
     14   control, that is you, isn't it?                     14      A. Yes.
     15      A. Back then, yes.                               15      Q. Now at any point while you were
     16          MR. EPPICH: I will object.                   16   still in the DEA for the almost eight years or
     17          MR. LANIER: I'm sorry.                       17   so since you sent that last -- the 2007 letter,
     18          MR. EPPICH: My objection is, you             18   that you're allowed to tell us about, did
     19   are writing his name before he even responds to     19   McKesson ever come to you and say, hey, we are
     20   the question.                                       20   not doing it.
     21          BY MR. LANIER:                               21             MR. EPPICH: Object to the form.
     22      Q. That is you, Joe Rannazzisi, isn't            22   Foundation.
     23   it?                                                 23           THE WITNESS: I'm sorry. I'm just
     24      A. Yes, sir.                                     24   looking for clarification on the question.
     25      Q. Did your answer change on whether or          25           Did they come to me directly and

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      1   say, we are not following the law?                   1   as examples.
      2          BY MR. LANIER:                                2          Are they the only ones?
      3      Q. Yeah. Did they self-report?                    3          MR. EPPICH: Objection.
      4          MR. EPPICH: Same objections.                  4          MS. McCLURE: Objection. Form.
      5          MR. BENNETT: You can -- you are               5   Foundation.
      6   authorized to disclose your personal                 6          MR. BENNETT: Objection. Form.
      7   recollection regarding your interactions with        7   Objection scope.
      8   manufacturers and distributors during your           8          Same instructions regarding
      9   tenure at office of diversion control and your       9   nonpublic investigations.
     10   recollection of communication with registrants      10          THE WITNESS: No. There were other
     11   regarding what makes an order suspicious.           11   investigations that resulted that were publicly
     12          So to the extent you had                     12   reported out that resulted in suspensions --
     13   communications that you recall, you may answer      13   orders to show cause, suspension orders and
     14   those. You may not disclose specific                14   suspensions.
     15   investigative activities that are nonpublic.        15          BY MR. LANIER:
     16          THE WITNESS: Okay. No. No, I                 16      Q. We could look at CVS for example.
     17   never received any kind of self-reporting from      17          Do you remember anything about CVS
     18   McKesson.                                           18   and their admissions in May of 2015?
     19          BY MR. LANIER:                               19          MR. EPPICH: Object to form.
     20      Q. Did they ever tell you, this is               20   Foundation.
     21   McKesson in 2017, this -- where they admit that     21          THE WITNESS: I remember the CVS
     22   they had done that?                                 22   case, yes.
     23          MR. EPPICH: Objection.                       23          BY MR. LANIER:
     24   Characterization.                                   24      Q. Let me give you a copy of what we
     25          MR. LANIER: All right. You are               25   will mark as Exhibit No. 6.
                                                   Page 482                                               Page 484
      1   right. Let me be more careful.                       1           (Deposition Exhibit 6 was marked for
      2           BY MR. LANIER:                               2   identification.)
      3      Q. This is 2017, where McKesson admits            3           BY MR. LANIER:
      4   that it, quote, did not identify or report to        4      Q. Do you have Exhibit No. 6 in front
      5   the DEA certain orders placed by certain             5   of you?
      6   pharmacies which should have been detected by        6      A. Yes, sir.
      7   McKesson as suspicious based on the guidance         7      Q. Let's mark it for the jury.
      8   contained in the DEA letters about the               8           This is a settlement agreement
      9   requirements set forth in the law.                   9   entered into between the DEA and CVS Health and
     10           Now my question to you is, did you          10   all of its subsidiaries and affiliates.
     11   ever hear about the size of the fine that was       11           Do you see that?
     12   assessed in 2017?                                   12      A. Yes, sir.
     13           MR. EPPICH: Objection. Foundation.          13      Q. Now, what part of our chain of
     14           THE WITNESS: Just in the media,             14   registrants would CVS be?
     15   that was reported out.                              15      A. CVS would be a pharmacy or a
     16           BY MR. LANIER:                              16   retailer under that diagram.
     17      Q. The media reported the fine of 150            17      Q. Did you know whether or not they
     18   million?                                            18   were also a distributor for their own
     19           MR. EPPICH: Objection. Foundation.          19   pharmacies and retailers?
     20   Calls for speculation.                              20      A. They did distribute as well.
     21           THE WITNESS: That's what the media          21      Q. So CVS might actually be in two of
     22   reported.                                           22   these categories, fair?
     23           BY MR. LANIER:                              23           MR. EPPICH: Objection. Foundation.
     24      Q. Now, I have pulled out                        24           THE WITNESS: As a distributor, yes,
     25   AmerisourceBergen, I have pulled out McKesson       25   they could be in both categories.

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                                                   Page 485                                                  Page 487
      1          BY MR. LANIER:                                1   identification.)
      2      Q. Okay. Now, if we look at this                  2           BY MR. LANIER:
      3   settlement agreement, and it's signed by CVS,        3       Q. All right. I want to put Exhibit 7
      4   it says on Page 3: "CVS acknowledges that            4   on the ELMO so the jury can look at it, too.
      5   certain CVS pharmacy retail stores did               5           This is another settlement agreement
      6   dispense" -- let's make this a little bit            6   that the DEA entered into with Mallinckrodt.
      7   bigger so people can read it.                        7           Can you see that on this first page?
      8          "Did dispense certain controlled              8       A. Yes, sir.
      9   substances in a manner not fully consistent          9       Q. And Mallinckrodt, from the time you
     10   with their compliance obligations under the         10   were working in the biz of the DEA dealing with
     11   Controlled Substances Act and its implementing      11   industry, what part of the chart would they be,
     12   regulations."                                       12   the chain?
     13          Do you see that?                             13       A. Manufacturer.
     14          MR. EPPICH: Objection. Foundation.           14       Q. Manufacturer.
     15          THE WITNESS: Yes, sir.                       15       A. Yes.
     16          BY MR. LANIER:                               16       Q. In this exhibit, you will notice on
     17      Q. And were you part of the reason CVS           17   page -- it's got an appendix that's attached
     18   agreed to pay the $22 million fine pursuant to      18   and the appendix has got a Page 3.
     19   this?                                               19           If you are looking at the real
     20          MR. EPPICH: Object to form.                  20   little numbers in the corner, those real little
     21          MR. STEPHENS: Objection.                     21   numbers end with 630, if that helps you find
     22          MR. BENNETT: Objection. Vague.               22   the page.
     23          THE WITNESS: I think the fine was            23       A. I got it. Yes, sir.
     24   based on the investigations done by people          24       Q. It is talking about what
     25   within my office in the Miami field division.       25   Mallinckrodt actually said here.
                                                   Page 486                                                  Page 488
      1          BY MR. LANIER:                                1           MR. O'CONNOR: Objection.
      2      Q. Now, did you know anything about CVS           2           BY MR. LANIER:
      3   being written up and settling again in February      3      Q. "Acceptance of responsibility. This
      4   of 2016, or was that after your departure?           4   settlement agreement is not an admission of
      5           MR. EPPICH: Objection. Form.                 5   liability for civil penalties covered under the
      6   Foundation.                                          6   CSA. However, Mallinckrodt agrees" -- you see
      7          THE WITNESS: I was -- I retired in            7   where I am reading?
      8   October of '15.                                      8      A. Yes, sir.
      9          BY MR. LANIER:                                9      Q. "At certain times during the covered
     10      Q. All right. I'm going to leave that            10   time period prior to January 1, 2012, certain
     11   one out for now.                                    11   aspects of Mallinckrodt's system to monitor and
     12          Mallinckrodt. Did Mallinckrodt have          12   detect suspicious orders did not meet the
     13   problems, are they another example?                 13   standards outlined in letters from the DEA
     14          MR. EPPICH: Objection. Form.                 14   deputy administrator, office of diversion
     15          MR. O'CONNOR: Objection. Form.               15   control," and that is you?
     16          THE WITNESS: Mallinckrodt, yes,              16      A. Well, I got a promotion. The deputy
     17   they -- there was an investigation of               17   administrator would have been my boss, so it
     18   Mallinckrodt as well.                               18   should be deputy assistant administrator.
     19          BY MR. LANIER:                               19      Q. Deputy assistant. So misstated
     20      Q. 2011 is the first one that we've              20   here, but those were your letters dated
     21   got. Well, no, let's digress.                       21   September 27 and December 27 of '06 and '07,
     22          In the interest of -- well, let me           22   right?
     23   hand you a document we will mark as Exhibit No.     23      A. Yes, sir.
     24   7.                                                  24      Q. So my question to you is: In your
     25          (Deposition Exhibit 7 was marked for         25   conversations with Mallinckrodt, did they ever,

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                                                     Page 489                                                  Page 491
      1   at any point in time, come to you and                  1       Q. Okay. Sir, I want to ask you about
      2   self-report and say, we are not doing what you         2   some explanations and excuses that have been
      3   have told us and made clear to us the law              3   used by the defendants in this case and give
      4   requires us to do.                                     4   you a chance to explain them. Okay?
      5          MR. O'CONNOR: Objection. Form.                  5             MS. McCLURE: Object to the
      6          THE WITNESS: Up until the time of               6   commentary for the record.
      7   my retirement, no, I did not hear anything from        7           MS. MAINIGI: Objection.
      8   Mallinckrodt about that.                               8           MR. EPPICH: Objection.
      9          BY MR. LANIER:                                  9           MR. STEPHENS: Objection.
     10      Q. These are not the only ones, if we              10           BY MR. LANIER:
     11   want to tell the Cardinal story and we will           11       Q. Let me ask you this: If the
     12   wait and see what Cardinal lawyers ask you, but       12   defendants were to try to make a case that only
     13   there is a story behind Cardinal as well, isn't       13   registrants get ARCOS data and they only get
     14   there?                                                14   their own ARCOS data, does that have anything
     15          MR. SMITH: Object to form.                     15   at all to do with what a registrant's
     16          MR. O'CONNOR: I'm going to object              16   responsibility is under the law?
     17   to the 11 that you wrote down next to                 17           MR. EPPICH: Object to form.
     18   Mallinckrodt, and the fact that you are               18           MS. McCLURE: Objection.
     19   including this on a document that described           19           MR. BENNETT: Objection. Vague.
     20   order to show cause.                                  20           THE WITNESS: No, it doesn't.
     21          MR. LANIER: I think it was actually            21           BY MR. LANIER:
     22   entered into in '17, 2017. I will change that,        22       Q. Explain.
     23   or I will just take that out if it makes you          23       A. ARCOS data is a tool that we use,
     24   feel better. We will just leave it as                 24   it's a statutory requirement under 827, and we
     25   Mallinckrodt.                                         25   use it for any number of things, but it's
                                                     Page 490                                                  Page 492
      1          BY MR. LANIER:                                  1   retrospective data. It's generally -- it could
      2      Q. Walgreens. I mean, there are others              2   be anywhere from four to six months old. Okay.
      3   beyond these, fair?                                    3          We use ARCOS not necessarily for
      4      A. Yes, sir.                                        4   cases, although it has been used for cases and
      5          MR. STEPHENS: Objection. Form.                  5   we have developed cases from ARCOS. However,
      6          BY MR. LANIER:                                  6   suspicious orders are the key because those are
      7      Q. All right. Now, what I would like                7   real time. They are when discovered, and that
      8   to do is -- before we finish with my time with         8   gives us insight into what is happening now,
      9   you and I pass you as a witness, I want to deal        9   not what's happened eight, ten months ago, six
     10   with some things that have already been asked         10   months ago.
     11   of you in testimony by the companies' lawyers         11          So the idea that -- well, you have
     12   and these are what I am going to call                 12   ARCOS, so ARCOS, you know, or we need ARCOS,
     13   roadblocks.                                           13   well, you could use ARCOS but if you notice the
     14          These are questions of whether or              14   cases that we have done, we have never ever
     15   not your testimony should be believed, whether        15   done cases where we have looked at a particular
     16   or not you should be believed, whether or not         16   distributor or a manufacturer and said, oh,
     17   the DEA was at fault, whether or not -- any           17   well, in addition to what you have sold, these
     18   number of different things.                           18   other pharmacies, these other distributors have
     19          MR. EPPICH: Object to form.                    19   sold as well.
     20          BY MR. LANIER:                                 20          We only concentrate on what they
     21      Q. Do you follow what I am saying?                 21   sold, so ARCOS wouldn't help in that respect.
     22   What I am asking you about?                           22   The fact is that ARCOS helps us to do certain
     23          MS. McCLURE: Objection.                        23   things within our requirements, under our
     24          THE WITNESS: Yes, sir.                         24   charges, under the Controlled Substances Act,
     25          BY MR. LANIER:                                 25   suspicious orders is what they would -- what

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                                                   Page 493                                                  Page 495
      1   they could help us with by identifying               1   That is what a suspicious order is for.
      2   potential registrants that are diverting.            2          BY MR. LANIER:
      3          So the idea that they need ARCOS,             3      Q. All right. Next roadblock question.
      4   well, it is helpful, it could be helpful to          4   What if -- by the way, you have given six hours
      5   them. It's really not a -- they shouldn't            5   of testimony to industry lawyers before I got
      6   necessarily rely on ARCOS. They should rely on       6   started, right?
      7   the suspicious order monitoring.                     7          MR. EPPICH: Objection.
      8      Q. All right. To make sure we put this            8          THE WITNESS: Yes, sir.
      9   into a time perspective, so we have got a            9          BY MR. LANIER:
     10   person ultimately who says to the distributor,      10      Q. And they have made already an
     11   the manufacturer, whomever we are looking at,       11   accusation or at least an allegation that the
     12   the person says, get me opioids to sell.            12   quota levels increased under your watch.
     13          Are you tracking with me?                    13          MS. MAINIGI: Objection.
     14      A. Yes.                                          14          MR. EPPICH: Objection.
     15          MR. EPPICH: Object to form.                  15          BY MR. LANIER:
     16          BY MR. LANIER:                               16      Q. Do you remember that testimony?
     17      Q. And then the distributor will say,            17      A. Yes, sir.
     18   the middleman?                                      18      Q. First of all, I want you to explain
     19          MR. EPPICH: Object to form.                  19   to the jury what a quota level is, and then I'm
     20          BY MR. LANIER:                               20   going to have you explain a few other things
     21      Q. -- supplies the opioids. Okay?                21   about this.
     22   Now, some of these opioids, this may be a           22          What is a quota level?
     23   suspicious order if someone is actually looking     23          MR. BENNETT: You can answer.
     24   at it.                                              24          THE WITNESS: Under Statute 21 USC
     25          Are you following my hypothetical?           25   826, Congress set up a system to limit the
                                                   Page 494                                                  Page 496
      1      A. Yes.                                       1       amount of drugs that are potentially in the
      2      Q. You told the jury that the                 2       system at any one time and we do that through
      3   distributor has an obligation to police these    3       quota.
      4   suspicious orders and tell the DEA, right?       4              Quota is schedule -- for Schedule I
      5          MR. EPPICH: Object to form.               5       and II and certain Schedule III controlled
      6   Misstates prior testimony.                       6       substances, and what it is basically is DEA
      7          BY MR. LANIER:                            7       establishing an aggregate production quota for
      8      Q. Am I right so far?                         8       each basic class of drug, so what is a basic
      9      A. Yes.                                       9       class. Hydrocodone would be a basic class of
     10      Q. All right. Now, ARCOS data, as the 10              drug, oxycodone would be a basic class of drug.
     11   jury will learn, is data that comes out four to 11              So DEA through a system with
     12   six months later after the sale of the product; 12       manufacturers establishes a ceiling and that
     13   is that right?                                  13       would be the aggregate production quota and at
     14      A. That is correct.                          14       that point in time, manufacturers can draw from
     15      Q. How can the companies' inability to       15       that ceiling. Think of the aggregate
     16   see data four to six months after the sale ever 16       production as a pie and then each manufacturer
     17   be something that alleviates or helps them with 17       starts drawing from that pie. We can never go
     18   their responsibility to stop the sale to start  18       above that ceiling. We can definitely go below
     19   with?                                           19       the ceiling, but we can never go above that
     20          MS. MAINIGI: Objection.                  20       ceiling.
     21          MR. BENNETT: Objection. Form.            21              And then quota is also established
     22   Objection. Incomplete hypothetical.             22       for procurement where dosage form manufacturers
     23          THE WITNESS: I'm -- I'm not sure         23       take the amount of raw material or active
     24   how that would help them. Not with that lag 24           pharmaceutical ingredient that is made by the
     25   time, that four to six, eight month lag time.   25       manufacturers and they could produce pills.

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                                                   Page 497                                                  Page 499
      1   They could produce dosage forms from that which      1   and development, they have to do stability
      2   are then sent downstream.                            2   studies, there is an increase in prescriptions,
      3          BY MR. LANIER:                                3   and the amount of prescriptions that are going
      4      Q. All right. I'm sorry. So there is              4   out the door have to be -- have to be accounted
      5   a pie. There is a total amount and the               5   for. That's basically the quota.
      6   different manufacturers can cut pieces out of        6          We might be exporting large
      7   that pie but that pie is the quota amount,           7   quantities and at one point in time, we also
      8   fair?                                                8   had a quota increase, not to put quota out on
      9      A. That's the basic class quota amount            9   the street, but to maintain a contingency quota
     10   for each basic class, that's the amount of the      10   so if there was a catastrophic event within the
     11   ceiling.                                            11   delivery system, a catastrophic event with the
     12      Q. That's the ceiling?                           12   manufacture or distribution system, we could
     13      A. Yes.                                          13   immediately reissue quota to make up for the
     14      Q. All right. So the point was made in           14   loss of drug that's in -- that was in the
     15   your deposition earlier by the industry lawyers     15   system at the time. That's what quota is.
     16   that the quota levels increased under your          16          Quota is not a tool to stop
     17   watch.                                              17   diversion. Quota is a tool to limit the amount
     18          Lest the jury think you did anything         18   of drug available, you know, from a
     19   wrong, I want to ask you point blank, did you       19   manufacturer, a distributor, but in the end,
     20   do something wrong, Joe Rannazzisi?                 20   the reason Congress set it up that way and the
     21          MS. MAINIGI: Objection.                      21   reason it was explained to me was that if there
     22          THE WITNESS: Absolutely not.                 22   is not enough quota to meet the legitimate
     23          BY MR. LANIER:                               23   medical, scientific and industrial needs of the
     24      Q. Explain why you say, "absolutely              24   country, legitimate patients could not --
     25   not."                                               25   would not be able to get their medicine.
                                                   Page 498                                                  Page 500
      1       A. Well, there -- there are certain              1           That is, if we have a quota and we
      2   weaknesses in the quota system by statute. One       2   decide to cut the quota by 20 percent, you
      3   is that I could not set quota by individual          3   still have the same amount of people kind of
      4   dosage form. I can't -- I can't tell a               4   drawing from that quota. Well, if it's 20
      5   manufacturer what they -- what they can and          5   percent less, patients might not get their
      6   can't manufacture. They are the only ones,           6   medication. If it's a drug seeker, you know,
      7   it's a business decision.                            7   no one really cares, but if it's a -- if it's a
      8           But secondly and more importantly,           8   person who actually needs that opioid, a
      9   Congress set up a roadmap in 826 to explain          9   hospice care patient, a palliative care
     10   exactly what we have to look at in order to set     10   patient, somebody that indeed needs opioids for
     11   the quota, and as long as the industry sets         11   transition or whatever, you know, their final
     12   justifications for that amount that they are        12   stages of life. If they can't get that
     13   seeking, I have to give it.                         13   medication, they are in pain, then we haven't
     14           Because in 826, 826 requires the            14   met our obligations under 826.
     15   Drug Enforcement Administration to establish or     15      Q. Okay. Thank you. Next roadblock
     16   set a quota that meets the legitimate medical,      16   issue. If there is an allegation that was made
     17   scientific, industrial and export needs of the      17   that pain is undertreated in America, and you
     18   country. When Congress set that up, they also       18   were asked questions about this in your
     19   laid out what we should be looking for and our      19   deposition by the company lawyers, do you
     20   quota is set basically on 826. It's very            20   remember those questions?
     21   difficult to deviate from 826 because it's          21           MR. EPPICH: Object to form. Object
     22   pretty straightforward in the statute what we       22   to characterization.
     23   are required to do.                                 23           THE WITNESS: I don't remember the
     24           So if the quota increased, generally        24   exact question, but I do remember us talking
     25   it's because, one, there is increased research      25   about it.

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                                                    Page 501                                               Page 503
      1          BY MR. LANIER:                                 1      Q. I mean, is it the DEA's job to give
      2      Q. Yeah, they showed you the website               2   legal advice to these companies?
      3   from the DEA about pain being undertreated or         3          MR. EPPICH: Object to form.
      4   something to that effect and you said you             4          MR. BENNETT: Objection. Vague.
      5   hadn't noticed it before?                             5          THE WITNESS: I wouldn't say we give
      6          MR. EPPICH: Objection. Form.                   6   legal advice, no.
      7   Mischaracterization.                                  7          BY MR. LANIER:
      8          THE WITNESS: It was an old form.               8      Q. In fact, have the companies been
      9          BY MR. LANIER:                                 9   able to hire people from the DEA and actually
     10      Q. Do you remember that?                          10   bring them inside their companies?
     11      A. I do remember that, yes.                       11          MR. EPPICH: Objection. Foundation.
     12      Q. All right. First of all, are you               12   Calls for speculation.
     13   qualified as a medical doctor to talk about          13          MS. MAINIGI: Also scope.
     14   when opioids are proper treatment and when they      14          THE WITNESS: Some of the companies
     15   are not?                                             15   have hired DEA -- former DEA employees, some
     16      A. I am not a medical doctor.                     16   within the office of diversion control, to --
     17      Q. So if we need to know medical doctor           17   to work on their systems or work in their
     18   diagnoses and treatments, you are not the right      18   companies in compliance.
     19   guy to be asking about that. Fair?                   19          BY MR. LANIER:
     20          MS. MAINIGI: Objection.                       20      Q. Is that a problem that you have
     21          THE WITNESS: That is correct.                 21   seen? Has that caused a problem that you have
     22          BY MR. LANIER:                                22   seen?
     23      Q. Is there, in fact though, times                23          MR. EPPICH: Object to form.
     24   where you recognize as a pharmacist that             24   Foundation. Vague.
     25   opioids have an important role, namely end           25          MS. MAINIGI: Objection. Scope.
                                                    Page 502                                               Page 504
      1   stage cancer patients?                                1          MR. BENNETT: Objection. Vague.
      2          MR. EPPICH: Objection.                         2          THE WITNESS: I don't know if it
      3          THE WITNESS: That is correct.                  3   necessarily presents a problem. I would hope
      4          BY MR. LANIER:                                 4   that those former employees are trying to guide
      5      Q. All right. Next roadblock. If                   5   or help guide the -- the particular registrants
      6   there is a suggestion to the jury that is made        6   through what their requirements are and what
      7   that, gee, the distributors or the                    7   their obligations are.
      8   manufacturers or the pharmacies were confused,        8          BY MR. LANIER:
      9   they just didn't know what they were supposed         9      Q. If a company is confused about the
     10   to do. Would that be acceptable in your mind?        10   law, should they just keep selling the opioids
     11          MR. EPPICH: Object to form. Vague.            11   in the midst of their confusion?
     12          MS. MAINIGI: Objection.                       12          MR. EPPICH: Objection.
     13          THE WITNESS: No.                              13          THE WITNESS: The company has -- all
     14          BY MR. LANIER:                                14   the companies, all the registrants have many
     15      Q. Most of the distributors that you              15   avenues to try and get their -- their questions
     16   have dealt with, the big ones, most of the big       16   answered, through the local DEA offices, the
     17   manufacturers you have dealt with, do they have      17   headquarters has a liaison and policy section
     18   law firm -- lawyers working within them or law       18   and that liaison and policy section, their sole
     19   firms on retainers?                                  19   job is to provide guidance to the distributors.
     20          MS. McCLURE: Form. Foundation.                20          We have on-site people, on-site
     21          MR. EPPICH: Form. Foundation.                 21   people who go in to do inspections at the -- at
     22          BY MR. LANIER:                                22   the distributors and they can ask those people.
     23      Q. To your knowledge?                             23          BY MR. LANIER:
     24      A. To my knowledge, there -- each                 24      Q. Would you tell me --
     25   company has both in-house and outside counsel.       25          MS. McCLURE: Counsel, are you
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                                                    Page 505                                                  Page 507
      1   representing what is up on the board --               1   the supply chain that was continuing to not
      2          MR. LANIER: I'm clarifying. No,                2   follow their obligations under the law.
      3   I'm not. I'm about --                                 3          BY MR. LANIER:
      4          MS. McCLURE: -- that the witness               4      Q. All right. Question. If the
      5   has not actually stated in advance of him             5   companies don't break the law, does the DEA
      6   suggesting that, so I also object to the fact         6   even have a job to do on diversion through
      7   that your writing tends to be leading.                7   corporate channels?
      8          BY MR. LANIER:                                 8          MR. EPPICH: Objection. Form.
      9      Q. Sir, if you will look at my writing             9   Vague.
     10   and excuse the interruption for a moment.            10          THE WITNESS: DEA's job is to -- to
     11          My question to you is: If they are            11   investigate and -- and try to prevention
     12   confused, should they stop selling until their       12   diversion from it happening, so even if the
     13   questions are answered?                              13   companies -- the companies continue to -- to
     14          MS. MAINIGI: Objection. Scope.                14   meet their obligations, their legal obligations
     15          BY MR. LANIER:                                15   under the Act, DEA would still be there because
     16      Q. Yes or no?                                     16   we'd still have to do inspections, we'd still
     17          MS. MAINIGI: Foundation. Form.                17   have to do scheduling actions, we'd still have
     18          MR. BENNETT: Objection. Incomplete            18   to do accountability audits. DEA is always
     19   hypothetical.                                        19   going to be there whether they are, you know,
     20          MS. MAINIGI: Vague.                           20   meeting their obligations under the law or not.
     21          THE WITNESS: If they are confused             21          MS. McCLURE: I repeat my prior
     22   and they're -- and they -- and they continue to      22   request that you stop leading the witness and
     23   sell in the midst of their confusion, no, they       23   putting testimony on the board in advance. I
     24   shouldn't be selling.                                24   do see that you have, in fact, covered up now
     25          BY MR. LANIER:                                25   what you have written previously, but you
                                                    Page 506                                                  Page 508
      1      Q. Thank you. Next roadblock. Who is               1   wouldn't be in a position of having to do that
      2   this gentleman named Mr. Rosenberg that was           2   if you would simply let the witness -- you ask
      3   with the DEA?                                         3   the question with the witness supplying the
      4      A. He was an acting administrator after            4   answer rather than supplying them for him.
      5   Administrator Lynn Hart retired.                      5          MR. LANIER: With due respect to the
      6      Q. So the acting ad man, Mr. Rosenberg,            6   way you are reciting the record here, I am able
      7   supposedly said that the DEA is part of the           7   to write down questions that I'm going to be
      8   problem.                                              8   asking, as well as questions that I have asked
      9           MR. EPPICH: Object to form.                   9   and if I am doing that and I'm covering it up,
     10           BY MR. LANIER:                               10   that's a fine thing to do.
     11      Q. And that's not an exact quote, but             11          And if there is a question that's
     12   that's the essence of what has been suggested        12   down here that is not one that he agrees with,
     13   Mr. Rosenberg said?                                  13   he will make it clear. You all will make it
     14           MR. SMITH: Object to form.                   14   clear, you will have this, so I want to make
     15   Characterization.                                    15   sure you are clear on that.
     16           BY MR. LANIER:                               16          MS. McCLURE: Special Master Cohen,
     17      Q. First of all, do you believe that              17   I request a instruction given to counsel to
     18   the DEA was part of the problem?                     18   advise him to stop writing on a sheet that is
     19           MS. MAINIGI: Objection. Scope.               19   visible to the screen, to the jury, to
     20   Form.                                                20   counsels' room, and most importantly especially
     21           MR. EPPICH: Objection. Vague.                21   to the witness in advance of the witness
     22           MR. BENNETT: Objection. Vague.               22   providing that testimony.
     23           THE WITNESS: I do not believe that           23          SPECIAL MASTER COHEN: So you can do
     24   DEA was part of the problem. DEA was trying to       24   what you are doing at the risk of it being not
     25   stop diversion and -- and basically clean up         25   allowed in a trial.

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                                                    Page 509                                                             Page 511
      1           MR. LANIER: Very good. Thank you.             1       Q. If someone speeds through the school
      2           SPECIAL MASTER COHEN: And maybe a             2    zone, a police officer might be there with a
      3   better way of doing it is to allow the witness        3    radar gun, might catch them, might write them a
      4   to testify before writing it, so that you avoid       4    ticket. That is something you can foresee
      5   what could be an objection that is sustained by       5    happening, fair?
      6   the Court, so that you are not allowed to play        6           MS. MAINIGI: Objection.
      7   it.                                                   7           THE WITNESS: Yes, sir.
      8           MR. LANIER: Thank you.                        8           BY MR. LANIER:
      9           BY MR. LANIER:                                9       Q. If a person speeds through a school
     10       Q. Sir, so here is my question: If the           10    zone and the police officer doesn't happen to
     11   company stopped the diversion, the DEA is or         11    be there that day with a radar gun that day and
     12   isn't the issue?                                     12    doesn't catch that person, does that mean that
     13           MS. McCLURE: Form.                           13    the person is innocent?
     14           MS. MAINIGI: Same objection.                 14           MS. MAINIGI: Objection.
     15           MR. BENNETT: Objection. Vague.               15           MR. EPPICH: Objection.
     16           BY MR. LANIER:                               16           THE WITNESS: No.
     17       Q. In other words -- let me ask it this          17           BY MR. LANIER:
     18   way: If the companies do their job properly,         18       Q. Can the person blame the cop because
     19   they follow the law, does the DEA have the           19    the person sped through the school zone and the
     20   problem of telling the companies you didn't          20    cop wasn't there?
     21   follow the law?                                      21           MS. MAINIGI: Objection.
     22           MS. McCLURE: Object to form.                 22           THE WITNESS: No.
     23           MR. EPPICH: Object to form.                  23           BY MR. LANIER:
     24           MS. MAINIGI: Objection. Let the              24       Q. If the -- if the companies are not
     25   record reflect that Mr. Lanier engaged in the        25    diverting or allowing diversion of the product,
                                                    Page 510                                                             Page 512
      1   same conduct in terms of leading the witness.         1   then the DEA's job gets a whole lot easier,
      2   The witness was shown what Mr. Lanier wanted          2   doesn't it?
      3   the answer to be, and then after the fact, Mr.        3         MR. EPPICH: Objection.
      4   Lanier added additional words.                        4         MS. MAINIGI: Objection.
      5          MS. McCLURE: Same question.                    5         THE WITNESS: Absolutely.
      6          THE WITNESS: If the companies were             6         MR. LANIER: Next. I'm going to
      7   following the law, the DEA would not have to          7   pass the witness and save my time for redirect.
      8   take the measures that it took to try and bring       8   Thank you.
      9   them into compliance, which is issuing orders         9         THE VIDEOGRAPHER: Going off record.
     10   to show cause, issuing immediate suspension          10   The time is 12:02.
     11   orders, sending out countless reminders. If          11         (A lunch recess was taken.)
     12   they were following the law, that wouldn't           12         MR. LANIER: I have marked for the
     13   happen.                                              13   court reporter as Exhibit 8 the handwritten
     14          BY MR. LANIER:                                14   notes and attached those, which I understand
     15      Q. Let me use an example that is maybe            15   defense has gotten a copy of, a color copy, so
     16   more everyday. Do you drive a car?                   16   that they can them use as well as being
     17      A. Yes, sir.                                      17   attached to the exhibit.
     18      Q. You are aware of speed limits?                 18         Thank you.
     19      A. Yes, sir.                                      19         (Deposition Exhibit 8 was marked for
     20      Q. You are aware that sometimes there             20   identification.)
     21   are school zones where the speed limit is            21         THE VIDEOGRAPHER: We're going back
     22   reduced for the school zone.                         22   on record.
     23      A. Yes, sir.                                      23         Beginning of Media File No. 6.
     24          MS. MAINIGI: Objection.                       24         Time is 1:11.
     25          BY MR. LANIER:                                25    EXAMINATION BY COUNSEL FOR CARDINAL HEALTH

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                                                    Page 513                                                 Page 515
      1         BY MS. MAINIGI:                                 1      A. Yes.
      2      Q. Good afternoon, Mr. Rannazzisi.                 2      Q. Mr. Rannazzisi, you were asked a
      3         My name is Enu Mainigi. And I                   3   bunch of questions about a bill that got passed
      4   represent Cardinal Health. I questioned you on        4   by Congress.
      5   day one of your deposition.                           5          Do you remember that?
      6         Do you recall that?                             6      A. Yes, ma'am.
      7      A. Yes, ma'am.                                     7      Q. And that was called -- that bill was
      8      Q. And you recall there were some other            8   -- I don't recall if the name came up. Was it
      9   questioners in that day as well.                      9   called the Marino bill?
     10         Do you remember that?                          10      A. No, ma'am.
     11      A. Yes, ma'am.                                    11      Q. What bill were you referring to?
     12      Q. So I'm going to start off the                  12      A. The Ensuring Patient Access and
     13   questioning following Mr. Lanier's questioning       13   Effective Drug Enforcement Act of 2016.
     14   of you. And there will be several others that        14      Q. Okay. So that bill was passed in 2
     15   follow after me.                                     15   -- 2016.
     16         Is that okay?                                  16      A. Yes. Which --
     17      A. Yes, ma'am.                                    17      Q. And -- I'm sorry. Go ahead.
     18      Q. Mr. Lanier asked you, Mr.                      18      A. Yes.
     19   Rannazzisi, about your time in enforcement.          19      Q. And so the bill that Mr. Lanier
     20         Do you recall that?                            20   asked you about that -- that essentially
     21      A. Yes, sir -- ma'am. Yes, ma'am.                 21   hampered DEA's ability to control diversion, I
     22      Q. And I think he was talking about               22   think were the word that were used, that was
     23   when you were in the field in part for DEA           23   passed in 2016?
     24   enforcement.                                         24      A. Yes.
     25         Do you remember that?                          25      Q. And that was prior -- you left prior
                                                    Page 514                                                 Page 516
      1      A. Yes.                                            1   to 2016, correct?
      2      Q. And I think that was when he was                2      A. Yes.
      3   asking you about some of the gear that you            3      Q. So that bill was passed after you
      4   might have worn, the -- the jumpsuit, the             4   left the DEA?
      5   overalls.                                             5      A. That is correct.
      6          Do you recall that?                            6      Q. So you don't necessarily have any
      7      A. Yes.                                            7   firsthand knowledge of how that bill hampered
      8      Q. Now, that took place before you took            8   DEA's ability to control diversion, correct?
      9   over as head of antidiversion at headquarters,        9      A. DEA hasn't issued an immediate
     10   correct?                                             10   suspension order that I'm aware of, except for
     11      A. Yes. That would have been in the               11   one, which was withdrawn, since the passage of
     12   '80s and '90s.                                       12   that bill related to manufacturers and
     13      Q. Okay. And when you took over                   13   distributors.
     14   antidiversion at headquarters, that was              14          So I believe, yes, that's probably
     15   starting in the 2004 time period, really 2005,       15   correct.
     16   right?                                               16      Q. So you have firsthand knowledge
     17      A. Yes.                                           17   since 2016 as to how this 2016 bill has
     18      Q. And I think, as we talked about on             18   hampered DEA's antidiversion efforts?
     19   day one of your testimony, it was in that time       19      A. I -- again, I -- I said that, based
     20   period that you began to deal with                   20   on the news reporting, there was only one
     21   distributors, correct?                               21   instance where an immediate suspension order
     22      A. Yes.                                           22   was executed post-bill. And that immediate
     23      Q. And just so the record is clear, by            23   suspension order was withdrawn. It was
     24   "that time period" I mean in the 2004, 2005          24   withdrawn.
     25   time period forward, correct?                        25          So I don't know of everything, but I

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                                                   Page 517                                                 Page 519
      1   know what's been reported. And generally DEA         1   on what investigation we're doing.
      2   reports when they execute immediate suspension       2      Q. With respect to investigating
      3   orders in order to show cause. And I -- I            3   antidiversion, would you use ARCOS data?
      4   pretty much keep up with the news and make sure      4      A. We can use it historically to
      5   that I keep up with what's going on.                 5   support information that we received. But we
      6      Q. But you haven't been inside DEA                6   didn't have any current ARCOS data.
      7   since when?                                          7      Q. With respect to the use of ARCOS
      8      A. October of 2015.                               8   data, the DEA has used ARCOS data to show
      9      Q. Okay. So you don't know what was               9   distributors where they could do better,
     10   going on at DEA that may or may not have            10   correct?
     11   resulted in them pursuing suspension orders,        11      A. We have -- yes. 2005 meetings we
     12   correct?                                            12   did show ARCOS data, yes.
     13      A. That is correct.                              13      Q. Is there any type of other data that
     14      Q. But you were at DEA from 2005                 14   could be used that DEA had access to that would
     15   through October 2015, right?                        15   be more timely?
     16      A. Yes.                                          16          MR. BENNETT: Objection. Scope.
     17      Q. And you were the head of                      17          You're not authorized to disclose
     18   antidiversion at DEA in that time period,           18   confidential law enforcement investigative or
     19   correct?                                            19   intelligence gathering and dissemination
     20      A. The Office of Diversion Control,              20   techniques whose effectiveness would be
     21   yes.                                                21   impaired by the disclosure.
     22      Q. And -- and tell us again, just in             22          To the extent that there is publicly
     23   case we didn't get it last time, what is the        23   available information regarding databases that
     24   role of the Office of Diversion Control?            24   you could use or information you could use, you
     25      A. The Office of Diversion Control               25   may answer.
                                                   Page 518                                                 Page 520
      1   oversees all pharmaceutical, chemical,          1                THE WITNESS: And that's not a
      2   synthetic drug investigations related to        2        question I could answer.
      3   controlled substances, listed chemicals and -- 3                 BY MS. MAINIGI:
      4   and any type of analog or synthetic.            4           Q. How about answering "yes" or "no"?
      5          We monitor, inspect the -- the           5                Was there other types of data that
      6   regulated industry, be it the registrants or    6        could be used by the DEA to investigate
      7   the chemical manufacturers and distributors, to 7        diversion, yes or no?
      8   ensure that diversion does not occur in those   8                MR. BENNETT: Objection. Vague.
      9   supply chains.                                  9                You can answer "yes" or "no" only.
     10      Q. And so you -- part of what you do is     10                THE WITNESS: Yes.
     11   monitor the registrants in the Office of       11                BY MS. MAINIGI:
     12   Diversion Control, correct?                    12           Q. But you can't tell me what that data
     13      A. Yes.                                     13        is?
     14      Q. And if the registrants were not          14           A. I'm prohibited from telling you what
     15   doing their job, then you would take action,   15        that data is.
     16   correct?                                       16           Q. Now, coming back to this 2016
     17      A. We would conduct investigations,         17        bill -- or rather let -- let's go to the time
     18   yes.                                           18        period before that. Because that -- that
     19      Q. And one of the ways you would            19        happened after you left, that 2016 bill.
     20   conduct investigations is by looking at data; 20                 So from 2005 to 2015, there wasn't
     21   is that right?                                 21        any sort of bill that Congress passed that
     22      A. There's -- there's many methods to       22        hampered the DEA's ability to control
     23   look at -- to conduct investigations. Data     23        diversion, was there?
     24   collection, data review is part of it. It      24           A. Well, that bill was introduced on at
     25   depends on the type of investigation. Depends 25         least two occasions, from '14 up until I left
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                                                   Page 521                                                 Page 523
      1   in '15, before it was passed in -- in the form       1   to say that, "The administration has not made a
      2   it was passed in '16.                                2   -- not taken a position on that. We'll have to
      3      Q. So only when a bill becomes a law              3   get back to you."
      4   does it take effect, right?                          4          So, you know, we -- we're
      5      A. That's correct.                                5   constrained from talking about certain things
      6      Q. And so it took effect sometime in              6   within the hearing process.
      7   '16 or thereafter, correct?                          7       Q. Did you ever advocate to Congress
      8      A. Yes.                                           8   that quota should be decreased?
      9      Q. So let me ask my question again, Mr.           9       A. I never advocated to Congress that
     10   Rannazzisi.                                         10   quota should be in -- decreased. I did
     11          From 2005 to 2015, did Congress pass         11   advocate, after requests that the quota 826
     12   any sort of legislation that hampered DEA's         12   could be changed, to make it -- to make the
     13   ability to control diversion?                       13   statute stronger. But I've never advocated for
     14      A. Up until that point in time, no.              14   a decrease in quota. Because I have to follow
     15      Q. Now, while you were head of the               15   the 826, the statute.
     16   office of antidiversion at the DEA, Mr.             16       Q. Did you ever advocate to Congress
     17   Rannazzisi, from 2005 to 2015, did you make any     17   that the definition of "suspicious order" in
     18   efforts to change the law -- or the laws            18   the regulation should be clarified?
     19   related to antidiversion yourself?                  19       A. No. And Congress never asked for
     20          MR. BENNETT: Objection. Vague.               20   that. Again, we only -- we only provide
     21          THE WITNESS: When Congress --                21   technical guidance when Congress asks us for
     22   Congress has asked us to review certain             22   it.
     23   provisions of the act, and we have provided         23       Q. Did you ever advocate the Congress
     24   comments. But we don't generally tell Congress      24   that there should be greater clarity provided
     25   what changes need to be made unless we're           25   as to what an adequate suspicious order
                                                   Page 522                                                 Page 524
      1   asked, unless we're asked to provide technical       1   monitoring system should be?
      2   guidance, at which point in time then we -- we       2      A. Again, we don't advocate to
      3   can.                                                 3   Congress. What we do is, when Congress asks us
      4          BY MS. MAINIGI:                               4   or the administration decides that there might
      5      Q. Well, I think you told Mr. Lanier              5   need to be a change, it's brought to the
      6   you testified in front of Congress about 33          6   attention of Congress.
      7   times?                                               7          But generally Congress makes a
      8      A. Yes, ma'am.                                    8   decision to review certain provisions of any
      9      Q. And in any of those 33 times, did              9   act, not just the Controlled Substances Act.
     10   you suggest to Congress that there could be         10      Q. So the answer is no, Mr. Rannazzisi,
     11   enhancements to the antidiversion laws              11   you never went in front of Congress and
     12   instituted to help abate diversion?                 12   advocated for greater clarity as to what would
     13      A. I don't necessarily remember every            13   be appropriate for an adequate suspicious order
     14   time we testified. However, at a congressional      14   monitoring system?
     15   request, we did send them opinions on what          15      A. Again, that would be an
     16   could be changed in the law to make it more         16   administration decision. And no, I personally
     17   effective. And it was all throughout the            17   have never advocated for that.
     18   Controlled Substances Act. As long as they are      18      Q. And -- and is that, in part, because
     19   making the request and asking us what needed to     19   your view, as I understood it from last time,
     20   be done, we -- we could provide guidance.           20   Mr. Rannazzisi, is you think that the
     21          In a hearing there's certain                 21   regulation is very clear, right?
     22   limitations that we have on how we could            22      A. I think the regulation is very
     23   testify regarding proposed legislation or           23   straightforward and clear, yes.
     24   proposed legislative changes. If you look at        24          MS. MAINIGI: Okay. We'll mark the
     25   most people when they're testifying, they have      25   -- let me go ahead and mark an exhibit, Mr.

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      1   Rannazzisi. In fact, I'll -- I'll go ahead and     1   not in the Controlled Substances Act either,
      2   mark a couple at the same time.                    2   right?
      3          We'll mark this as Exhibit 9.               3      A. That is correct.
      4          And I'm going to give you a copy of         4      Q. Are the words "site inspections" or
      5   the Controlled Substances Act.                     5   "site visits" -- are those in the Controlled
      6          (Deposition Exhibit 9 was marked for        6   Substances Act?
      7   identification.)                                   7      A. I believe inspections are in the act
      8          MS. MAINIGI: Here you go.                   8   or in the regs. Its' been a while since I -- I
      9          And I'm going to give you a copy as         9   rolled through that section. But I'm pretty
     10   Exhibit 10 of the C.F.R.                          10   sure there's a -- there's a section that
     11          (Deposition Exhibit 10 was marked          11   authorizes the attorney general to do on-site
     12   for identification.)                              12   inspections.
     13          MS. MAINIGI: There you go, Mr.             13      Q. Okay. Do you see that in -- so
     14   Rannazzisi. Sorry.                                14   right now we're on the Controlled Substances
     15          THE WITNESS: Thank you.                    15   Act.
     16          BY MS. MAINIGI:                            16          Are site inspections or site visits
     17      Q. So tell us what -- let's -- let's           17   in the Controlled Substances Act?
     18   look at Exhibit 9 first.                          18      A. I don't have the full act. I just
     19          Tell us what the Controlled                19   have Section 823.
     20   Substances Act is.                                20      Q. An that's the section that governs
     21      A. The Controlled Substances Act is the        21   the registration of manufacturers, distributors
     22   federal statute that governs laws and             22   and dispensers of controlled substance,
     23   provisions contain -- laws and provisions that    23   correct?
     24   pertain to controlled substances and listed       24      A. Yes.
     25   chemicals.                                        25      Q. Okay. And in sections -- or
                                                 Page 526                                                   Page 528
      1      Q. And does the Controlled Substances           1   subparagraphs B and E, do you see "site
      2   Act speak to obligations of distributors,          2   inspections" or "site visits"?
      3   manufacturers, pharmacies and other                3      A. No. It's not -- I -- I'm -- I'm
      4   registrants?                                       4   sure it's not within this section of the act.
      5      A. Yes.                                         5      Q. The words "do not shift," they're
      6      Q. Now, if you take a look at it, it --         6   not in the Controlled Substances Act in
      7   it appears that subparagraphs B and E of the       7   sections B and E, are they?
      8   Controlled Substances Act relate to                8      A. No.
      9   distributors.                                      9      Q. Does the Controlled Substances Act
     10          Do you see that?                           10   expressly say that registrants must conduct an
     11      A. Yes.                                        11   independent analysis of suspicious orders prior
     12      Q. And Subsection B -- or                      12   to completing a sale to determine whether the
     13   Subparagraph B relates to Schedule I,             13   controlled substances are likely to be diverted
     14   Schedule II controlled substances, right?         14   from legitimate channels?
     15      A. Yes.                                        15      A. I'm sorry. Could you repeat that
     16      Q. And then Subparagraph E relates to          16   question one more time.
     17   Schedule III, IV and V substances, correct?       17          MS. MAINIGI: Could you read it
     18      A. Yes.                                        18   back, please.
     19      Q. Okay. Now, within the Controlled            19          (The record was read as requested.)
     20   Substances Act, and in particular those --        20          THE WITNESS: No. It's not
     21   those subparagraphs the words "know your          21   expressly outlined in the Controlled Substances
     22   customer" does not appear, correct?               22   Act. But it falls under maintenance, effective
     23      A. The words "know your customer" is           23   controls against diversion.
     24   not in the Controlled Substances Act.             24          BY MS. MAINIGI:
     25      Q. And the words "due diligence" are           25      Q. Does it say it in the Controlled

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      1   Substances Act?                                  1      a binder full of information.
      2      A. No. But to maintain effective              2         Q. And that binder full of information
      3   controls against diversion, there are steps you 3       set out particular requirements; is that right?
      4   have to take or -- you know, so if you're not    4         A. I wasn't at -- I wasn't at the
      5   monitoring your customers, if you're not doing 5        meetings. But from what I understood, it --
      6   due diligence, if you're not doing on-site       6      everything that was put in those letter was
      7   inspections, if you're not doing anything like   7      just a reflection of what came out of those
      8   that, you're not truly maintaining effective     8      meetings.
      9   controls against diversion.                      9             And if we have the binder -- I don't
     10      Q. And what you just said, where is          10      have the binders handy. But if I had the
     11   that written down?                              11      binders, I -- I could look through and find it.
     12      A. It was -- it's not in the Act. But        12             But the binders basically discuss --
     13   it was reinforced in our meetings and our       13      or those meetings discussed what due diligence
     14   letters with the industry and in the other      14      was, what a suspicious order was, and what the
     15   on-site inspections that were done and our case 15      requirements were.
     16   law that was established through the            16         Q. So let's leave aside the binder. We
     17   administrative proceedings.                     17      can --
     18      Q. So all of that stuff, the letters         18         A. Uh-huh.
     19   you're referring to, those were the letters     19         Q. -- pick up on the binder later.
     20   that Mr. Lanier showed you?                     20             Prior to the fall of 2005 and since
     21      A. Yes.                                      21      1970, where were the requirements you spoke of
     22      Q. And those were letters from the end       22      written down somewhere and given to
     23   of 2006, end of 2007; is that right?            23      distributors?
     24      A. Yes.                                      24         A. I don't recall any -- any type of
     25      Q. And the Controlled Substances Act         25      document or guidance document where the
                                                  Page 530                                                  Page 532
      1   was passed when?                                    1   distributors were told to do certain things
      2      A. In the '70s.                                  2   prior to 2005 that were related to maintaining
      3      Q. So prior --                                   3   effective controls against diversion.
      4      A. Early '70s.                                   4      Q. Now, let's turn to Exhibit 10. That
      5      Q. I'm sorry.                                    5   is the Code of Federal Regulations.
      6      A. Yeah.                                         6          Can you explain what the Code of
      7      Q. Prior to those letters, where are             7   Federal Regulations is, just generally?
      8   the requirements you spoke of written down          8      A. Code of Federal Regulations is a
      9   somewhere?                                          9   more detailed -- more detailed regulation
     10      A. It's -- again, it's part of due              10   regarding certain statutory provisions. So if
     11   diligence. It's not -- it's not written in the     11   a statute is passed, Congress might say in the
     12   Act, but it's part of their due diligence          12   statute and any regulation that DEA promulgates
     13   obligations. It's been developed over time.        13   pursuant to this -- or DEA must promulgate
     14      Q. So it's not written in the Act,              14   regulations pursuant to this section.
     15   right?                                             15          And what the regulations are are
     16      A. It's not in the Act.                         16   just that. It's a more detailed analysis of
     17      Q. Was there some other sort of                 17   what the statute is.
     18   guidance or document?                              18      Q. So you've got the Controlled
     19          Is that what you referred to got            19   Substances Act, which is the statute.
     20   written down in prior to 2006?                     20      A. Yes.
     21      A. Well, the meetings in 2005.                  21      Q. And then you've got the C.F.R.
     22      Q. Was there a handout provided to              22   provision related to the Controlled Substances
     23   distributors that had those requirements on it?    23   Act, which provides more detail about what to
     24      A. If I remember correctly, the                 24   do.
     25   distributors -- distributors were provided with    25          Fair?

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                                                  Page 533                                                   Page 535
      1      A. Yes.                                          1   Rannazzisi.
      2      Q. So let's take a look at Exhibit 10,           2          Actually, I -- I apologize. Why
      3   the -- the C.F.R. provision.                        3   don't you put it back in front of you for one
      4          You're familiar with this                    4   moment.
      5   regulation, obviously based on your work in         5      A. Okay.
      6   antidiversion, correct?                             6      Q. How does this regulation, the C.F.R.
      7      A. Yes.                                          7   provision, define a suspicious order?
      8      Q. And specifically what section of the          8      A. An order of unusual size, orders
      9   C.F.R. is this provision from?                      9   deviating substantially from a normal pattern,
     10      A. The security requirements under              10   and orders of unusual frequency.
     11   Section 1301.                                      11      Q. The phrase "unusual size," does this
     12      Q. 1301, and it's specifically 1301.74;         12   regulation do anything more to explain what
     13   is --                                              13   "unusual size" could mean?
     14      A. Yes.                                         14      A. The regulation is "of unusual size."
     15      Q. -- that right?                               15   That's all it says.
     16          Okay. Now, does this -- does this           16      Q. So it doesn't do anything to further
     17   regulation set forth the obligation to design      17   explain what "unusual size" means, correct?
     18   and operate a system to disclose to the            18      A. No. That was explained in the
     19   registrant suspicious orders of controlled         19   meetings and the letters that we sent out. The
     20   substances?                                        20   meetings in 2005 that we had face to face with
     21      A. Yes.                                         21   each individual distributor, the big three, and
     22      Q. And where is that?                           22   then some of the others; as well as the letters
     23      A. 1301.74(b).                                  23   that we sent out to every manufacturing,
     24      Q. So that's where the obligation to            24   distribution entity in the United States.
     25   design and operate a system to disclose            25      Q. Well, we went over last time -- so I
                                                  Page 534                                                   Page 536
      1   suspicious orders comes from.                       1   won't belabor it --
      2          Fair?                                        2      A. Uh-huh.
      3      A. Yes.                                          3      Q. -- where "unusual size" was
      4      Q. Okay. Now, in that section, does              4   appearing in the various communications.
      5   the word or words "know your customer" appear?      5          Do you remember that?
      6      A. No, ma'am.                                    6      A. Uh-huh.
      7      Q. Do the words "due diligence" appear           7      Q. And with respect to "unusual size,"
      8   in this regulation?                                 8   I think -- I think -- well, I think you told me
      9      A. No, ma'am.                                    9   that you only attend one of the distributor
     10      Q. Do the words "dispensing data"               10   briefings, right?
     11   appear in this regulation?                         11      A. It was a follow-up briefing.
     12      A. No, ma'am.                                   12      Q. So it wasn't one of the original
     13      Q. Do the words "customer                       13   briefings?
     14   questionnaire" appear in this regulation?          14      A. That's right.
     15      A. No, ma'am.                                   15      Q. Okay. But Mr. Mapes and Mr. Wright,
     16      Q. Do the words "electronic order               16   they attend a lot of the distributor briefers,
     17   monitoring system" appear in this regulation?      17   correct?
     18      A. No, ma'am.                                   18      A. Yes. They ran the distributor
     19      Q. Do the words "do not ship" appear in         19   briefings --
     20   this regulation?                                   20      Q. Okay. And --
     21      A. No, ma'am.                                   21      A. -- for a while, yeah.
     22      Q. Do the word "dispensing data" appear         22      Q. I'm sorry.
     23   in this regulation?                                23          And -- and to the extent then they
     24      A. No, ma'am.                                   24   have any recollection any more of those
     25      Q. You can set those aside, Mr.                 25   meetings, they would have the best recollection

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                                                    Page 537                                                 Page 539
      1   of what actually got said in those meetings.          1   years --
      2           Fair?                                         2      A. Uh-huh.
      3      A. No. There were other people in                  3      Q. -- and then all of a sudden it
      4   those meetings. But I think consistently they         4   bumped up into the 20,000 range or the --
      5   were the ones who were in each -- each meeting.       5      A. Uh-huh.
      6      Q. Okay. And I think you told me that              6      Q. -- 50,000 range. And then it bumped
      7   you did not typically, in any interactions you        7   up to the 100,000 range.
      8   had with distributors or registrants, define          8          Do you recall that --
      9   yourself what "unusual size" meant, correct?          9      A. Yes.
     10      A. No. I -- I personally didn't have              10      Q. -- testimony?
     11   any contact with them discussing that. That          11          And you defined the jump all of a
     12   was done through the liaison and policy section      12   sudden from 5,000 to 20,000 as perhaps an order
     13   or the E-commerce section, the sections that         13   of unusual size, correct?
     14   handled requests or questions from the               14      A. Yes.
     15   industry.                                            15      Q. And that was a pretty
     16      Q. And I think you told me last time              16   straightforward example, in your mind, right?
     17   that there was not necessarily some sort of          17      A. Yes.
     18   internal set of talking points that allowed          18      Q. But you also acknowledged that there
     19   folks within DEA to further define the term          19   could be circumstances that were a bit less
     20   "unusual size," correct?                             20   straightforward, correct?
     21      A. Those questions went to E-commerce             21      A. I don't recall that. I said that in
     22   or liaison and policy. And they were the             22   some cases you -- it could be a crossover
     23   people who were running the meetings. So I --        23   between two of the three. So an unusual size
     24   I -- I think they just ran off exactly what          24   and an unusual frequency could cross over
     25   they were telling the distributors during the        25   together, so...
                                                    Page 538                                                 Page 540
      1   meetings.                                             1       Q. Well, you agree with me that, in
      2      Q. But there was no guidebook or                   2   some instances, it's harder to define what
      3   playbook that they could refer to that allowed        3   unusual size is, correct, and to determine
      4   them to specifically define "unusual size" a          4   whether unusual size has been met?
      5   certain way, right?                                   5       A. No. I don't -- if you know your
      6      A. I don't believe there was any                   6   customer, you should know what an unusual size
      7   guidebook. Yes. No.                                   7   is.
      8      Q. Did you ever think about putting one            8       Q. So it can vary from vary to customer
      9   together?                                             9   what an unusual size is.
     10      A. No. We thought it was pretty                   10          Fair?
     11   straightforward. An unusual size is just that.       11       A. Within reason.
     12   An unusual frequency or -- is just that.             12       Q. So let's -- let's take your 5,000
     13      Q. So when we met last time, you gave             13   example.
     14   me an example of unusual size.                       14       A. Uh-huh.
     15      A. Uh-huh.                                        15       Q. 5,000 Hydrocodone a month.
     16      Q. You gave me probably several                   16          Would an order the following month
     17   examples of unusual size.                            17   of 10,000 be suspicious?
     18          Do you remember that?                         18          MR. BENNETT: Objection. Incomplete
     19      A. Yes.                                           19   hypothetical.
     20      Q. And one of those examples, as I                20          THE WITNESS: I would say it should
     21   recall it, was a pharmacy that had been              21   trigger a -- questions. If you've gone from
     22   ordering 5,000 pills of Hydrocodone every            22   5,000 to 10,000, you've doubled your purchases.
     23   month --                                             23   I think that should trigger some questions,
     24      A. Uh-huh.                                        24   yes.
     25      Q. -- let's say for the last three                25          BY MS. MAINIGI:

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                                                   Page 541                                                   Page 543
      1      Q. And it could be that follow-up due             1   dissemination techniques whose the
      2   diligence might, in fact, reveal good reasons        2   effectiveness would be impaired.
      3   for that bump from 5,000 to 10,000 or not.           3          To the extent you can answer without
      4          Fair?                                         4   disclosing confidential techniques or internal
      5      A. It -- again, it's a hypothetical. I            5   deliberative process, you may answer.
      6   don't know exactly what the reason is. I --          6          THE WITNESS: I can't tell you how
      7   like -- like the distributors, it's their            7   the information is followed up. But I can tell
      8   customer; it's their business decision. They         8   you that -- I just can't tell you how the
      9   have to look at it, perform due diligence and        9   information is followed up because I'm
     10   make that decision whether it's appropriate or      10   prohibitive from doing so.
     11   not.                                                11          BY MS. MAINIGI:
     12      Q. What -- what can you imagine could            12      Q. Well, it's fair to say that DEA
     13   be a reason that a bump from 5,000 to 10,000        13   followed up on reports of suspicious orders,
     14   after some due diligence might be legitimate        14   right?
     15   and not cause for concern?                          15      A. DEA would follow up on suspicious
     16          MR. BENNETT: Objection. Vague.               16   orders, yeah.
     17          THE WITNESS: I -- I wouldn't know.           17      Q. So a company that report a
     18   I mean in each -- in each instance is               18   suspicious could have an expectation that the
     19   different. It's fact-specific on what they're       19   DEA would do some follow-up on that suspicious
     20   doing at the time.                                  20   order reporting that they made, correct?
     21          So no. I couldn't answer that. I             21          MR. BENNETT: Objection to form.
     22   -- I would have to see a particular set of          22          THE WITNESS: DEA would --
     23   facts. I'd have to look at all the information      23          MR. BENNETT: And scope.
     24   that's available to me for that one registrant      24          Sorry.
     25   that's making the purchase. And then I could        25          THE WITNESS: DEA would follow up on
                                                   Page 542                                                   Page 544
      1   make a decision.                                     1   the suspicious order.
      2            But just hypothetically, no, I              2          But I -- I don't understand what --
      3   couldn't answer that question.                       3   what would the company -- I'm just not -- I
      4            BY MS. MAINIGI:                             4   guess I'm not catching what -- what the
      5       Q. You couldn't answer that question             5   question is.
      6   just looking at the pure numbers?                    6          BY MS. MAINIGI:
      7       A. Again, I would have to look at the            7      Q. Would the DEA follow up on all
      8   pharmacy, where it's situated. Is that -- it's       8   suspicious orders reported?
      9   my customer. If it's my customer, I should           9      A. The --
     10   know all of this stuff.                             10          MR. BENNETT: Objection. Form.
     11            I'd -- I'd want to go and talk to          11   Objection. Scope.
     12   the pharmacist. "Why did you increase this?"        12          THE WITNESS: The DEA position is
     13   I would document everything. I would make sure      13   that they would follow up on suspicious orders,
     14   there's documents showing why I did release         14   yes.
     15   that or why I didn't. I would make sure that,       15          BY MS. MAINIGI:
     16   if it's suspicious, I file it with DEA to           16      Q. My question was slightly more
     17   ensure that DEA has that information.               17   nuanced.
     18       Q. And so if it's suspicious and you            18          Did the DEA follow up on all
     19   file it with DEA, would a field investigator go     19   suspicious orders that were reported to it?
     20   from DEA and go do some further follow-up on        20          MR. BENNETT: Objection.
     21   that order?                                         21          THE WITNESS: I -- I couldn't tell
     22            MR. BENNETT: Objection. Calls for          22   you if every suspicious order was followed up
     23   speculation. Objection. Scope.                      23   on.
     24            You are not authorized to disclose         24          BY MS. MAINIGI:
     25   investigative or intelligence gathering and         25      Q. Was it your intent that all

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      1   suspicious orders be followed up on?                  1      A.    Again --
      2      A. It was any intent that the                      2          MR. BENNETT: Same objections.
      3   suspicious order, as they came in, would be           3          THE WITNESS: Again, I can't get
      4   looked at and followed up on --                       4   into that type of detail on suspicious orders.
      5      Q. And that --                                     5          BY MS. MAINIGI:
      6      A. -- yes.                                         6      Q. I'm just asking generically. I'm
      7      Q. I'm sorry.                                      7   not asking about any --
      8          And the suspicious orders that got             8      A. Generically --
      9   reported were followed up by DEA by the local         9      Q. -- particular --
     10   field offices?                                       10      A. I -- I can't -- we would follow up.
     11      A. That's who would get the suspicious            11   We would follow up.
     12   orders, yes.                                         12      Q. So there would be a lot of different
     13      Q. Okay. And so local field office                13   permutations as to how you could have follow
     14   agents would do the follow-up on the suspicious      14   up, correct?
     15   order reporting, correct?                            15      A. Yes.
     16          MR. BENNETT: Objection. Scope.                16      Q. And where was all this documented?
     17          THE WITNESS: It would be at the               17      A. It -- it's part of their training.
     18   local level, yes.                                    18      Q. So are there -- is -- is there
     19          BY MS. MAINIGI:                               19   documentation that exists of the follow-up of
     20      Q. And they would send perhaps special            20   suspicious orders?
     21   agents to the facility that had been reported        21      A. I -- I don't know if I -- I don't
     22   as part of the suspicious order?                     22   recall if there's any documentation within the
     23          MR. BENNETT: Objection. Scope.                23   manual on follow-up of suspicious orders. It's
     24   Objection. Speculation.                              24   an investigative tool.
     25          THE WITNESS: I -- I can't answer              25      Q. There was no requirement that the
                                                    Page 546                                                  Page 548
      1   that. I -- they have -- they have their own           1   local office DEA agents document their
      2   methods of -- of following up. And I think I'm        2   follow-up?
      3   prohibited from answering that question.              3      A. That's --it's -- that's -- again,
      4           BY MS. MAINIGI:                               4   how they document is at the -- the division
      5      Q. Well, I'm just asking generically.              5   level, what the division decides how they're
      6           What are the different things that a          6   going to document, how they're going to pursue
      7   -- that the local field offices might do to           7   a suspicious order.
      8   follow up on a suspicious order?                      8          But there's nothing written that
      9      A. Again, the local field office would             9   says, once you do a suspicious order, this is
     10   take the suspicious order and do -- follow --        10   what you must do. It's part of the
     11   follow whatever investigative process they deem      11   investigative process.
     12   appropriate to look at the order and -- and          12      Q. Is it possible that they would also
     13   determine if the order -- if the order warrants      13   just choose -- because they didn't need to,
     14   further investigation, yes.                          14   they'd choose not to document a follow-up on a
     15      Q. And so would they actually visit the           15   suspicious order?
     16   facilities?                                          16           MR. BENNETT: Objection.
     17           MR. BENNETT: Objection. Scope.               17   Speculation. Objection. Scope.
     18   Objection. Speculation.                              18          THE WITNESS: I -- I -- again, each
     19           THE WITNESS: It just -- again, it's          19   division operates differently. I think that
     20   fact-specific. Just depends on the order.            20   most of the investigators are -- are trained
     21   Depends on -- on -- on the particular customer.      21   to -- when they do their follow-up, if -- if it
     22   They may; they may not. Just depends.                22   is indeed -- warrants further investigation,
     23           BY MS. MAINIGI:                              23   there's something documented.
     24      Q. And so if they didn't visit the                24          But I can't guarantee that happens
     25   facility, what would they do perhaps instead?        25   in every case.

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                                                     Page 549                                                  Page 551
      1          BY MS. MAINIGI:                                 1   confident that a jump from 5,000 to 20,000 all
      2      Q. Okay. So let me -- let's come back               2   of a sudden would be cause for reporting a
      3   to the numbers we were talking about.                  3   suspicious order, correct?
      4          So you -- you thought that an                   4      A. Again, just giving me numbers
      5   increase from 5,000 Hydrocodone a month to             5   without giving me the -- what is actually going
      6   10,000 Hydrocodone a month may be cause for at         6   on, what -- where the pharmacy is situated,
      7   least further due diligence, right?                    7   what the pharmacy is doing, who the pharmacist
      8      A. I believe yes. Absolutely.                       8   is -- there's just so many different variables
      9      Q. And it could wind up being a                     9   that is -- should it trigger a due diligence
     10   suspicious order that's reported, or there may        10   analysis? Absolutely. Should it trigger a --
     11   be reasons why it didn't need to be reported as       11   a -- a suspicious order? Maybe. Probably.
     12   a suspicious order, correct?                          12   Because going from 5- to 20,000, that's --
     13      A. If they --                                      13   that's quite a bit.
     14          MR. BENNETT: Objection.                        14           But until you do the whole analysis,
     15   Mischaracterizes testimony.                           15   until you look at the pharmacy, until you look
     16          THE WITNESS: If they resolve the               16   at what their patterns were, I can't make that
     17   suspicious -- the suspicions within the order,        17   statement.
     18   then they wouldn't have to notify DEA. But if         18      Q. What about a jump from 5,000 one
     19   they didn't resolve the suspicious nature of          19   month Hydrocodone to 8,000 the next month of
     20   the order, then they would.                           20   Hydrocodone?
     21          BY MS. MAINIGI:                                21      A. The -- the answer's --
     22      Q. So a jump from 5,000 to 10,000 after            22           MR. BENNETT: Objection. Incomplete
     23   some due diligence could, in fact, result in          23   hypothetical.
     24   there not being a suspicious order that needed        24           THE WITNESS: The answer is the
     25   to be reported, correct?                              25   same. I have to see the -- the whole idea
                                                     Page 550                                                  Page 552
      1          MR. UTTER: Object. He answered the              1   behind this is the distributor does their due
      2   question three times.                                  2   diligence. To do their due diligence, they
      3          Go ahead. You can answer again.                 3   have to look at all the variables surrounding
      4          THE WITNESS: No. Again, it's                    4   the particular order.
      5   hypothetical. I don't know. I don't know what          5           Without that, without knowing where
      6   -- I don't know what the presentation was. I           6   the pharmacy is, what the location is, I -- I
      7   don't know all the background or the particular        7   couldn't answer the question.
      8   pharmacy. I don't know what they've done in            8           BY MS. MAINIGI:
      9   the past. I don't know where they're situated.         9       Q. So just looking at the numbers,
     10   I don't know what drugs there are.                    10   let's say 10,000 -- excuse me.
     11          I mean there's so many different               11           Just looking at the numbers of 5,000
     12   variables. So no, I can't -- I can't answer           12   jumping to 8,000 would not be enough the
     13   that. A -- an increase from 5 to 10 should            13   trigger, in your mind, automatically a
     14   trigger due diligence. Maintaining effective          14   reporting of a suspicious order based on
     15   controls against diversion.                           15   unusual size.
     16          Looking at your customer, trying to            16           Fair?
     17   figure out what they are doing. Why did they          17           MR. BENNETT: Object -- objection.
     18   have this increase? What's -- why is it               18   Vague.
     19   necessary? What are they doing with the drugs         19           THE WITNESS: I think that that
     20   that they are sending to this -- this pharmacy        20   would trigger the company to do a due diligence
     21   or hospital, whatever.                                21   analysis. That's what it would trigger. And
     22          So no. I can't -- based on that                22   if they can't justify, if they can't explain or
     23   hypothetical, I can't answer that question.           23   resolve why that increase occurred, then, you
     24          BY MS. MAINIGI:                                24   know, they're required to report it as
     25      Q. What about -- but you were pretty               25   suspicious and not ship.

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                                                    Page 553                                                  Page 555
      1          BY MS. MAINIGI:                                1      Q. Now, the documentation, they
      2      Q. And then DEA would follow up and                2   certainly could have documentation at the time
      3   investigate that suspicious order, right?             3   they were investigating a potential suspicious
      4      A. DEA would investigate suspicious                4   order, correct?
      5   orders as they come in, yes.                          5      A. It would be in the customer files or
      6      Q. And if DEA found there to be                    6   due diligence files.
      7   validity to a suspicious order that was               7      Q. Is there any requirement in the DEA
      8   reported, DEA would take some sort of action,         8   regulations or guidance to maintain due
      9   correct?                                              9   diligence documentation for a certain period of
     10          MR. BENNETT: Objection. Incomplete            10   time?
     11   hypothetical. Objection. Scope.                      11      A. There's no requirements. But it's
     12          THE WITNESS: Again, it's very                 12   in the company's best interest to do it.
     13   fact-specific. You have to -- it's -- you            13   Because, if -- if you continue to send drugs
     14   know, a suspicious order doesn't necessarily         14   downstream and there's no explanation why you
     15   give us the -- doesn't necessarily give us what      15   do that and those orders are suspicious in
     16   we need to open an investigation, take a             16   nature, they're -- they're unusual -- unusual
     17   registration. That -- that requires                  17   size, frequency or substantially deviating, at
     18   investigation.                                       18   that point in time you've got to explain why
     19          What a suspicious order does is               19   you're doing it.
     20   provide us with a -- a starting point -- it's a      20           So if you don't have due diligence
     21   pointer system -- so we could start our              21   files, it becomes pretty -- the -- the
     22   investigation if that is indeed appropriate.         22   investigators are in the dark.
     23          So yes. Somewhere down the line               23      Q. So you -- you gave some good advice
     24   there would be some kind of potential order to       24   with your 2006, 2007 letters, right?
     25   show cause if -- if we find that their               25      A. I believe we did, yes.
                                                    Page 554                                                  Page 556
      1   orders -- their suspicious orders were leading        1      Q. Did you put into your letters that
      2   to or were involved in diversion, yes.                2   distributors ought to hold onto their due
      3          But I mean, again, it's a very                 3   diligence files for a certain period of time?
      4   fact-specific -- I need the details. I need to        4      A. I believe that due diligence files
      5   know exactly what that pharmacy was doing in          5   had come up in the -- in the meetings and we
      6   their ordering patterns.                              6   mentioned due diligence in all of those
      7          BY MS. MAINIGI:                                7   letters.
      8       Q. And is it fair to say that                     8          And obviously, when you mention due
      9   reasonable minds could vary on whether                9   diligence, you should have some kind of
     10   something's a suspicious order?                      10   documentation of your due diligence. But that
     11          MR. BENNETT: Objection. Form.                 11   was mentioned in the meetings.
     12          THE WITNESS: Again, I think that,             12      Q. Okay. So let's -- let's just talk
     13   because it's a suspicious order, and it's a          13   about with respect to the letters.
     14   decision that's made by the company, it              14          I -- you mentioned due diligence in
     15   involves further investigation by the company        15   the letters, right?
     16   before they send out a suspicious order or send      16      A. Yes.
     17   it.                                                  17      Q. But you didn't say in the letters
     18          But in either case, they should have          18   "Keep your due diligence for a certain period
     19   documentation showing what they have. So if --       19   of time" or anything like that, did you?
     20   if it was suspicious, and they sent it anyway,       20      A. It would -- it would be prudent and
     21   they should explain why. Did they resolve the        21   common sense to, knowing that, if their --
     22   suspicion. If not, then they should send us          22   their methodology was questioned on why they
     23   the suspicious order.                                23   were shipping drugs downstream without filing
     24          It's pretty straightforward.                  24   suspicious orders, that you would have some
     25          BY MS. MAINIGI:                               25   documentation showing why, showing that you

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                                                   Page 557                                                   Page 559
      1   reconciled your suspicions.                          1   assistant secretary of health and former head
      2          But if that's not there, I have               2   of the FDA.
      3   nothing to look at. I can't make that                3      Q. He recently stepped down as head of
      4   determination other than my investigation,           4   the FDA, right?
      5   which is separate.                                   5      A. Yes.
      6          So if you're not covering yourself,           6      Q. Do you remember, before he stepped
      7   if you don't have suspicious -- you don't have       7   down, he spoke to the issue of opioids and said
      8   due diligence files that contains                    8   something to the effect of that -- that FDA
      9   reconciliation of a suspicious order, then           9   certainly shared some responsibility for the
     10   there's -- I -- I don't know how you would          10   opioid crisis?
     11   explain yourself.                                   11          Do you remember that?
     12      Q. So everything you just said right             12      A. I don't remember that. I don't have
     13   now about holding onto due diligence, is that       13   any doc --
     14   something you put into your letter?                 14      Q. You missed that?
     15      A. I don't recall if it was in the               15          MR. BENNETT: Objection. Form.
     16   letter or not. But the term "due diligence"         16          BY MS. MAINIGI:
     17   was. And the explanation of what due diligence      17      Q. You don't remember seeing the news
     18   was was in the face-to-face meetings.               18   about that?
     19      Q. And what record do you have of the            19      A. No. If you have a news article, I'd
     20   explanation that was provided about holding on      20   be happy to look at it. But no, I don't have
     21   to due diligence files in these meetings that       21   that.
     22   were held that you didn't attend?                   22      Q. Do you -- you've referenced Mr.
     23      A. I don't have any records on those             23   Rosenberg in your discussions with Mr. Lanier.
     24   meetings. I -- when I left, I didn't, you           24          Do you remember that?
     25   know, pack up the binders and move them with        25      A. Yes.
                                                   Page 558                                                   Page 560
      1   me.                                            1            Q. And Mr. Rosenberg was your boss for
      2          I'm sure that, if we could find the     2         some period of time?
      3   binders -- I -- I don't know. Because there    3            A. Briefly.
      4   was a lot of discussion within that meeting    4            Q. And -- now, you indicated he was a
      5   that -- on what their obligations were under   5         potential roadblock; is that right?
      6   the Act and under the regulations.             6                MR. BENNETT: Objection.
      7          I don't know if it was in the -- in     7         Mischaracterizes testimony.
      8   the PowerPoint. I don't know if it was in the  8                THE WITNESS: I never said he was a
      9   separate documents. I don't know if it was in 9          roadblock.
     10   -- embedded when we talked about specific     10                BY MS. MAINIGI:
     11   purchase -- purchases that were in the ARCOS 11             Q. Oh, I thought your discussion with
     12   transaction reports.                          12         Mr. Lanier was that Mr. Rosenberg was a
     13          But due diligence was discussed in     13         roadblock.
     14   that meeting.                                 14            A. I never said he was a roadblock.
     15      Q. But you don't have a record of it       15            Q. Okay. Mr. Rosenberg testified in
     16   right now?                                    16         front of Congress as well.
     17      A. No, ma'am.                              17                Do you remember that?
     18      Q. Now, you said you follow the news on 18               A. I don't remember when he testified.
     19   opioids, right?                               19         And I don't have the content of his testimony.
     20      A. Somewhat, yes. Yes.                     20            Q. Do you remember Mr. Rosenberg saying
     21      Q. And do you remember -- do you know 21              that the DEA could have done a better job when
     22   who Scott Gottlieb is?                        22         it came to the oversight of diversion?
     23      A. Yes.                                    23                MR. UTTER: Object to form.
     24      Q. Who's Scott Gottlieb?                   24                THE WITNESS: Based on what I heard
     25      A. Well, he was the former secretary --    25         from the last deposition and recently, yeah, I

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      1   -- I don't have the document in front of me. I      1      A. Not by letter, no.
      2   don't have his transcripts. But I assume that       2      Q. By any other written format?
      3   those are correct. So if he said that.              3      A. Well, 2008 is when everybody --
      4           MS. MAINIGI: Let me -- let me see           4   well, some of the companies -- '7 and '8, when
      5   if we can play --                                   5   they signed their original MOAs with the
      6           THE WITNESS: Okay.                          6   government. So I think there was guidance
      7           MS. MAINIGI: -- a clip. If we can't         7   built into that MOA in the form of attorneys --
      8   get it working right now, we'll just go --          8   talking to the DEA attorneys and investigators
      9           THE WITNESS: Sure.                          9   on what's expected of them. That's why they
     10           MS. MAINIGI: -- off the record and         10   signed the MOAs and they said they would comply
     11   play it in a moment.                               11   with the Act.
     12           MS. McNAMARA: We have sound issues.        12      Q. And that's -- that's DEA talking to
     13   We should go off the record.                       13   individual registrants, correct?
     14           MS. MAINIGI: Why don't we go off           14      A. Yes.
     15   the record for one moment. But just bear --        15      Q. Was there any sort of written
     16   bear with us. Just -- if everyone could sit        16   guidance after the MOAs saying "Everybody take
     17   tight, let's see if we can make this work.         17   a look at the MOAs and learn from it"?
     18           THE WITNESS: Could you tell me what        18      A. The -- the written guidance -- the
     19   the date was on that?                              19   2007 written guidance had a reference to
     20           MS. MAINIGI: Sure. We -- we can --         20   Southwood Chemical, which explained DEA's
     21           THE WITNESS: Great. Okay.                  21   position in an agency decision.
     22           MS. MAINIGI: -- in just a --               22          I'm not -- I'm not -- I don't
     23   second.                                            23   believe there was any other written
     24           THE VIDEOGRAPHER: Okay. We're              24   documentation after the MOAs and the three
     25   going off record.                                  25   letters and the face-to-face visits.
                                                  Page 562                                                Page 564
      1          Time is 2:06.                                1      Q. And the three letters, two of them
      2          (A short recess was taken.)                  2   were identical, right?
      3          THE VIDEOGRAPHER: We're going back           3      A. Yes.
      4   on record.                                          4      Q. So there were really two letters,
      5          Beginning Media File 7.                      5   correct, sent at different times?
      6          Time is 2:22.                                6      A. Yes.
      7          BY MS. MAINIGI:                              7      Q. Okay. And then you don't recall any
      8      Q. Mr. Rannazzisi, you -- you've                 8   other letters of that variety being sent to
      9   referenced a few times the letters that you         9   registrants than between 2008 and 2015 when you
     10   sent to registrants in 2006 and 2007, correct?     10   departed?
     11      A. Yes, ma'am.                                  11      A. I don't recall of any letters sent.
     12      Q. Do you recall sending any more               12   I don't have knowledge of any letters sent at
     13   letters like that prior to your departure in       13   that point -- after that.
     14   2015?                                              14      Q. And with respect to the -- and you
     15      A. I don't recall any other letters             15   would know, right, because you were head of
     16   being sent.                                        16   Office of Diversion Control?
     17      Q. So -- and I forget what you told me          17      A. I would hope so, yes.
     18   last time.                                         18      Q. Okay. Now, with respect to these
     19          Did you review those letters from           19   settlements, the settlements related to
     20   2006 and 2007 as -- as guidance of sorts?          20   individual facts and circumstances of those
     21      A. They -- they were DEA's position on          21   registrants, right?
     22   controlled -- on suspicious orders. So I guess     22      A. Yes.
     23   you could call them guidance, yes.                 23      Q. And you were aware that different
     24      Q. Okay. And you don't recall sending           24   registrants used different suspicious order
     25   any further guidance in 2008?                      25   monitoring systems?

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                                                    Page 565                                                 Page 567
      1      A. In -- in 2008 -- the '6, '7, and '8,            1   same. Depends on what violations were found
      2   I don't know what suspicious order monitoring         2   during those investigations.
      3   systems they were using. But they weren't             3      Q. But the DEA never took the learnings
      4   filing suspicious orders. So I -- I don't             4   from each one of those settlements and issued
      5   know.                                                 5   some sort of further letter or guidance
      6      Q. Okay. So registrants -- and let's               6   explaining what the takeaway was, correct?
      7   focus on the period where you didn't send any         7          MR. UTTER: Object to form.
      8   letters.                                              8          Go ahead.
      9          So you didn't send any letters from            9          THE WITNESS: I don't recall of any
     10   2008 to 2015, right?                                 10   -- I don't recall of anything that was written
     11      A. As far as I'm aware, that wouldn't             11   that discussed each individual's --
     12   -- I didn't send any letters --                      12   registrant's violations and what resulted from
     13      Q. Okay.                                          13   those violations.
     14      A. -- back at that point in time.                 14          I can tell you that the third letter
     15      Q. And in that time period, 2008 to               15   directed the attention of the reader to the
     16   2015, you were aware that different registrants      16   Southwood Pharmaceutical case, which basically
     17   were using different suspicious order                17   explained the agency's position and told them
     18   monitoring systems, right?                           18   in -- what to look for in those cases.
     19      A. Well, the monitoring the systems are           19          BY MS. MAINIGI:
     20   tailored to the -- each individual registrant's      20      Q. And after that, no more discussion
     21   needs. Again, the -- the regulation is               21   to the registrants about particular
     22   specific. The registrant shall create, operate       22   settlements, correct?
     23   a suspicious order -- or a -- a system which         23      A. I don't believe we talked to -- we
     24   identifies suspicious orders to the registrant.      24   talked to the registrants about particular
     25          I'm sure they all tailored theirs to          25   settlements, no.
                                                    Page 566                                                 Page 568
      1   their own specific needs. So I -- I guess             1      Q. And there was a period of time where
      2   that's accurate. Yes. They all have                   2   you were not having distributor briefings; is
      3   different...                                          3   that right?
      4      Q. So any settlement related to                    4      A. I'm not aware of that. But that
      5   specific facts and circumstances for that             5   came up in the last deposition. I still am not
      6   registrant, correct?                                  6   aware of any time where we didn't -- there
      7      A. I -- I -- I would be guessing.                  7   were -- there was times where we did more than
      8   Because I -- I just -- I haven't gone back and        8   normal, and there's times that we did less.
      9   looked at, in detail, each settlement to make a       9          But I don't recall a time where we
     10   determination.                                       10   never did a -- a -- a briefing.
     11      Q. Well, you just went over those                 11      Q. Well, from 2008 to 2015, when did
     12   settlement agreement --                              12   you do more distributor briefings?
     13      A. I didn't --                                    13      A. It depends on the year. It depends
     14      Q. -- with Mr. Lanier --                          14   on who was conducting the briefs and how many
     15      A. -- read them.                                  15   we could schedule in one year. It --
     16      Q. -- right?                                      16   there's -- there was no -- it was just
     17      A. I didn't read them in detail. I was            17   dependent on -- on what we could schedule in
     18   just looking at certain areas of the                 18   headquarters during that time period, so...
     19   settlement. I mean I could -- I could spend          19      Q. Why not get more distributors
     20   time and go through each settlement.                 20   reached by setting out specific written
     21          I know that, again, the facts and             21   guidance to everybody?
     22   circumstances of each individual case that DEA       22      A. Well, we did send out specific
     23   does is fact-specific. And there's -- there's        23   written guidance in 2006 and 2007. But we
     24   differences between the cases. So I can't            24   wanted face-to-face meetings so we could answer
     25   guarantee that each settlement is exactly the        25   their questions, the questions that they may

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                                                   Page 569                                                  Page 571
      1   have.                                            1       impossible unless we were able to leave
      2           We wanted to show them very specific 2           somebody there for a long period of time,
      3   instances of orders that were suspicious. We     3       weeks.
      4   wanted to lay out, you know, the ARCOS           4           Q. And from -- after your December 2007
      5   transaction reports. We wanted to explain to     5       letter, you're not -- other than these
      6   them what their obligations were.                6       individual distributor briefings you're
      7           So it wasn't a question of -- we         7       referring to, DEA didn't elaborate in written
      8   wanted for them to have access to our -- our     8       form how to identify orders of unusual size,
      9   experts, and, "This is the time. Ask your        9       correct?
     10   questions."                                     10           A. Again, it was pretty straightforward
     11      Q. And so there were some distributors       11       what an order of unusual size or frequently or
     12   that you may not have even met with for the 12           deviating substantially from the normal
     13   first time until 2010, 2011, correct?           13       ordering pattern is.
     14      A. Some of the smaller distributors,         14           Q. What was it?
     15   yes. But I believe that they were offered mini 15            A. Orders that were unusual size,
     16   briefings when they were inspected.             16       frequency or deviating substantially from the
     17           So it wasn't a full headquarters        17       normal ordering pattern. It's in the regs.
     18   briefing, but they were -- they were asked      18       It's been there for 40 years.
     19   at -- at the inspection level with diversion    19           Q. That same language.
     20   investigators, "Do you have any questions       20           A. That same language. Never changed.
     21   or" -- and just going over different things     21       The language has been there since the beginning
     22   that the diversion investigators were seeing in 22       of the Controlled Substances Act.
     23   that area, so...                                23           Q. Since 1970?
     24      Q. And so the diversion investigators        24           A. '73, I believe. '72, '73.
     25   came and did inspections of the distributors. 25             Q. Okay. And from 2008 to the time you
                                                   Page 570                                                  Page 572
      1          Fair?                                         1   left, DEA didn't elaborate on how to identify
      2      A. Yes.                                           2   orders of unusual frequency, right?
      3      Q. And they would have taken a look at            3      A. No. I -- I -- I can't tell you how
      4   suspicious order monitoring systems in many          4   many calls came into liaison and policy or to
      5   cases, correct?                                      5   regulatory affairs or to local offices. I know
      6      A. I would say they would do a cursory            6   there were meetings. I know there were
      7   review. You -- you can't look at a suspicious        7   meetings with distributors where that was
      8   order monitoring system unless -- I -- I --          8   discussed. I wasn't present at those meetings.
      9   unless you're actually watching it work. And         9          But I -- I -- I know that there was
     10   to watch it work, you have to execute. And to       10   contact between industry, between distributors,
     11   execute, you have to follow your protocols and      11   manufacturers and -- and DEA personnel during
     12   procedures.                                         12   that time period.
     13          So you might have a great suspicious         13      Q. Did you attend any of those meetings
     14   order monitoring system. But if you're not --       14   personally?
     15   if you're not actually executing what's in your     15      A. No.
     16   protocols and procedures, the system is             16      Q. Did you attend any of those phone
     17   worthless.                                          17   calls personally?
     18      Q. And what follow-up did you do to              18      A. No.
     19   determine whether the procedures were being         19      Q. Are you aware of any elaboration
     20   followed?                                           20   that was provided in written form related to
     21      A. The only way to follow up on whether          21   how to define an order of unusual frequency
     22   the procedures were being followed was to sit       22   from 2008 till the time you left?
     23   somebody there and watch a period of time           23      A. I don't recall of any written
     24   orders coming in and how they were adjudicated.     24   document that chose what order of unusual
     25          And -- and that -- that's almost             25   frequency is.

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                                                 Page 573                                                Page 575
      1      Q. Okay. Are you aware of any written        1      the government; is that true?
      2   document that elaborated on how to identify an 2           A. I guess they're an investigative arm
      3   order that deviates substantially from a normal 3      of Congress.
      4   ordering pattern from 2008 to 2015?             4          Q. Okay. Do you recall a GAO report
      5      A. I believe that was in one of the          5      related to the DEA from the 2015 time period?
      6   letters.                                        6               MR. BENNETT: Objection. Scope.
      7      Q. There was a letter from 2008 --           7               THE WITNESS: I recall GAO issuing a
      8      A. No. I mean --                             8      final report during that time period, yes.
      9      Q. -- to 2015?                               9               BY MS. MAINIGI:
     10      A. -- the 2 -- it was in the 2007           10          Q. Do you recall being interviewed for
     11   letter.                                        11      that report?
     12      Q. Okay. Let -- from 2008 to 2015, Mr. 12               A. I was interviewed for that report.
     13   Rannazzisi, was there ever an elaboration by 13            Q. And do you recall submitting a
     14   DEA on how to identify an order that deviates 14       written response for that report?
     15   substantially from a normal ordering pattern? 15           A. Yes.
     16      A. I don't recall any letter after          16               MR. BENNETT: I'm going to have a --
     17   2007.                                          17      if it's okay -- a continuing objection to
     18      Q. Is it fair to say, when new              18      questions regarding the GAO report as being
     19   leadership came into the DEA after you left, 19        outside the scope of authorization.
     20   that they made a commitment to have greater 20                  MS. MAINIGI: Okay.
     21   communication with registrants about the       21               MR. BENNETT: If that's okay,
     22   various requirements registrants were subject 22       Counsel.
     23   to?                                            23               MS. MAINIGI: Sure.
     24           MR. BENNETT: Objection. Scope.         24               MR. BENNETT: So I don't have to
     25           THE WITNESS: I don't really know       25      keep objecting and --
                                                 Page 574                                                Page 576
      1   what the -- I -- I don't really know what          1          MS. MAINIGI: Yes. That's fine.
      2   their -- their objectives were. I always           2   We'll take the continuing objection.
      3   thought that we were very clear in what their      3          I'm going to give you, Mr.
      4   obligations were dating back to 2005 and           4   Rannazzisi, Exhibit 11, which is a copy, I
      5   before.                                            5   believe, of that GAO report.
      6          I think we had an open lines of             6          THE WITNESS: Sure.
      7   communication. I don't -- you know, if that's      7          (Deposition Exhibit 11 was marked
      8   what they said or -- that's fine. But I think      8   for identification.)
      9   that that would take away from all of the          9          BY MS. MAINIGI:
     10   conversations and all of the contacts we had      10      Q. Tell me what this GAO report from
     11   with the industry, the distributors,              11   June 2015 is called.
     12   manufacturers, pharmacies, and even the           12      A. "Prescription Drugs, More DEA
     13   physicians through that whole time period,        13   Information About Registrants' Controlled
     14   so...                                             14   Substance Roles Could Improve Their
     15      Q. What's the GAO?                             15   Understanding and Help Ensure Access."
     16      A. Government Accountability Office.           16      Q. What does that title mean?
     17      Q. And what does the Government                17          MR. BENNETT: Objection.
     18   Accountability Office do?                         18          THE WITNESS: I -- I don't know. I
     19      A. That's a great question. I don't            19   didn't --
     20   know. Other than investigate -- investigate       20          MR. BENNETT: Calls for speculation.
     21   federal agencies, audit federal agencies to       21          THE WITNESS: -- write the report.
     22   determine how they're operating.                  22          BY MS. MAINIGI:
     23      Q. That's essentially their job, right?        23      Q. So the name of the report itself is
     24      A. Yes.                                        24   "More DEA Information About Registrants'
     25      Q. And they themselves are an arm of           25   Control Substances Roles Could Improve Their

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                                                   Page 577                                                 Page 579
      1   Understanding and Help Ensure Access," true?         1          I think our communication was pretty
      2      A. That's what it says, yes.                      2   transparent. We -- we -- we communicated fine.
      3      Q. Okay. And do you recall that one of            3          So again, my response -- and I don't
      4   the themes in this report was that DEA               4   recall exactly what I put in the response --
      5   registrants would do better with a greater           5   but I could tell you that I felt that we were
      6   amount of information provided by DEA?               6   communicating very well.
      7      A. I -- I haven't read this report in a           7      Q. And you told that to the GAO, right?
      8   while. So I -- I can't tell you exactly what         8      A. I -- during my interview, I did.
      9   the report says.                                     9      Q. And 2015, that's the same year that
     10      Q. Do you remember --                            10   you left the agency; is that right?
     11      A. If you --                                     11      A. Yes.
     12      Q. I'm sorry.                                    12      Q. And Mr. Rosenberg came to the agency
     13      A. If you --                                     13   in 2015?
     14      Q. Go ahead.                                     14      A. Yes. May of 2015.
     15      A. If you want to direct me to where             15          MS. MAINIGI: Okay. Let's go ahead
     16   that is in the report, I could actually --          16   and show the clip from Mr. Rosenberg. And tell
     17      Q. Well, do you recall what the gist of          17   me if you recall it.
     18   the report was?                                     18          (Video clip played.)
     19          MR. BENNETT: Objection. Form.                19          MR. ROSENBERG: "So we have 1.6
     20          THE WITNESS: The -- the --                   20   million registrants in the United States."
     21          BY MS. MAINIGI:                              21          SPEAKER: "Right."
     22      Q. Let me -- let me put it this way:             22          MR. ROSENBERG: "And frankly, if you
     23   Do you recall that one of the criticisms that       23   think about it, you know, logically and
     24   the GAO had of the DEA was that DEA was not         24   holistically, the overwhelming majority,
     25   communicating enough with its registrants.          25   99-plus percent, are our allies in this thing.
                                                   Page 578                                                 Page 580
      1      A. Well, I -- I don't remember that               1   And I think historically we" --
      2   being in here. Again, I have to look at it.          2          (Video clip malfunction.)
      3   But I would say that, if that was one of the         3          Mr. Rosenberg: "So we have 1.6
      4   cases, I think that they're mistaken. And I          4   million registrants in the United States.
      5   think my response would have said that.              5          SPEAKER: "Right.
      6      Q. So it was not your view that the DEA           6          Mr. Rosenberg: "And frankly, if you
      7   needed to communicate more with registrants?         7   think about it, you know, logically and
      8      A. We were communicating with                     8   holistically, the overwhelming majority,
      9   registrants up and down the pharmaceutical           9   99-plus percent, are our allies in this thing.
     10   chain. We were the first office to hold             10   And I think historically we've done a very good
     11   pharmacy diversion awareness conferences where      11   job of alienating them. I'm being sarcastic.
     12   both pharmacists and distributors attended. We      12   What we need is them as partners.
     13   were the first ones to hold -- you know, going      13          "Just give you a simple metric. But
     14   out into the medical community and talking to       14   in 2015 we had sort of -- I -- I asked my
     15   the medical community. We held pharmaceutical       15   folks, 'How many times have we met with
     16   -- we held distributor conferences,                 16   industry, with organizations? How many have we
     17   manufacturer conferences. We did all that           17   set down -- sat down with prescribers or
     18   during this time period.                            18   doctors, with pharmacists?' And we had 300
     19          I don't know what more can -- our --         19   such interactions -- or 339 such interactions
     20   our web site had information on it. We had a        20   in all of 2015.
     21   call center where a distributor or manufacturer     21          "So far, just in the first six
     22   or a pharmacist could call the call center. We      22   months of this year, we're up to 300. We --
     23   had a liaison and policy group that would take      23   we're going to probably double the number of
     24   phone calls. We had local offices that would        24   interactions. Now, that doesn't mean they're
     25   take phone calls.                                   25   all as good as they should be. But if we're

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                                                Page 581                                                 Page 583
      1   listening to them, we're going to get better.   1          We met last time during your first
      2          "We've also been opaque. I think         2   deposition.
      3   we've been slow. I think we've been opaque. I 3            Do you remember our discussion?
      4   think we haven't responded to them. We're       4      A. Yes, sir.
      5   trying to issue guidelines for them more        5      Q. Mr. Rannazzisi, have you -- have had
      6   quickly. We're trying to answer their           6   any meetings with plaintiff's counsel since our
      7   questions."                                     7   last deposition on -- on April 26?
      8          BY MS. MAINIGI:                          8      A. No.
      9      Q. Do you remember hearing that              9      Q. Now, you -- you testified earlier
     10   testimony from Mr. Rosenberg?                  10   you didn't meet with Mr. Lanier, correct?
     11      A. I -- I saw clips of that. But I --       11      A. Yes.
     12   you know, I didn't -- I haven't seen the       12      Q. Have you had any kind of
     13   whole...                                       13   communications with any of the plaintiff's
     14      Q. Were you still at the agency at that     14   lawyer between your last deposition and today?
     15   point in time?                                 15      A. No.
     16      A. I don't remember when it was, to be      16      Q. No -- no conversations at all?
     17   honest with you. I don't remember if it was in 17      A. No.
     18   2015, '16, or before he left. I -- I just --   18      Q. No phone calls?
     19      Q. I gath --                                19      A. No.
     20      A. Do you have the date on that?            20      Q. No e-mails?
     21      Q. It's 2015.                               21      A. No.
     22      A. When is it?                              22      Q. No texts?
     23      Q. Oh, I'm sorry. 2016.                     23      A. No. I -- quite frankly, I don't
     24      A. Okay. What was the date in 2016?         24   know most of these people. The only contact I
     25      Q. June 22nd, 2016.                         25   had was when we were here last time.
                                                Page 582                                                 Page 584
      1          So after your departure, correct?       1       Q.   Thank you.
      2      A. Yeah.                                    2           Now, when -- when Mr. Lanier was
      3      Q. I take --                                3    speaking with you earlier this morning, he
      4      A. So he's been there for about a year.     4    introduced what he calls a demonstrative and
      5      Q. I take it you did not agree with his     5    marked as Exhibit 8.
      6   comments that the agency had been too opaque   6           Remember this -- this document?
      7   and needed to issue more guidance?             7       A. Yes.
      8      A. No, I did not agree with that.           8       Q. See if we can work our magic.
      9          MS. MAINIGI: Okay. Thank you.           9           Now, there's a couple pages in
     10          I'm going to pass the witness to one   10    Exhibit 8 that I'd like to follow up with you
     11   of my colleagues.                             11    on.
     12          THE VIDEOGRAPHER: We're going off      12       A. Sure.
     13   record.                                       13       Q. Now, the first -- the first is this
     14          Time is 2:43.                          14    definition that -- that Mr. Lanier went over
     15          (A short recess was taken.)            15    with you about controlled substances.
     16          THE VIDEOGRAPHER: We're going back     16           And you testified earlier that there
     17   on record.                                    17    is a schedule under the Controlled Substances
     18          Beginning of Media File No. 8.         18    Act for classifying different controlled
     19          Time is 2:45.                          19    substance, correct?
     20       EXAMINATION BY COUNSEL FOR McKESSON 20             A. Yes.
     21          BY MR. EPPICH:                         21       Q. A Schedule I, a Schedule II.
     22      Q. Good afternoon, Mr. Rannazzisi.         22           That's what we have written here?
     23          Let me reintroduce myself to you.      23       A. Yes.
     24   My name is Chris Eppich. I represent McKesson 24       Q. There --
     25   in this litigation.                           25       A. Five schedules.
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                                                    Page 585                                                 Page 587
      1      Q. There's -- there's five schedules?              1            Now, there was some discussion
      2      A. Yes.                                            2   earlier today about your interview with "60
      3      Q. There's also a Schedule III,                    3   Minutes."
      4   correct?                                              4            Do you remember that?
      5      A. Yes.                                            5       A. Yes, sir.
      6      Q. And -- and what -- what types of                6       Q. And you interviewed with a Mr. Bill
      7   drugs do we find under Schedule III?                  7   -- Bill Whitaker.
      8      A. Schedule III would have, as far as              8       A. Yes, sir.
      9   opioids, Tylenol with codeine, acetaminophen          9       Q. How many times did you meet with Mr.
     10   with codeine.                                        10   Whitaker?
     11      Q. And, sir, let me interrupt you. I'm            11       A. I met with him for the initial
     12   not asking for what kind of drugs are under          12   interview. And then I met with him when he was
     13   there.                                               13   in D.C. a few months later I guess.
     14          What -- what is a broader definition          14       Q. And how long was your initial
     15   of what type of drugs are under Schedule III?        15   interview with Mr. Whitaker?
     16      A. A Schedule III drug has a legitimate           16       A. A few hours.
     17   medical use but a less of a risk of physical         17       Q. Was that interview recorded?
     18   and psychological dependence than -- than a          18       A. I -- I don't know exactly how
     19   Schedule II drug.                                    19   they -- they do their -- those interviews.
     20      Q. And you're aware, sir, that                    20       Q. Was there --
     21   Hydrocodone was listed under Schedule III until      21       A. I --
     22   2014, correct?                                       22       Q. -- a video camera present?
     23      A. Yes, sir.                                      23       A. There was a video camera present.
     24      Q. And I want to, if I could, go to               24   And I'm sure it was recorded because obviously
     25   another one of Mr. Lanier's demonstratives.          25   it -- it was taped.
                                                    Page 586                                                 Page 588
      1   And -- and you'll recall this one because he          1      Q. And you met again with him in DC; is
      2   drew a -- a person on the -- on the page. And         2   that what you said?
      3   he -- he -- this -- this person's depicted on         3      A. Yes.
      4   Plaintiff's Demonstrative No. 8.                      4      Q. Do you remember what date you met
      5          My -- my -- and I -- my question for           5   with him in D.C.?
      6   you, sir, is distributors don't distribute            6      A. No, I don't recall.
      7   controlled substances directly to patients,           7      Q. And how long did you meet with
      8   correct?                                              8   Mr. Whitaker when you met with him in D.C.?
      9      A. Distribute to DEA registrants that              9      A. Maybe an hour or so.
     10   sell or administer to patients, yes.                 10      Q. So you --
     11      Q. And those registrants are                      11      A. He was outside. We were talking.
     12   pharmacies, doctors, hospitals?                      12      Q. So you spent two or three hours with
     13      A. Yes, among others.                             13   Mr. Whitaker?
     14      Q. So this is actually a doctor or a              14      A. Probably a little more than that.
     15   hospital or a pharmacy, right?                       15   But yeah, you know, several hours.
     16      A. Yes, sir.                                      16      Q. Did Mr. Whitaker ask you if there
     17      Q. The -- the hospitals, doctors and              17   was anything DEA could have done differently or
     18   pharmacies, they don't ask, "Get me opioids to       18   better to combat the opioid crisis?
     19   sell," correct?                                      19      A. I don't recall that specific
     20          They actually submit order forms to           20   questions. He asked me a lot of question. I
     21   distributors?                                        21   just don't recall that specific question.
     22      A. Orders -- order forms on                       22      Q. Did he ask you any questions similar
     23   Schedule II. Invoices on Schedule III, IV and        23   to my question?
     24   V.                                                   24      A. I just don't recall. It was a while
     25      Q. Thank you.                                     25   ago.

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                                                   Page 589                                                 Page 591
      1      Q. Did Mr. Whitaker or the "60 Minutes"           1      A. Yes.
      2   organization provide you with a tape of your         2      Q. Now, during you time as the head of
      3   interviews?                                          3   the ODC, the Office of Diversion Control, DEA
      4      A. No.                                            4   did not issue an immediate suspension order
      5      Q. A transcript?                                  5   against McKesson, correct?
      6      A. No.                                            6      A. I -- I just -- I don't recall what
      7      Q. Mr. Rannazzisi, did you receive                7   -- if -- I know we issued orders to show cause
      8   authorization from the DOJ before you spoke to       8   against McKesson facilities. I don't recall if
      9   Mr. Whitaker or "60 Minutes" or the Washington       9   we did an immediate suspension order.
     10   Post?                                               10      Q. You don't recall if you -- if -- if
     11      A. No. I was retired.                            11   you issued an immediate suspension order
     12      Q. Earlier today you spoke with Mr.              12   against McKesson?
     13   Lanier about immediate suspension orders.           13           That's your testimony here today?
     14      A. Yes, sir.                                     14      A. Again, we issued orders to show
     15      Q. Let me find the demonstrative that            15   cause, which are part of the administrative
     16   he placed in front of you, sir.                     16   process. I don't recall if there was an
     17          I believe this was it.                       17   immediate suspension order issued or not.
     18          Do you remember that discussion?             18      Q. Now, it's true that DEA did not
     19      A. Yes.                                          19   issue an -- an -- even an order to show cause
     20      Q. Now, the immediate suspension order           20   against McKesson leading to the 2017 settlement
     21   is an enforcement power possessed by DEA,           21   agreement, true?
     22   correct?                                            22      A. I was talking about 2008.
     23      A. It's an administrative enforcement            23           2017, they were negotiating after I
     24   tool.                                               24   left. So I'm not sure what --
     25      Q. And -- and an immediate suspension            25      Q. You're not --
                                                   Page 590                                                 Page 592
      1   order is a process by which DEA immediately          1      A. -- they did.
      2   suspends or revokes a registrant's controlled        2      Q. -- sure?
      3   substance license, correct?                          3      A. Yes.
      4      A. Yes.                                           4      Q. So if -- if we look at Mr. Lanier's
      5      Q. Now, while -- while you were at the            5   demonstrative, Exhibit 8, it's true that these
      6   DEA, DEA could issue an immediate suspension         6   really aren't examples of orders to show cause
      7   order if there is an immediate danger to the         7   or immediate suspension orders because you
      8   public health or safety, correct?                    8   can't remember if McKesson received an
      9      A. No. It's --                                    9   mediation suspension order, and if there was an
     10      Q. That -- that wasn't --                        10   order to show cause, certainly wasn't to 2017,
     11      A. -- an imminent --                             11   correct?
     12      Q. -- the standard while you were at             12      A. Well --
     13   the DEA?                                            13          MR. UTTER: Object to the form of
     14      A. It's imminent.                                14   the question.
     15      Q. Imminent. Excuse me.                          15          Go ahead.
     16      A. There's a difference between                  16          THE WITNESS: Again, in -- in 2008,
     17   "imminent" and "immediate."                         17   I know they issued orders to show cause.
     18      Q. So let's me ask my question again.            18   Because I signed them.
     19          While you were at the DEA, DEA could         19          I don't know what happened in 2017.
     20   issue an imminent suspension -- excuse me -- an     20   And I was under the impression that we were
     21   imminent suspension -- let me strike that.          21   talking about administrative actions, which
     22          While you were at DEA, DEA could             22   would be an order to show cause or an immediate
     23   issue an immediate suspension order if there is     23   suspension order attached to an order to show
     24   an imminent danger to the public health or          24   cause.
     25   safety, correct?                                    25          They're the same thing. Only one is

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                                                   Page 593                                                 Page 595
      1   an immediate suspension, and the other one is        1          BY MR. EPPICH:
      2   just a -- a notice.                                  2      Q. Mr. Rannazzisi, if you could turn to
      3       Q. Well, let me -- let me just clarify           3   Page 3 with me of -- of Exhibit 12. I'd like
      4   your testimony --                                    4   to call your attention to what is identified as
      5       A. Okay.                                         5   Privileged Doc 4 in Exhibit 12.
      6       Q. -- for the record.                            6          It's -- it's identified as a
      7          Sitting here today, you don't recall          7   510-page e-mail from July 25, 2005, from
      8   if the DEA issued an immediate suspension order      8   yourself to NA.
      9   against McKesson during your tenure at the DEA,      9          Do you see that?
     10   correct?                                            10      A. Okay.
     11       A. I don't recall that.                         11      Q. And I'm sorry. It's -- it's a
     12       Q. And you don't recall or know if the          12   document, not an e-mail. Pardon me.
     13   DEA issued an order to show cause against           13          And you see the file name, it says
     14   McKesson leading to the 2017 settlement             14   "Rannazzisi Home Files, Redwell No. 6"?
     15   agreement, correct?                                 15      A. Uh-huh.
     16       A. I don't know that for sure. Again,           16      Q. Sir, do you keep redwells of -- of
     17   that settlement happened well after I was gone.     17   files at your home with documents from the
     18       Q. Thank you.                                   18   DEA --
     19          Now, last time we were together, Mr.         19      A. I don't --
     20   Rannazzisi, we discussed some e-mails that you      20      Q. -- collected in them?
     21   sent from DEA -- your DEA government account to     21      A. I don't know what a redwell is.
     22   your personal account.                              22      Q. Okay. Do you have any reason to
     23          Do you remember that discussion?             23   doubt this -- this document wasn't provided to
     24       A. I believe so, yes.                           24   the DOJ when they collected documents from you?
     25       Q. And your personal e-mail address is          25      A. I don't --
                                                   Page 594                                                 Page 596
      1   JRALKES --                                           1          MR. BENNETT: Objection to form.
      2      A. Uh-huh.                                        2          THE WITNESS: I mean this --
      3      Q. -- @AOL.com --                                 3          MR. EPPICH: I'll strike --
      4      A. Yes.                                           4          THE WITNESS: Document's --
      5      Q. -- correct?                                    5          MR. EPPICH: -- the question.
      6      A. Yes.                                           6          THE WITNESS: -- from -- this
      7      Q. Besides yourself, who has access to            7   document's from 2005. During that time period,
      8   your AOL e-mail account?                             8   a lot of documents were being sent back and
      9      A. Just me.                                       9   forth. Because this -- this is an Internet
     10      Q. No one else has the password to your          10   strategy. And, you know, I -- we're required
     11   account?                                            11   to work on these Internet strategy. We're
     12      A. No.                                           12   required to work on every strategy.
     13      Q. In addition to forwarding documents           13          So I would be looking at it, making
     14   to your personal account, you also took copies      14   changes and then sending it back. That's --
     15   of confidential DEA documents home from your        15   that's common.
     16   DEA office, correct?                                16          BY MR. EPPICH:
     17      A. No.                                           17      Q. So, sir, the DOJ, under "Description
     18          MR. EPPICH: No? Okay.                        18   of this Document" -- and I -- I don't have a
     19          Well, since your deposition, DOJ has         19   copy of this document. I apologize. But the
     20   identified another 128 documents that you took      20   DOJ describes the document as "DEA Internet
     21   from DEA headquarters.                              21   Strategy Draft, July 25, '05, Drug Threat" --
     22          Let me introduce to you what we'll           22      A. Uh-huh.
     23   mark as Exhibit 12.                                 23      Q. -- "Need for an Internet Strategy."
     24          (Deposition Exhibit 12 was marked            24          Do you see that?
     25   for identification.)                                25      A. Yes.

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                                                   Page 597                                                  Page 599
      1      Q. The DOJ further describes the                  1          THE WITNESS: I have no idea. I
      2   document as discussing, one -- you see the           2   don't have the document handy. This was from
      3   No. 1 there -- "DEA Internet strategy, July 25,      3   2005.
      4   2005, which details law enforcement strategies       4          MR. EPPICH: Yes, sir.
      5   to identify major drug supply organizations in       5          BY MR. EPPICH:
      6   order to fully dismantle drug trafficking            6      Q. Now, the -- you -- you see the
      7   supply organizations."                               7   notes. The DEA is withholding these documents
      8          Do you see that?                              8   based on the law enforcement privilege and the
      9      A. Yes.                                           9   attorney-client privilege, among other things.
     10      Q. Now, Mr. Rannazzisi, who are the              10          And DEA further provides that
     11   major drug supply organizations that are            11   Exhibit 12 -- in -- in Exhibit 12, under the
     12   referred to in this document?                       12   Basis, that Basis column, that the contents of
     13          MR. BENNETT: Objection. I believe            13   this document, if disclosed, would unduly
     14   that -- I believe that is privileged                14   compromise the agency's deliberative process
     15   information. And I would need to talk to Mr.        15   and jeopardize sensitive predecisional
     16   Rannazzisi to determine what he knows about the     16   communications.
     17   document that was withheld.                         17          Do you see that?
     18          To the extent that it was withheld           18      A. Yes.
     19   based on deliberative process, law enforcement      19      Q. Yet you've been keeping these
     20   and attorney-client privileged communication,       20   DEA-sensitive communications in your home for
     21   he would not be able to testify to the contents     21   the past 14 years; isn't that true?
     22   of that document.                                   22      A. They were -- I guess they were on my
     23          MR. EPPICH: I'll move on, Mr.                23   -- I guess they were on my Internet account.
     24   Bennett.                                            24   But again, they're documents from 2005. We did
     25          BY MR. EPPICH:                               25   a lot of business that way in 2005.
                                                   Page 598                                                  Page 600
      1     Q.    Sir, did --                                  1      Q. Now, sir --
      2          MR. BENNETT: And I -- I do want to            2      A. And throughout my tenure at -- we
      3   clarify. I think you said it was a 510-page          3   were doing business that way.
      4   document that was withheld. I believe there          4      Q. Sir, I'm not going to be able to
      5   were only 8 pages out of 510 that were               5   review every document in this log with you
      6   withheld.                                            6   today --
      7          MR. EPPICH: Thank you. That's not             7      A. Uh-huh.
      8   representing the document. So thank you for          8      Q. -- with the time as short as it is.
      9   that.                                                9   But let me direct you to the last page of the
     10          MR. BENNETT: It says: "Pages 18              10   document.
     11   through 25 and 142 have been withheld."             11          And these are documents -- these are
     12          MR. EPPICH: Thank you.                       12   two documents that are described in the
     13          MR. BENNETT: So it is --                     13   Description column as having highly sensitive
     14          MR. EPPICH: I missed that.                   14   law enforcement financial data concerning
     15          MR. BENNETT: No problems there. So           15   manufacturers, distributors and pharmacies
     16   i believe the remaining 502 pages were              16   monitored for civil litigation, procedural and
     17   provided.                                           17   regulatory compliance of controlled substances.
     18          BY MR. EPPICH:                               18          Do you see that, sir?
     19      Q. Now, Mr. Rannazzisi, did the                  19      A. Yes.
     20   strategies discussed in this document include       20      Q. The DEA is not producing these
     21   changes to the requirements for pharmaceutical      21   documents under the law enforcement privilege.
     22   distributors under the CSA?                         22          Do you see that?
     23          MR. BENNETT: Objection.                      23      A. Yes.
     24   Privileged.                                         24      Q. But these documents are more than
     25          Same instruction.                            25   just a law enforcement privilege, right?

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                                                  Page 601                                                   Page 603
      1          Documents 127 and 128 in this log            1   copies of DEA --
      2   contain the confidential financial data and         2           BY MR. EPPICH:
      3   information of defendants to this lawsuit.          3       Q. You don't have a filing cabinet full
      4          Do you see that?                             4   of hard copy DEA documents?
      5      A. Again, I -- I -- I see what it says.          5       A. No.
      6   But I don't know what the documents are.            6       Q. Mr. Rannazzisi, have you been
      7      Q. But you have a copy of these                  7   disciplined by the DEA for removing
      8   documents in your home, correct?                    8   DEA-sensitive documents and e-mails from the
      9      A. I haven't looked at-- I haven't               9   DEA headquarters?
     10   looked for these -- I -- I went through and        10       A. No.
     11   gave them the documents that I had. I don't        11       Q. Last time we were together, we also
     12   know what these documents are.                     12   talked about your attention as a consultant and
     13          I -- I could tell you that these            13   expert witness in the opioid litigations.
     14   documents, I probably had them because we were     14           Do you remember that testimony?
     15   either going into hearing or we had a court        15       A. Yes.
     16   appearance where I was preparing for. So...        16       Q. Now, you're aware that the
     17      Q. Mr. Rannazzisi, how many sensitive           17   plaintiffs have retained other consultants and
     18   DEA documents and e-mails do you have in your      18   experts in this case and in the opioid
     19   home?                                              19   litigations in general?
     20      A. I --                                         20       A. I'm -- yes.
     21          MR. BENNETT: Objection to Form.             21       Q. You're familiar with Craig McCann?
     22          THE WITNESS: I don't -- I don't             22       A. Yes, I am.
     23   have any sensitive -- I -- as far as I know, I     23       Q. Jim Rafalski?
     24   don't have any sensitive or -- or any -- any       24       A. Yes.
     25   documents like that. I've got to go back and       25       Q. Seth Whitelaw?
                                                  Page 602                                                   Page 604
      1   look. But I just don't think I have those           1      A. No.
      2   documents.                                          2      Q. Frank Yonker?
      3         BY MR. EPPICH:                                3      A. Yes.
      4      Q. Mr. Rannazzisi, did you ask the               4      Q. Jim Geldhof?
      5   manufacturers, distributors and pharmacies for      5      A. Yes.
      6   permission to maintain copies of their              6      Q. David Schiller?
      7   financial data and information at your home in      7      A. Yes.
      8   your personal e-mail account?                       8      Q. You attended a meeting in June 2008
      9      A. I don't --                                    9   with these experts and consultants along with
     10         MR. BENNETT: Objection.                      10   plaintiff's counsel, did you not?
     11   Argumentative.                                     11          MR. UTTER: Object to time frame.
     12         THE WITNESS: I don't know what               12          Go ahead.
     13   those documents are. And obviously I didn't        13          THE WITNESS: Yeah. I don't
     14   ask any permission because I don't even know       14   recall -- I've attended meetings with Craig
     15   what those documents are.                          15   McCann. But I don't recall any of those people
     16         BY MR. EPPICH:                               16   being there other than Craig McCann.
     17      Q. Did you share any of these or other          17          BY MR. EPPICH:
     18   DEA documents with any other person or entity?     18      Q. When was your last meeting with Mr.
     19      A. No.                                          19   McCann?
     20      Q. Where do you keep copies of hard             20      A. It was probably around a year ago.
     21   copy sensitive DEA documents in your home?         21      Q. And where was that meeting held?
     22         MR. BENNETT: Objection.                      22      A. It was probably at his offices.
     23         MR. UTTER: Object to form.                   23      Q. What did you discuss with Mr.
     24         MR. BENNETT: Argumentative.                  24   McCann?
     25         THE WITNESS: I don't have any hard           25      A. That -- if I recall, that -- if I
                                                                                            61 (Pages 601 - 604)
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                                                  Page 605                                                 Page 607
      1   recall, we were talking about ARCOS.                1   were approximately 30 people, plaintiffs'
      2      Q. And what did you share with him               2   lawyers as well as some experts, where you were
      3   about ARCOS?                                        3   in attendance sometime last summer?
      4      A. I didn't share anything. We -- they           4      A. That was the meeting I was talking
      5   -- they -- I was just listening to what they        5   about, yes, with Dr. --
      6   were doing with ARCOS information.                  6      Q. Oh, I see.
      7      Q. What do you mean when you say what            7      A. -- McCann.
      8   were they doing with ARCOS information?             8      Q. So -- so it was Dr. McCann and --
      9      A. How they were looking at ARCOS                9   and several --
     10   information that was given to them in              10      A. And --
     11   discovery.                                         11      Q. -- other people?
     12      Q. Did Mr. McCann ask you any                   12      A. Yeah. But that -- but none of -- I
     13   questions?                                         13   don't recall any of the people that you talked
     14      A. I believe the only question that             14   about were there.
     15   came up was on benzodiazepines.                    15      Q. So at that meeting with counsel,
     16      Q. Did you discuss any of the                   16   were there any presentations made?
     17   methodologies that Dr. McCann was planning to      17      A. I believe there was a presentation
     18   use in an expert report for this litigation?       18   made. But again, I wasn't there. I mean I --
     19      A. No. I'm not a -- I'm not a                   19   I didn't do any presentation. I was just there
     20   technical guy. And it's not -- he was doing        20   as an observer and to --
     21   all the tech work.                                 21      Q. Were there --
     22      Q. So you had a meeting with him in             22      A. -- answer questions.
     23   May -- approximately one year ago in 2018.         23      Q. -- any documents provided to you?
     24          What -- what other -- you mentioned         24      A. No.
     25   you may have had other meetings with him.          25      Q. Any documents e-mailed to you after
                                                  Page 606                                                 Page 608
      1           What other meetings did you have            1   the fact?
      2   with Dr. McCann?                                    2      A. There -- there were documents that
      3       A. I believe that was the only meeting          3   went to the attorneys, yes.
      4   I had with him.                                     4      Q. And what do you mean by "documents
      5       Q. Did you have any other meetings with         5   that went to the attorneys," sir?
      6   experts that have been disclosed in this            6      A. They were documents related to the
      7   litigation?                                         7   case that went to the attorneys -- that -- that
      8           MR. UTTER: Object. I'm not sure he          8   went to the attorneys in both the MDL and I'm
      9   knows who they are.                                 9   sure the other litigation that was --
     10           Go ahead.                                  10      Q. But -- pardon me.
     11           THE WITNESS: I -- I don't know of          11      A. Yeah.
     12   any -- I'm just thinking to think of who I met     12      Q. And -- and those are documents that
     13   with. I mean McCann definitely would -- I          13   you sent to the attorneys or someone else --
     14   mean, again, I -- I'm not -- I'm not part of       14      A. No, no, no --
     15   that MDL litigation, so...                         15      Q. -- sent to the attorneys?
     16           BY MR. EPPICH:                             16      A. -- no, no. I didn't send anything
     17       Q. Did you provide Mr. -- Dr. McCann           17   to --
     18   with any documentation?                            18      Q. Okay.
     19       A. No.                                         19      A. -- the attorneys. I -- I was not
     20       Q. Have you had --                             20   involved in any doc -- I was there to answer
     21       A. Absolutely not.                             21   questions if they had any. That's the extent
     22       Q. -- any communications that are              22   of my --
     23   written with Dr. McCann?                           23      Q. And what was the --
     24       A. No.                                         24      A. Involvement.
     25       Q. Do you recall a meeting where there         25      Q. What was the -- the topic of the
                                                                                           62 (Pages 605 - 608)
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                                                  Page 609                                                Page 611
      1   PowerPoint presentation?                            1      Q. Well, I'd just like to be a little
      2      A. I just don't remember what -- it --           2   bit --
      3   it was involved -- involving ARCOS. And I           3      A. Okay.
      4   don't really recall. I just know it was an          4      Q. -- more precise.
      5   ARCOS presentation.                                 5      A. Okay.
      6          MR. EPPICH: Thank you, Mr.                   6      Q. Would you agree that, enforcing the
      7   Rannazzisi. Let me --                               7   Controlled Substances Act, you believed that
      8          THE WITNESS: You're welcome.                 8   every individual is entitled to due process in
      9          MR. EPPICH: -- pass you to my                9   every investigation DEA conducts?
     10   colleagues.                                        10      A. I agree that, yeah, due process is a
     11          We're -- let's go off the record.           11   very important part of the -- of the overall
     12          THE VIDEOGRAPHER: We're off record.         12   scheme, yes.
     13          Time is 3:09.                               13      Q. And do you believe that DEA must
     14          (A short recess was taken.)                 14   assess the facts as to each individual
     15          THE VIDEOGRAPHER: We're going back          15   registrant separately to determine whether that
     16   on record.                                         16   specific registrant has violated the Controlled
     17          Beginning of Media File 9.                  17   Substances Act?
     18          Time is 3:12.                               18          MR. BENNETT: Objection. Scope.
     19          MR. EPPICH: Mr. Rannazzisi, just            19          THE WITNESS: I think I made it
     20   one quick housekeeping item.                       20   pretty clear that each -- each investigation is
     21          I -- I'd marked up the plaintiff's          21   fairly fact specific. And we could only go on
     22   demonstrative, Exhibit 8. And I'm going to         22   the facts that are generated from the
     23   mark that as Exhibit No. 13 of your deposition.    23   investigation, yes.
     24          THE WITNESS: Okay.                          24          BY MR. STEPHENS:
     25          MR. EPPICH: Thank you again.                25      Q. So you would agree with that
                                                  Page 610                                                Page 612
      1          THE WITNESS: Thank you.                      1   statement?
      2          (Deposition Exhibit 13 was marked            2      A. Yes.
      3   for identification.)                                3      Q. Okay. Would you also agree that
      4       EXAMINATION BY COUNSEL FOR WALMART              4   every manufacturer, distributor and retail
      5          BY MR. STEPHENS:                             5   chain pharmacy is entitled to individualized
      6      Q. Mr. Rannazzisi, good afternoon.               6   review of its own conducted by DEA before being
      7      A. Good afternoon.                               7   accused for any potential violation of the
      8      Q. It's good to see you again.                   8   Controlled Substances Act?
      9          How are you?                                 9          MR. BENNETT: Objection. Scope.
     10      A. Fine.                                        10          THE WITNESS: I don't -- I don't
     11          How are you?                                11   think I would necessarily -- I -- repeat the
     12      Q. Good.                                        12   question. I want to make sure I get that
     13          My time is short.                           13   right.
     14      A. Okay.                                        14          BY MR. STEPHENS:
     15      Q. So I will try and be quick.                  15      Q. Each manufacturer, distributor and
     16          In your testimony earlier today, you        16   retail chain pharmacy is entitled to
     17   had -- you were talking about whether certain      17   individualized review of its own conduct before
     18   registrants would comply. And you used terms       18   being accused of potential violations of the
     19   like "they" or "industry." Okay?                   19   Controlled Substances Act.
     20          Do you recall that?                         20      A. I believe that the process of the
     21      A. I --- I don't recall it. But "they"          21   order to show cause letter of admonition,
     22   and "industry" -- I don't understand "they" or     22   memorandum of agreement is part of that review.
     23   "industry." I generally will say "industry."       23          So if you're asking me does a --
     24      Q. Okay.                                        24   does a registrant have the ability -- or should
     25      A. I --                                         25   they have the ability to -- to just forgo the

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                                                   Page 613                                                 Page 615
      1   investigation and just have DEA tell us -- tell      1     Q.     Let me sharpen it one more time --
      2   them what their conduct is that violates the         2     A.     Okay.
      3   Act, that's what an order to show cause is for.      3     Q.     -- Mr. Rannazzisi.
      4      Q. Okay. Let me re -- ask it a little             4          Let's assume that we're only looking
      5   bit differently --                                   5   at the transactions where Distributor A
      6      A. Okay.                                          6   supplies Customer X. That's it for this --
      7      Q. -- so I know that we're talking kind           7      A. Okay.
      8   of apples --                                         8      Q. -- hypothetical.
      9      A. Okay.                                          9      A. Uh-huh.
     10      Q. -- to apples.                                 10      Q. Distributor B is not involved.
     11          Is that fair?                                11      A. Okay.
     12      A. Yeah.                                         12      Q. Distributor B does not do business
     13      Q. And let -- let me do it this way:             13   with Distributor A. Distributor B does not
     14   If Distributor A is supplying Customer X --         14   supply Customer X.
     15      A. Uh-huh.                                       15      A. Okay.
     16      Q. -- and DEA has concerns about what            16      Q. My point is -- is -- what I'm trying
     17   Distributor A is doing with Customer X --           17   to make is a -- what I think is a fairly simple
     18      A. Uh-huh.                                       18   point.
     19      Q. -- is it fair to charge Distributor           19          DEA would not blame Distributor B
     20   B with Distributor A's conduct?                     20   for the conduct that it's investigating of
     21      A. I -- I'm just curious. Where did              21   Distributor A and Customer X.
     22   Distributor B come -- come from?                    22      A. No. We wouldn't do that.
     23          We were talking about A and the              23      Q. Okay. During your tenure as deputy
     24   pharmacy, right? And all of a sudden you're         24   assistant administrator, if DEA learned about
     25   talking about Distributor B. Maybe I'm -- I'm       25   potential diversion at a pain clinic, would you
                                                   Page 614                                                 Page 616
      1   just missing the point here.                         1   expect D -- DEA to investigate the pain clinic?
      2      Q. Okay. Let me re-ask the question.              2      A. DEA takes in information and then
      3      A. Okay.                                          3   conducts investigations based on that
      4      Q. Distributor A supplies to Customer             4   information. So yes, there would be an
      5   X.                                                   5   investigation.
      6      A. Yes.                                           6      Q. So that's a "yes."
      7      Q. Distributor B does not do business             7      A. Yes.
      8   with Distributor A and does not supply Customer      8      Q. Okay. Is it fair to say --
      9   X.                                                   9      A. Again, it's fact-specific. But for
     10          Are you with me?                             10   the most part, if it's a rogue pain clinic and
     11      A. Yes.                                          11   they have good information, yes, they would
     12      Q. Do you think it's fair to lump                12   initiate an investigation.
     13   Distributor B into any investigation of             13      Q. Okay. Is it fair to say that you
     14   Distributor A and Customer X?                       14   would have been troubled as deputy assistant
     15      A. Does distributor -- does Distributor          15   administrator if DEA received information about
     16   B -- are they committing violations?                16   diversion at a pain clinic and failed to act on
     17          Because again, a lot -- there's a            17   that information to stop the potential
     18   lot of fact-specific questions I -- I need to       18   diversion?
     19   ask.                                                19           MR. BENNETT: Objection to form.
     20          If Distributor B is not doing                20           MR. UTTER: Same objection.
     21   anything, not violating any kind of Controlled      21           Go ahead.
     22   Substances Act or regulation -- provision or        22           THE WITNESS: I would be surprised
     23   regulation, then I -- I guess no. But if            23   if -- if DEA received information on a rogue
     24   they're involved in some kind of violation of       24   pain clinic, a clinic that was obviously
     25   the regulation or the Act, I --                     25   violating the law and they didn't act on it.

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                                                   Page 617                                                   Page 619
      1   I'd be very surprised, yes.                      1       prescribe, as you described earlier today --
      2          BY MR. STEPHENS:                          2          A. Uh-huh.
      3      Q. Earlier today we -- we talked about        3          Q. -- DEA has the ability to -- in the
      4   immediate suspension orders.                     4       future, after getting the immediate suspension
      5      A. Yes, sir.                                  5       order, to backtrack and work a criminal
      6      Q. Right.                                     6       investigation to see if DEA wants to bring a
      7          And you're familiar --                    7       criminal indictment against the doctor or the
      8      A. Uh-huh.                                    8       pain clinic.
      9      Q. -- both on the questioning from            9          A. Yes. You could do that.
     10   plaintiff's counsel and questioning from        10          Q. All right. When we met last time,
     11   defendant's counsel. You received questions 11           you had mentioned that at times DEA delayed
     12   about immediate suspensions orders, what they 12         obtaining administrative actions like immediate
     13   are, and how DEA obtains them.                  13       suspension orders while a criminal
     14      A. Yes.                                      14       investigation was ongoing.
     15      Q. Fair? All right.                          15              Do you recall that testimony?
     16          Would you agree that an immediate        16              MR. BENNETT: Objection. Misstates
     17   suspension order gives DEA the ability to       17       testimony.
     18   immediately stop diversion and then backtrack 18                THE WITNESS: No. I don't recall
     19   and build a criminal case against the diverting 19       that. I -- I recall you discussing that and
     20   doctor?                                         20       asking me if -- if -- if we had delayed based
     21          MR. UTTER: Object to form.               21       on -- based on active criminal investigations.
     22          Go ahead.                                22              MR. STEPHENS: Right.
     23          THE WITNESS: Well, you'd -- we           23              THE WITNESS: Yeah.
     24   separate our -- our administrative              24              BY MR. STEPHENS:
     25   investigations from our criminal                25          Q. And -- and delayed pursuing
                                                   Page 618                                                   Page 620
      1   investigations.                                      1   administrative relief, correct?
      2            Can parallel proceedings occur?             2      A. That's --
      3   Yes. But for the most part, our -- our               3          MR. BENNETT: You're answer did he
      4   administrative investigations are just that,         4   ask the question.
      5   administrative investigations.                       5          I don't have the record in front of
      6            BY MR. STEPHENS:                            6   me, Counsel. But I believe that you did ask
      7      Q. Okay. But after obtaining an                   7   that question. And I believe that we
      8   immediate suspension order, could you backtrack      8   instructed the witness that he was not
      9   and then work the criminal case?                     9   authorized to answer that question. And I
     10      A. I'm sure you could -- yeah. You --            10   believe that was upheld by the special master.
     11   you could use the information obtained from an      11          So I don't -- I just want to make
     12   immediate -- well, an immediate suspension          12   sure the record's clear that he's not saying
     13   order is not a seizure order. It's a -- it's        13   that happened. He's -- and please correct me
     14   -- it's just an order that stops that               14   if I'm wrong. He's saying you asked that
     15   registrant -- suspends his ability to -- to         15   question.
     16   distribute controlled substances. And it gives      16          So if you're asking whether you
     17   him, again, a opportunity of due process to         17   asked the question or not, he remembers that.
     18   appear in an administrative hearing.                18   I think that's fine. But I believe in the
     19            I don't -- I -- can we use the             19   transcript we -- we objected. But again, I
     20   information obtained from that? I -- I -- that      20   don't have it in front of me, so...
     21   -- I --                                             21          BY MR. STEPHENS:
     22      Q. That's not my question.                       22      Q. Mr. Rannazzisi, directing to your
     23            My question simply is, after DEA           23   testimony to April 26, 2009, at Page 171, lines
     24   obtains the immediate suspension order and is       24   9 to 15.
     25   able to stop the doctor from continuing to          25          MR. LANIER: Do you is a copy for
                                                                                             65 (Pages 617 - 620)
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                                                  Page 621                                                  Page 623
      1   the witness?                                     1      the way down the page where Mrs. -- Mrs. Brooks
      2          MR. STEPHENS: I -- yeah. I will           2      says: "Are you saying that the U.S. Attorneys
      3   give that to him. Just one second.               3      were asking -- as a former U.S. Attorney, are
      4          BY MR. STEPHENS:                          4      you saying that's the U.S. Attorneys were
      5      Q. Were you asked the -- this question?       5      asking or telling DEA not to issue ISOs?"
      6   Did you give the following response?             6             Do you see that?
      7          "Mr. Rannazzisi, did the Office of        7          A. Yes.
      8   Diversion Control ever delay an administrative 8            Q. Did I read that accurately?
      9   action while a criminal investigation was        9          A. Yes. I'd like to read beforehand
     10   ongoing?"                                       10      what was leading up to that though.
     11          Answer: "Yes."                           11          Q. Yeah. And Mr. Rannazzisi, what I'm
     12          MR. LANIER: Note -- objection.           12      hoping to do here is refresh your recollection
     13          Note the -- there's an objection         13      as to how long the delays were at the DEA on
     14   that you're authorized to answer that question 14       filing administrative actions like immediate
     15   "yes" or "no" only, is the instruction from Mr. 15      suspension orders.
     16   Bennett.                                        16             MR. BENNETT: Objection. I don't
     17          MR. BENNETT: Thank you, Counsel. 17              believe he is authorized to discuss that. I
     18          BY MR. STEPHENS:                         18      think that was the whole thing that came up in
     19      Q. All right. Were you asked that            19      the last one. I know he did answer that he
     20   question, and did you give that answer, sir?    20      doesn't remember.
     21      A. I -- can I see the transcript? I --       21             MR. STEPHENS: I think this door --
     22   yes.                                            22             MR. BENNETT: Even if it's
     23      Q. It's 171, lines 9 to 15.                  23      refreshed, I would object and say that's
     24      A. Okay. Yes.                                24      privileged, and he's not authorized to answer
     25      Q. Were you asked that question? Did         25      it.
                                                  Page 622                                                  Page 624
      1   you give that response?                             1          And I will note that congressional
      2      A. Yes.                                          2   testimony does not waive privilege by the
      3      Q. Okay. I also ask you if you could             3   Department of Justice.
      4   recall how long those delays were, and you          4          MR. STEPHENS: Door is wide open.
      5   couldn't recall.                                    5          MR. BENNETT: I don't believe so,
      6      A. That's true.                                  6   Counsel. I disagree.
      7      Q. Remember that? All right.                     7          MR. STEPHENS: Plaintiff's lawyers
      8      A. Yes, sir.                                     8   talked for -- for quite a bit this morning
      9          MR. STEPHENS: I'd like to mark this          9   about immediate suspension orders.
     10   as the next in order, Bonnie, No. 14.              10          MR. BENNETT: That's fine.
     11          And I'll just describe it for the           11          BY MR. STEPHENS:
     12   record. It is a March 20th, 2018 hearing           12      Q. So, Mr. Rannazzisi, as far as the --
     13   before the Subcommittee of Oversight               13   the time of the delay, I would direct your
     14   Investigations, Committee on Energy and            14   attention to Page 55. And you'll see at the
     15   Commerce, House of Representatives.                15   top of the page Mrs. Brooks asked a question to
     16          And I would direct your attention to        16   Mr. Patterson.
     17   pages 54 and 55.                                   17          Now, Mr. Patterson is Robert
     18          (Deposition Exhibit 14 was marked           18   Patterson, the acting administrator for the
     19   for identification.)                               19   Drug Enforcement Administration in 2018; is
     20          BY MR. STEPHENS:                            20   that right?
     21      Q. All right. Mr. Rannazzisi, I would           21      A. Yes. He was the acting
     22   direct your attention to Page 54 where there is    22   administrator.
     23   a discussion between Mrs. Brooks and Mr.           23      Q. That is the number one position in
     24   Patterson.                                         24   the Drug Enforcement Administration; is that
     25          I'm about -- I'm about 60 percent of        25   right?

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                                                    Page 625                                                 Page 627
      1      A. Well, he was an acting                          1   testimony. If -- if he's going to be denied
      2   administrator. Yes, he was acting in the              2   the right and -- and objected to the right to
      3   number one position.                                  3   answer this question, I'm going to move to
      4      Q. Okay. So -- and -- and let me just              4   strike all of the testimony that Mr. Rannazzisi
      5   read this here to -- to kind of frame it for          5   provided in response to plaintiff counsel's
      6   you.                                                  6   questions regarding immediate suspension
      7          If you see Mrs. Brooks says: "And              7   orders.
      8   what is the new guidance? And I appreciate the        8          SPECIAL MASTER COHEN: You can
      9   importance of gathering evidence, but what is         9   answer this question with a "yes" or "no"
     10   the new guidance relative to ISOs and criminal       10   answer. And the reporter can read it back to
     11   investigations that you're contemplating or          11   you if you need it read back to you at
     12   that are in place now, and is that guidance in       12   15:28.04.
     13   writing?"                                            13          THE WITNESS: Okay. Could you
     14          Mr. Patterson responds right below            14   please read it back.
     15   that: "So it is not formalized. This is              15          (The record was read as requested.)
     16   conversations that I've been having with the         16          MR. UTTER: Object to form.
     17   AGAC, the -- you know, the advisory."                17          MR. BENNETT: And I will restate my
     18          And then, if you go down a couple             18   objection.
     19   paragraphs, you'll see that -- a -- a paragraph      19          But I understand Special Master's
     20   there where Mr. Patterson states: "So I              20   ruling.
     21   understand that balance. The concern I have,         21          THE WITNESS: I -- I -- I'm
     22   like I said, is, if we are using an ISO, it          22   uncomfortable answering this. Because I don't
     23   feels awful weird to be signing that ISOs a          23   know what Mr. Patterson is discussing. I don't
     24   year after we learned of that problem."              24   know the case he's talking about. I have no
     25          Do you see that?                              25   idea what -- this is Mr. Patterson's testimony.
                                                    Page 626                                                 Page 628
      1      A. Yes.                                            1   It's not mine.
      2      Q. Does that refresh your recollection             2           And -- and, quite frankly, it -- if
      3   that at times the Drug Enforcement                    3   I said "yes" or "no," I -- I don't know what
      4   Administration waited up to a year to file an         4   he's talking about.
      5   ISO after learning of a problem with a doctor         5           Mr. Patterson was never in the
      6   or a pain clinic who might have been diverting        6   Office of Diversion Control. And he had very
      7   controlled substance?                                 7   limited knowledge of what the Office of
      8          MR. BENNETT: Objection. Improper               8   Diversion Control did. He was an acting
      9   refreshing of recollection.                           9   administrator. So if I say "yes" or "no," it's
     10          Your question was what's the longest          10   an answer, but it's not necessarily the correct
     11   time. He answered he did not know what the           11   answer.
     12   longest time is.                                     12           BY MR. STEPHENS:
     13          Your new questions is what is -- has          13       Q. Mr. Rannazzisi, in the 33 times that
     14   it been a year or more.                              14   you've testified to Congress, did you ever
     15          I don't believe that's a proper               15   notify Congress that DEA was delaying the
     16   refresh. Because those are two different             16   filing of immediate suspension orders to allow
     17   answers.                                             17   criminal proceedings or investigations to
     18          And I don't believe he has been               18   proceed?
     19   authorized to discuss the length of the delay.       19       A. I don't recall -- in my
     20   We allowed him to say whether there had been         20   pharmaceutical testimony, I don't recall ever
     21   delays or not but not the length of any delays.      21   making that statement to Congress.
     22   So I believe that's outside the scope and            22       Q. Did -- did you ever disclose to
     23   privileged for Mr. Rannazzisi to answer those        23   Congress, in the 33 times that you've testified
     24   questions.                                           24   before Congress, that DEA at times was delaying
     25          MR. STEPHENS: This is congressional           25   the filing of immediate suspension orders when

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                                                    Page 629                                                  Page 631
      1   DEA understood at that time there might be an         1          MR. BENNETT: Counsel, I believe we
      2   imminent threat so that U.S. Attorney's Office        2   are now at the end of the time for the defense.
      3   could investigate the subject of the ISO?             3   Thank you very much.
      4           MR. SMITH: Objection to form.                 4          I think it's plaintiff's turn now.
      5           THE WITNESS: Again, I don't recall            5          MR. LANIER: All right. Let's go
      6   ever talking to Congress, testifying to               6   off the record to make the shift, please.
      7   Congress, presenting the Congress delays due to       7          THE VIDEOGRAPHER: We're going off
      8   U.S. Attorney's active investigations. No, I          8   record.
      9   don't.                                                9          Time is 3:33.
     10           But again, this is Mr. Patterson's           10          (A short recess was taken.)
     11   testimony. It's not my testimony. And I have         11          THE VIDEOGRAPHER: We are going back
     12   no idea what he's drawing from when he makes         12   on record.
     13   these statements.                                    13          Beginning of Media File 10.
     14           BY MR. STEPHENS:                             14          Time is 3:40.
     15      Q. All right. As someone who's                    15      EXAMINATION BY COUNSEL FOR PLAINTIFFS
     16   testified 33 times before Congress, do you have      16          BY MR. LANIER:
     17   any reason to doubt Acting Administrator             17      Q. Okay. Mr. Rannazzisi, Mark Lanier
     18   Patterson's sworn testimony here?                    18   again for the -- the claimants in this case.
     19      A. I -- it's his sworn testimony. I --            19          And what I'd like to do is give you,
     20   I can't doubt that he's correct. But I don't         20   again, a roadmap of where we're going. It's
     21   know what information he's drawing from, who         21   not complicated.
     22   provided the information to him. I -- I have         22      A. Okay.
     23   none of that background. So it's difficult for       23      Q. Basically it's clean-up. I want to
     24   me to say what's correct.                            24   clean up some questions you were asked and some
     25           I'm sure Mr. Patterson didn't go             25   subject areas. Okay?
                                                    Page 630                                                  Page 632
      1   before Congress an lie. But in the same token,        1      A. Yes, sir.
      2   I don't know where this information came from.        2      Q. All right. In that regard, you were
      3      Q. During your tenure as deputy admin              3   asked a set of questions by one of the lawyers
      4   -- assistant administrator, did DEA provide           4   who ask you about did you ever make an effort
      5   distributors with national monthly average of         5   to change the law.
      6   dosage units of oxycodone purchased by all            6         Do you remember being asked those
      7   registered pharmacies in the United States?           7   questions?
      8      A. During my tenure, there was summary             8      A. Yes.
      9   -- there were summary ARCOS reports that didn't       9      Q. Now, you testified over -- or around
     10   identify -- there were summary ARCOS reports         10   33 times, was the best of your memory, correct?
     11   with no identification of the distributors or        11      A. Yes.
     12   pharmacies. It was by ZIP code. And it talks         12      Q. Was the law good as the law existed,
     13   about how much of a base -- base -- basic class      13   while you were there, as long as that law was
     14   was going into specific areas within the             14   being followed?
     15   country.                                             15         MR. EPPICH: Objection. Form.
     16            Actually, all ZIP codes, if I'm not         16   Vague.
     17   mistaken. It's still on -- well, it was on the       17         THE WITNESS: The -- in my opinion,
     18   web site up -- up to a year ago. I don't know        18   the law was fine the way it was presented in
     19   if it's still there.                                 19   the Controlled Substances Act and regulations.
     20       Q. Would that include national monthly           20         BY MR. LANIER:
     21   average of dosage units of a specific                21      Q. Is the key whether or not it was
     22   controlled substance?                                22   followed?
     23      A. I just don't recall. There were                23      A. That's --
     24   several reports. I think there was eight             24         MR. EPPICH: Objection. Form.
     25   different reports in that --                         25         THE WITNESS: -- basically it. If

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      1   -- if the -- if the -- the statute and the            1      Q. Do you remember this coming out from
      2   regulations were followed, it would                   2   the Washington Post in 2017?
      3   significantly, not totally eliminate,                 3      A. Yes.
      4   diversion.                                            4      Q. And if you'll look at the second
      5           BY MR. LANIER:                                5   page, you'll see that the law and -- that
      6      Q. All right. In this regard, sir, one             6   they're talking about: "Passing was the
      7   more question about efforts to change the law.        7   crowning achievement of a multifaceted campaign
      8           You understand that the woman asking          8   by the drug industry to weaken aggressive DEA
      9   that represents one of the distributors in this       9   enforcement efforts against drug distribution
     10   case, one of the big three distributors in the       10   companies that were supplying corrupt doctors
     11   United States of America?                            11   and pharmacists who peddled narcotics to the
     12           MR. EPPICH: Objection.                       12   black market. The industry worked behind the
     13           BY MR. LANIER:                               13   scenes with lobbyists and key members of
     14      Q. Did you know that?                             14   Congress, pouring more than a million dollars
     15           MR. EPPICH: Objection.                       15   into their election campaigns."
     16           THE WITNESS: I -- yes.                       16          Do you see that?
     17           BY MR. LANIER:                               17          MR. STEPHENS: Object to form.
     18      Q. Yeah.                                          18          THE WITNESS: Yes.
     19           My question is do -- did you at the          19          BY MR. LANIER:
     20   DEA have the number, size, quantity, budget of       20      Q. And so when the -- the lawyer was
     21   lobbyists that the pharmaceutical companies and      21   asking you did you make an effort to change the
     22   their distributors had?                              22   law, did you pour over a million dollars into
     23            MS. McNAMARA: Objection to form.            23   election campaigns the way it was reported that
     24           MR. EPPICH: Objection. Scope.                24   the drug industry did?
     25           MR. BENNETT: Objection to form and           25          MR. STEPHENS: Object to the form.
                                                    Page 634                                                   Page 636
      1   scope.                                                1           THE WITNESS: No, sir.
      2          THE WITNESS: DEA is not allowed to             2           MR. LANIER: All right.
      3   lobby. That would be a violation of federal           3           THE WITNESS: We're not allowed to
      4   statute.                                              4   do that.
      5          BY MR. LANIER:                                 5           BY MR. LANIER:
      6      Q. So when the pharma people ask you               6      Q. Next set of questions. Next
      7   did you, in essence, make an effort to change         7   subject.
      8   the law or lobby to change the law, are you           8           You were asked by the same lawyer
      9   even allowed to lobby the way they do?                9   about other data that the DEA could have used.
     10            MS. McNAMARA: Objection to form.            10           Do you remember those questions?
     11          MR. BENNETT: Objection. Scope.                11      A. Yes.
     12          THE WITNESS: No. We're not allowed            12      Q. I've made a list of information that
     13   to lobby Congress.                                   13   was available to the manufacturers and
     14          BY MR. LANIER:                                14   distributors and a list of information that was
     15      Q. So we read things like the                     15   available to you and the DEA.
     16   Washington Post putting out "The Drug                16           What I'd like to do is go through
     17   Industry's Triumph Over the DEA." Came out in        17   the manufacturers and distributors and get you
     18   2017. It's got your picture on the front.            18   to tell me whether or not the DEA had the
     19          MR. BENNETT: Counsel, what exhibit            19   information or even knows what it is. Okay?
     20   number is this?                                      20           You tracking with me?
     21          MR. LANIER: This is Exhibit 15.               21      A. Yes, sir.
     22   I'm sorry.                                           22      Q. All right. So --
     23          (Deposition Exhibit 15 was marked             23           MR. BENNETT: And, Counsel, before
     24   for identification.)                                 24   you go through your list, I just want to
     25          BY MR. LANIER:                                25   instruct the witness that, to the extent DEA

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      1   has this information and it's not publicly     1            Q.    If You can answer.
      2   known, you are not authorized to answer about 2             A.    Yeah. Yeah.
      3   confidential information that you --           3                 MR. BENNETT: You can answer that.
      4          THE WITNESS: Yes, sir.                  4          I believe the answer to this question has come
      5          MR. BENNETT: -- do not have.            5          out in other depositions, and the --
      6          To the extent it's publicly known or    6                 THE WITNESS: Okay.
      7   you don't know what this is, then you may      7                 MR. BENNETT: -- DEA has authorized
      8   answer.                                        8          it.
      9          MR. LANIER: Thank you.                  9                 So I am going to object it's beyond
     10          BY MR. LANIER:                         10          the scope of yours. But I'm not going to
     11     Q. 852 data?                                11          instruct you not to answer. So you may answer
     12     A. I have no idea what 852 data is.         12          that question --
     13     Q. So when the companies have their 852 13                     THE WITNESS: Okay.
     14   data, you don't even know what it is, do you? 14                 MR. BENNETT: -- if you know.
     15     A. No.                                      15                 THE WITNESS: Yes. We -- we have
     16          MR. EPPICH: Object to form.            16          used IMS, IQV data.
     17          MR. STEPHENS: Objection.               17                 BY MR. LANIER:
     18          THE WITNESS: No. I have no idea. 18                    Q. Rebate data?
     19          BY MR. LANIER:                         19                 MS. McCLURE: Object to form.
     20     Q. How about 867 data, as they call it?     20                 MR. O'CONNOR: Objection.
     21          MR. EPPICH: Object to form.            21                 THE WITNESS: Again, we -- we
     22          THE WITNESS: I never heard of 867 22               wouldn't have access to that unless we actually
     23   data.                                         23          subpoenaed it.
     24          BY MR. LANIER:                         24                 BY MR. LANIER:
     25     Q. How about 844 data, as they call it?     25              Q. The patient savings card data?
                                                    Page 638                                              Page 640
      1           MR. EPPICH: Object to form.                   1         MR. EPPICH: Objection.
      2           THE WITNESS: No, sir.                         2         MS. McCLURE: Form.
      3           BY MR. LANIER:                                3         THE WITNESS: Yeah -- no. We
      4      Q. How about charge-back data that they            4   wouldn't have access to that.
      5   get from their pharmacies?                            5         BY MR. LANIER:
      6            MS. McNAMARA: Objection. Form.               6      Q. ARCOS data, we already know.
      7           MR. EPPICH: Object to form.                   7      A. Yes.
      8           BY MR. LANIER:                                8      Q. ILR data?
      9      Q. Do you have access to that at the               9         MS. McCLURE: Form.
     10   DEA that you know of, all of the charge-back         10         THE WITNESS: I don't know what ILR
     11   data?                                                11   stands for.
     12      A. We don't have charge-back data at              12         BY MR. LANIER:
     13   our -- well, DEA did not have charge-back data       13      Q. Actual orders, the actual order
     14   at its disposal when we were there unless we         14   sheets and forms that came in?
     15   subpoenaed it.                                       15         MR. EPPICH: Object to form.
     16      Q. And you have to have good cause to             16         BY MR. LANIER:
     17   subpoena it?                                         17      Q. Were they ever supplied to you?
     18      A. We'd have to have an invest --                 18         MR. EPPICH: Object to form.
     19           MR. EPPICH: Objection.                       19         BY MR. LANIER:
     20           THE WITNESS: We'd have to have an            20      Q. Absent subpoenas?
     21   investigation.                                       21         MR. EPPICH: Object to form.
     22           BY MR. LANIER:                               22         MS. McCLURE: Form.
     23      Q. Okay. How about IMS or IQV data?               23         THE WITNESS: I don't believe they
     24           MR. EPPICH: Object to form.                  24   were supplied to us, no.
     25           BY MR. LANIER:                               25         BY MR. LANIER:
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      1     Q.    222 forms?                                   1          You remember that?
      2          MR. EPPICH: Object to form.                   2      A. Yes, sir.
      3          THE WITNESS: We maintained the 220            3      Q. Okay. But does the Act mandate that
      4   -- the 222 forms, especially if it's                 4   registrants have effective controls against
      5   electronic.                                          5   diversion?
      6          BY MR. LANIER:                                6          Is that there?
      7      Q. Suspicious order forms?                        7      A. Yes. It's part of --
      8          MR. EPPICH: Object to form.                   8          MS. McCLURE: Form.
      9          BY MR. LANIER:                                9          THE WITNESS: It's part of the
     10      Q. Do you know if they were all given            10   registration process. It's in 823. And it's
     11   to you?                                             11   also in 1301 in the regulations.
     12          MR. EPPICH: Object to form. Calls            12          BY MR. LANIER:
     13   for speculation.                                    13      Q. And did the DEA give guidance on
     14          THE WITNESS: I -- I -- I don't               14   what due diligence would be in that regard?
     15   know. I mean they were -- there was a period        15      A. Yes. During the meetings and the
     16   of time where we received very few suspicious       16   subsequent letters, yes.
     17   orders. So I don't know.                            17      Q. Did -- in other words, over and over
     18          BY MR. LANIER:                               18   again?
     19      Q. Pharma center data?                           19          MR. EPPICH: Objection. Leading.
     20          MR. EPPICH: Object to form. Vague.           20   Form.
     21          THE WITNESS: I -- I've never heard           21          THE WITNESS: Yes.
     22   of pharma center data.                              22          BY MR. LANIER:
     23          BY MR. LANIER:                               23      Q. Now, do -- does the DEA at any point
     24      Q. So in terms of other data the DEA             24   approve of lawyers trying to read loopholes
     25   could have used, would you agree with an            25   into the law and trying to figure out if
                                                   Page 642                                                  Page 644
      1   assessment that the manufacturers and                1   something's not said exactly the right way,
      2   distributors had access to a lot of data that        2   they can figure out a way to get away with
      3   the DEA did not?                                     3   something?
      4          MS. McCLURE: Form.                            4          Is that the joint approach you all
      5          MR. EPPICH: Object to form and                5   were envisioning in dealing with this narcotic
      6   characterization.                                    6   epidemic in America?
      7          BY MR. LANIER:                                7          MR. EPPICH: Objection. Form.
      8       Q. Especially absent a subpoena?                 8   Leading. Argumentative.
      9          MS. McCLURE: Form.                            9          MR. BENNETT: Objection. Form.
     10          MR. EPPICH: Object to form.                  10          THE WITNESS: We were just trying to
     11          THE WITNESS: Yeah. I -- I don't              11   make sure that they comply with the Act,
     12   know -- most of that I've never even heard of.      12   maintain effective controls against diversion,
     13   So I didn't -- no. We wouldn't have access to       13   so we could limit the amount of people that are
     14   it.                                                 14   harmed by these drugs.
     15          BY MR. LANIER:                               15          BY MR. LANIER:
     16       Q. All right. Next subject.                     16      Q. Related question: You were asked
     17          You got asked a ton about the                17   the DEA could have done better with oversight.
     18   Controlled Substances Act and what it               18          Do you remember that?
     19   specifically says and what it doesn't               19      A. Yes.
     20   specifically say.                                   20      Q. And we got video clips and all the
     21          Do you remember those questions?             21   rest of the stuff.
     22       A. Yes, sir.                                    22          Do you remember my analogy about
     23       Q. And you pointed out and the lawyer           23   driving through a school zone speeding?
     24   pointed out that the red flags you and I            24      A. Yes, sir.
     25   discussed are not specified in the statute.         25      Q. If a police officer could have

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                                                     Page 645                                                 Page 647
      1   written more tickets for speeding than the             1      A. No.
      2   police officer did, does that excuse someone           2      Q. Next, you got asked: "Well, you
      3   who speeds, in your mind?                              3   never instructed the companies to keep their
      4         MR. EPPICH: Objection. Incomplete                4   files."
      5   hypothetical.                                          5           Do you remember that?
      6         THE WITNESS: No. Based on -- based               6      A. Yes, sir.
      7   on your previous scenario, no.                         7      Q. Would old files be important in
      8         BY MR. LANIER:                                   8   monitoring -- in your ongoing monitoring?
      9      Q. So if a speeder hits a pedestrian,               9           Would bit important that a company
     10   would you ever accept from the speeder the idea       10   keep their files so that they can look back at
     11   of, "Hey, don't blame me for speeding. The            11   them?
     12   cops didn't ever write me a ticket"?                  12           MR. EPPICH: Object to form.
     13         MR. EPPICH: Objection. Leading. A               13   Leading. And vague.
     14   statement is written on the document.                 14           THE WITNESS: Absolutely. That's
     15         THE WITNESS: No.                                15   the -- the whole idea behind maintaining a due
     16         BY MR. LANIER:                                  16   diligence file is you have a history of
     17      Q. And -- and as to the specific                   17   purchases. That way you could see what they're
     18   language, did it say A, B or C?                       18   doing and where they're going with their
     19         This is my daughter. It's Rachel.               19   purchases.
     20      A. Oh, hi.                                         20           BY MR. LANIER:
     21      Q. She's a lawyer too.                             21      Q. So more to the point for me, I want
     22      A. I've got a Rachel too.                          22   to ask it this way: Did you ever tell a
     23      Q. Do you?                                         23   company to destroy their records?
     24      A. Yeah.                                           24      A. No.
     25      Q. Well, I got four daughters but only             25      Q. Did you know that the company's knew
                                                     Page 646                                                 Page 648
      1   one Rachel.                                            1   that they were supposed to keep their records?
      2          If I tell my daughters, back when               2          MS. McCLURE: Objection to form.
      3   they were much younger and lived at home and           3          MR. EPPICH: Objection. Calls for
      4   cared what I said in -- in these regards, if I         4   speculation.
      5   said, "Clean your room, please," do you think I        5          MR. LANIER: Let's don't speculate.
      6   need to specify "pick up your clothes" as part         6   Let's make it real clear.
      7   of that?                                               7          I want to show you Exhibit No. 16.
      8          MR. EPPICH: Object. To the                      8          (Deposition Exhibit 16 was marked
      9   hypothetical.                                          9   for identification.)
     10          MR. O'CONNOR: Objection.                       10          BY MR. LANIER:
     11          MR. EPPICH: Vague. Form.                       11      Q. Do you have Exhibit 16 in front of
     12          THE WITNESS: No. No.                           12   you?
     13          BY MR. LANIER:                                 13      A. Yes, sir.
     14      Q. Well, I started to do it this way:              14      Q. Exhibit 16 are industry compliance
     15   If someone says "Don't murder," does the word         15   guidelines. These are put out by the HDMA.
     16   "kill" have to appear?                                16          You ever heard of those folks?
     17          MR. EPPICH: Objection.                         17      A. Yeah. Healthcare Distribution
     18          THE WITNESS: No.                               18   Management Association.
     19          BY MR. LANIER:                                 19      Q. Yeah.
     20      Q. Someone says "Don't steal," do you              20          That's the one -- these companies
     21   have to put in there "from a supermarket"?            21   join together, and they fund this as their --
     22      A. No.                                             22   their group effort.
     23      Q. Someone says "Don't trespass on the             23          You with me?
     24   property," do you have to put "wearing tennis         24      A. Yes.
     25   shoes"?                                               25          MR. EPPICH: Objection. Form.
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                                                 Page 649                                                  Page 651
      1   Characterization.                                  1      A. -- of performing due diligence.
      2          BY MR. LANIER:                              2      Q. In that regard, if you'll look at
      3      Q. So this is something that you'll             3   Page 11, the companies themselves, in their
      4   find a lot of the opioid companies and             4   trade association, specify under Documentation:
      5   distributors were members of, and it               5   "All investigations should be fully documented,
      6   specifically talks about some of these issues.     6   and all records of the investigation should be
      7          If you'll look at the front page --         7   retained in an appropriate location within the
      8          MR. EPPICH: Object to form.                 8   firm."
      9   Narrative.                                         9          Do you see that?
     10          MR. O'CONNOR: Object to form.              10          MR. EPPICH: Object to form.
     11          BY MR. LANIER:                             11   Foundation.
     12      Q. -- it specifically says -- and this         12          MR. STEPHENS: Object to form.
     13   is 2008, so that you got a -- and the jury's      13          THE WITNESS: Yes, sir.
     14   got a date on this.                               14          BY MR. LANIER:
     15          You with me?                               15      Q. So before the lawyer ask you in
     16      A. Yes, sir.                                   16   front of the jury, "Did you ever tell them they
     17      Q. 2008.                                       17   had to keep their records?" did the lawyer
     18          This says: "Reporting suspicious           18   inform you that the trade association had
     19   orders and preventing diversion have been         19   already made it abundantly clear going back
     20   developed as part of the members distributors     20   2008?
     21   ongoing commitment to safe and efficient          21          MR. EPPICH: Objection form.
     22   distribution of prescription medicines,           22   Misstates facts.
     23   including controlled substance."                  23          THE WITNESS: No.
     24          You see that?                              24          MR. LANIER: By the same token, if
     25          MR. EPPICH: Objection. Foundation.         25   we want to go back further than that, we can go
                                                 Page 650                                                  Page 652
      1          THE WITNESS: Yes.                           1   back to the predecessor trade association.
      2          BY MR. LANIER:                              2          And we'll mark this as Exhibit No.
      3      Q. And it doesn't blame the DEA. It             3   17.
      4   says: "At the center of a sophisticated supply     4          (Deposition Exhibit 17 was marked
      5   chain, distributors are uniquely situated to       5   for identification.)
      6   perform due diligence" --                          6          BY MR. LANIER:
      7          MR. EPPICH: Objection.                      7      Q. So here is Exhibit No. 17. And this
      8          BY MR. LANIER:                              8   is the suspicious -- it's upside down --
      9      Q. -- "in order to help support the             9   monitoring system for the NWDA, and that is the
     10   security of the controlled substances."           10   pharma trade association.
     11          Do you see where I read that?              11          You know about that?
     12          MR. EPPICH: Objection.                     12      A. I think they were the --
     13          THE WITNESS: Yes, sir.                     13          MR. EPPICH: Objection.
     14          BY MR. LANIER:                             14          MS. McCLURE: Form.
     15      Q. Do you agree with that?                     15          BY MR. LANIER:
     16          MR. EPPICH: Objection. Foundation.         16      Q. You think they were what?
     17          BY MR. LANIER:                             17      A. I think they were the organization
     18      Q. Do you agree with that, sir?                18   before HDMA and had.
     19          MR. EPPICH: Scope.                         19      Q. Exactly.
     20          BY MR. LANIER:                             20      A. Yes.
     21      A. As I've testified before, the               21      Q. And if we look at what they had to
     22   distributors know their customers. They're the    22   say, they specifically give the detail on Page
     23   ones that can make that determination --          23   7.
     24          BY MR. LANIER:                             24          "Single suspicious orders. Single
     25      Q. And --                                      25   orders of unusual size or deviation must be

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                                                 Page 653                                                 Page 655
      1   reported immediately. The submission of a          1     Q.     Do you have that in front of you?
      2   monthly printout of after-the-fact sales will      2     A.     Yes.
      3   not relieve a registrant from the                  3          MS. MAINIGI: Objection. Scope.
      4   responsibility of reporting these single           4   Objection form.
      5   excessive or suspicious orders. DEA has            5          BY MR. LANIER:
      6   interpreted 'orders' to mean prior to              6      Q. Well, this is actually -- this is
      7   shipment."                                         7   the 2000 -- let's make sure I've got the right
      8          Do you see that?                            8   one.
      9      A. Yes.                                         9          This is the 2008 when you were
     10          MR. EPPICH: Object. Form.                  10   there, isn't it?
     11   Foundation.                                       11      A. Yes, sir.
     12          BY MR. LANIER:                             12          MR. LANIER: All right. Let me go
     13      Q. And this is -- the date on this,            13   to the next one.
     14   they knew about this in 1984 and 1993.            14          Here's the 2012 one. We'll mark it
     15          MR. EPPICH: Objection. Form.               15   as Exhibit 18. I gave you the wrong one. And
     16          MS. McCLURE: Foundation.                   16   I will fix that.
     17          BY MR. LANIER:                             17          (Deposition Exhibit 18 was remarked
     18      Q. Did you know that was known by them         18   for identification.)
     19   way back then?                                    19          BY MR. LANIER:
     20           MR. EPPICH: Objection to form.            20      Q. Exhibit 18. This is Cardinal.
     21   Assumes facts.                                    21          You have Exhibit 18 in front of you?
     22          THE WITNESS: This is the first time        22      A. Yes, sir.
     23   I've seen this document.                          23          MS. MAINIGI: Objection.
     24          BY MR. LANIER:                             24          BY MR. LANIER:
     25      Q. If they'd lived up to that, your            25      Q. Cardinal knew before you ever
                                                 Page 654                                                 Page 656
      1   world would have been a different world,         1     left -- because you'll look at the date on this
      2   wouldn't it?                                     2     one, 2012.
      3          MR. EPPICH: Objection. Form. And 3                      It's while you were there, right?
      4   argumentative.                                   4        A. Yes, sir.
      5          THE WITNESS: Okay.                        5        Q. Cardinal knew before you left. They
      6          BY MR. LANIER:                            6     acknowledged and agreed the obligations
      7      Q. Next. The Cardinal lawyer asked you 7            undertaken in this agreement don't fulfill the
      8   about the objectives of the DEA after you left 8       totality of its obligations to maintain
      9   and did they make an objective to try to         9     effective controls against diversion.
     10   communicate more and things of that nature. 10                 They already knew that, didn't they?
     11          Recall that?                             11             MS. MAINIGI: Objection. Form.
     12      A. Yes, sir.                                 12     Foundation. Scope.
     13      Q. And that's the Cardinal lawyer. She       13             THE WITNESS: Yes, sir.
     14   represented Cardinal.                           14             BY MR. LANIER:
     15          You understand?                          15        Q. They already knew and pledged that
     16          MS. MAINIGI: Objection.                  16     they would try to enhance their existing
     17          MR. LANIER: I'm going to hand you 17            processes and practices for conducting due
     18   the Cardinal -- after you left -- agreement to 18      diligence reviews.
     19   settle as marked as Exhibit No. 8 so we can see 19             MS. MAINIGI: Objection.
     20   with precision what was done after you left     20             BY MR. LANIER:
     21   with Cardinal Health.                           21        Q. Already done, right?
     22          This is Exhibit No. 18.                  22             MS. MAINIGI: Objection. Form.
     23          (Deposition Exhibit 18 was marked        23     Foundation. Scope.
     24   for identification.)                            24             THE WITNESS: Yes, sir.
     25          BY MR. LANIER:                           25             BY MR. LANIER:
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                                                  Page 657                                                  Page 659
      1      Q. They already agreed to a continued            1          MR. EPPICH: Object to form.
      2   suspension of their authority to handle             2          MS. MAINIGI: Objection.
      3   controlled substances at Lakeland until May of      3          THE WITNESS: No, sir.
      4   2014 so long as they meet the provisions of         4          BY MR. LANIER:
      5   what this agreement said.                           5      Q. Next subject.
      6          Fair?                                        6          She asked you about the GAO report
      7          MS. MAINIGI: Objection. Form.                7   in 2015.
      8   Foundation. Scope.                                  8          Do you remember those questions?
      9          THE WITNESS: Yes, sir.                       9      A. Yes, sir.
     10          BY MR. LANIER:                              10      Q. And she suggested to you -- and that
     11      Q. Did they seem to have any                    11   was Exhibit 11. It's the GAO report.
     12   communication problem with you in regard to        12          She suggested to you that the GAO
     13   that?                                              13   report says that the DEA is not communicating
     14          MS. MAINIGI: Objection. Form.               14   with enough registrants.
     15   Foundation. Scope.                                 15          I wrote it down. That's what she
     16          THE WITNESS: No.                            16   told you was the -- a takeaway from the report.
     17          BY MR. LANIER:                              17          Do you remember her saying that?
     18      Q. Next subject.                                18      A. Yes.
     19          You were asked question about Mr.           19          MS. MAINIGI: Objection.
     20   Rosenberg's testimony, and he said that there      20          BY MR. LANIER:
     21   were 1.6 million registrants, and 90-some-odd      21      Q. I've actually got it to show the
     22   percent seemed to have no trouble complying.       22   jury instead of talk about it.
     23      A. Yes.                                         23          Here's what it says on Page I in the
     24      Q. You understand, at this point in             24   table of contents. It says: "Registrants vary
     25   this case for these counties, we got 23 out of     25   in extent of interaction with DEA and awareness
                                                  Page 658                                                  Page 660
      1   1.6 million that are defendants in this case?       1   of DEA resources. And while generally
      2      A. Yes, sir.                                     2   satisfied, some want additional information."
      3      Q. I mean that 1.6 million is every              3          MR. BENNETT: Objection. Scope.
      4   doctor that can write a prescription for            4          BY MR. LANIER:
      5   opioids; every hospital that can give them to a     5      Q. Do you see that?
      6   patient; every pharmacy, whether they follow        6          MR. BENNETT: Objection. Scope.
      7   the law or not.                                     7   This is beyond the authorization for him to
      8          Fair?                                        8   talk about the GAO report.
      9      A. Yes, sir.                                     9          May I have a continuing objection to
     10      Q. And so out of that, you've got to            10   all your GAO report --
     11   sort the good apples from the bad apples.          11          MR. LANIER: Yes.
     12          Fair?                                       12          MR. BENNETT: -- questions?
     13      A. Yes, sir.                                    13          Thank you, sir.
     14      Q. And just because most people do it           14          BY MR. LANIER:
     15   right, has that ever been an excuse for those      15      Q. Do you see that, sir?
     16   who do it wrong?                                   16          MR. EPPICH: Object to the
     17          MS. MAINIGI: Objection. Scope.              17   foundation.
     18   Form.                                              18          MS. MAINIGI: Form.
     19          MR. EPPICH: Objection. Form.                19          THE WITNESS: Yes.
     20          THE WITNESS: No, sir.                       20          BY MR. LANIER:
     21          BY MR. LANIER:                              21      Q. I mean that doesn't say that the
     22      Q. Just because they say, "But most of          22   DEA's not communicating enough with registrants
     23   the people don't have the problems we have,"       23   as a takeaway. It says: "Generally people are
     24   have you ever found that to be an adequate         24   satisfied, but some want additional
     25   reason for companies to break the law?             25   information."

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                                                    Page 661                                                  Page 663
      1           Fair?                                         1          Do you remember that?
      2           MR. EPPICH: Object to the form.               2      A. Yes, sir.
      3           THE WITNESS: Yes, sir.                        3      Q. And I don't see where their fixes
      4           BY MR. LANIER:                                4   are.
      5      Q. By the same token, the same report              5            MR. EPPICH: Are you looking for
      6   that she talked about but didn't show on Page 1       6   the original? Exhibit 13.
      7   says that: "The Center For Disease Control and        7          MR. LANIER: Exhibit 13? Thank you.
      8   Prevention has declared the U.S. is in the            8          MR. EPPICH: If you're going to make
      9   midst of an epidemic of prescription overdose         9   a -- mark this Exhibit 13, can we make a quick
     10   deaths. In 2013 more than 22,000 Americans           10   copy?
     11   died from drug overdose as attributable to           11          MR. LANIER: No. We don't have time
     12   prescription drugs, and most of those deaths,        12   for that. I've got a better solution. Thank
     13   more than 16,000, were attributed to                 13   you though. I won't destroy your records.
     14   prescription opioid pain relievers."                 14          BY MR. LANIER:
     15           Is that consistent with the                  15      Q. Let's take the first one that he
     16   testimony you gave?                                  16   marked up. He marked up this one where he
     17           MR. O'CONNOR: Objection.                     17   didn't like the idea that I said people say,
     18           MR. EPPICH: Objection. Form.                 18   "Get me opioids to sell," because he said,
     19           THE WITNESS: Yes, sir.                       19   "They're not people. They're doctors." And --
     20           BY MR. LANIER:                               20          MR. EPPICH: Objection. Misstates.
     21      Q. It said: "One study estimated that             21          BY MR. LANIER:
     22   the opioid pain" reliver -- "reliever abuse          22      Q. -- and hospitals.
     23   cost health" insurance -- "insurers alone" --        23          MR. EPPICH: Objection. Misstates.
     24   this is just the health insurers. Doesn't            24          MR. LANIER: I don't think I'm
     25   count police, county and city, first responders      25   misstating, but -- but we'll look at it.
                                                    Page 662                                                  Page 664
      1   and all the other -- child care and -- and all   1               BY MR. LANIER:
      2   the other expenses associated. It's only         2           Q. So here's what he says. He says:
      3   health insurers alone.                           3        "They're not people. They're doctors,
      4          You follow me?                            4        hospitals and pharmacists."
      5      A. Yes, sir.                                  5               You see that?
      6          MR. EPPICH: Objection to form.            6           A. Yes, sir.
      7          MR. O'CONNOR: Objection. Form.            7           Q. How many pharmacists are people?
      8          BY MR. LANIER:                            8               MR. EPPICH: Objection.
      9      Q. Up to 72.5 --                              9               THE WITNESS: Every one that I know
     10          MS. McCLURE: Objection. Narrative.       10        is a people -- is a person.
     11   Commentary.                                     11               BY MR. LANIER:
     12          BY MR. LANIER:                           12           Q. How many doctors are people?
     13      Q. Up to 72.5 billion per year. Per          13           A. Every one that it know is a person.
     14   year.                                           14           Q. How many hospitals, not the building
     15          Sir, was this a good enough -- a big     15        itself but the folks that make it a hospital
     16   enough problem to where you were willing to put 16        instead of a zoo, how many of those folks
     17   your reputation on the line to try and do       17        inside the hospital are people?
     18   something about it?                             18           A. All the patient caregivers are
     19          MR. EPPICH: Object to form. Vague.       19        people.
     20          THE WITNESS: Yes.                        20           Q. So I may have drawn a person instead
     21          BY MR. LANIER:                           21        of a doctor or a hospital full of people or a
     22      Q. Next subject.                             22        pharmacy full of people, but the bottom line
     23          So another one of the lawyers for        23        doesn't change anything you and I talked about.
     24   the companies put up some of my roadmaps and my 24        And that is you got to deal with suspicious
     25   notes and tried to do some fixes to those.      25        orders when they happen; you can't wait six,

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                                                  Page 665                                                  Page 667
      1   eight months later.                                 1   -- physiological dependence?
      2           Fair?                                       2      A. Yes.
      3           MR. EPPICH: Objection to form.              3      Q. All right. Thank you.
      4   Mischaracterization.                                4          Next subject.
      5           MS. McCLURE: Misstates prior                5          There was some implication that
      6   testimony.                                          6   perhaps you've been stashing away some
      7           MR. EPPICH: Leading.                        7   documents in your house.
      8           THE WITNESS: Yes, sir.                      8          MR. EPPICH: Objection to the
      9           BY MR. LANIER:                              9   narrative.
     10       Q. All right. The other roadmap that           10          BY MR. LANIER:
     11   he took issue with was this one right here.        11      Q. Do you remember those questions?
     12   It's the definitions.                              12      A. Yes, sir.
     13           Remember that one?                         13      Q. Have you been stashing away some
     14       A. Yes, sir.                                   14   documents that you illegally took out of DEA at
     15       Q. All right. Let's put his in -- in a         15   your house?
     16   sleeve so I can write on it.                       16      A. No --
     17           He said: "Wait. There were five            17          MR. EPPICH: Objection to the
     18   categories of controlled substance, and I only     18   narrative. And misstates.
     19   wrote two of them."                                19          THE WITNESS: No, sir.
     20       A. Yes, sir.                                   20          BY MR. LANIER:
     21       Q. He -- and he wrote a third.                 21      Q. If there's any suggestion made to
     22           But you had already said there were        22   the jury that the lawyers for the industry want
     23   five; I was just asking you about these two; is    23   to taint you with the idea that you've secretly
     24   that fair?                                         24   taken documents home you weren't allowed to,
     25       A. Yes, sir.                                   25   has that ever happened to you?
                                                  Page 666                                                  Page 668
      1      Q. Were you playing hide the ball with           1          MR. EPPICH: Object to form and the
      2   the other ones?                                     2   narrative.
      3          MR. EPPICH: Objection.                       3          THE WITNESS: I've never taken
      4          THE WITNESS: No, sir.                        4   documents home. I've -- I've worked on
      5          BY MR. LANIER:                               5   documents at home. I've worked on documents
      6      Q. So No. 3, less risk of physical and           6   that were transmitted to me at my -- but I've
      7   psychological dependency then a No. 2, does         7   never held them for some nefarious reason.
      8   that mean no risk?                                  8          BY MR. LANIER:
      9      A. No.                                           9      Q. So you go home, and you work in the
     10      Q. So there's still risk?                       10   late hours on these documents.
     11      A. Yes.                                         11          Do you get paid overtime for that?
     12      Q. And Hydrocodone was there until              12      A. No.
     13   2014.                                              13          MR. EPPICH: Objection. Leading.
     14          Where did it get moved to?                  14          BY MR. LANIER:
     15      A. Schedule II.                                 15      Q. As a government worker that we're
     16      Q. Why?                                         16   paying with our tax dollars to help keep our
     17      A. Because --                                   17   country safe, you were working at home some
     18          MR. STEPHENS: Objection.                    18   without getting paid overtime?
     19          THE WITNESS: Based on the HHS, FDA          19          MR. EPPICH: Objection.
     20   and DEA analysis of the drug, it met the           20          THE WITNESS: Yes. And on the
     21   criteria of a Schedule II controlled substance     21   weekends too.
     22   rather than a Schedule III controlled              22          BY MR. LANIER:
     23   substance. It was misplaced in Schedule III.       23      Q. Thank you.
     24          BY MR. LANIER:                              24          Next.
     25      Q. High risk of physical psych -- psych         25          Did you ever divulge any of these

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                                                  Page 669                                                  Page 671
      1   DEA documents to anyone?                            1          MR. EPPICH: Objection to form.
      2      A. No.                                           2   Calls for speculation.
      3      Q. The log that we were shown is what's          3          MS. MAINIGI: Scope.
      4   called a privilege log.                             4          THE WITNESS: I have no idea.
      5          Do you know what that is?                    5          BY MR. LANIER:
      6      A. I believe it's a log that the                 6      Q. Do you know if Linden Barber may
      7   department keeps in order to explain why            7   have taken any?
      8   they're not going to release a document.            8          MR. EPPICH: Objection.
      9      Q. Yeah. In other words, that is we're           9          MS. MAINIGI: Objection. Form.
     10   not giving them out, at least in their             10   Scope.
     11   entirety, right?                                   11          THE WITNESS: I have no idea.
     12      A. Yes, sir.                                    12          MR. LANIER: We've got a chance to
     13      Q. Now, if the McKesson lawyer wants            13   listen to Linden Barber.
     14   those documents that the government has told       14          (Deposition Exhibit 19 was marked
     15   you, your ex-employer told you are not to be       15   for identification.)
     16   given out, are you going to voluntarily give       16          BY MR. LANIER:
     17   them to the McKesson lawyer just because           17      Q. Let me show you a document that
     18   they're begging you for them?                      18   we'll mark as Exhibit No. 20, which is a
     19          MR. EPPICH: Object to the form.             19   document he prepared -- or 19. Excuse me.
     20   And misstates the testimony.                       20   Exhibit 19.
     21          THE WITNESS: No.                            21          This is one he prepared when he was
     22          BY MR. LANIER:                              22   still working for the DEA before he went to
     23      Q. Are you going to continue to                 23   work for industry.
     24   withhold those documents the way the government    24          MR. BENNETT: Objection. Counsel,
     25   says should be done for the national interest      25   I'm not sure if you're aware of this, but the
                                                  Page 670                                                  Page 672
      1   for our safety, health and welfare in America?   1      Department of Justice is seeking to claw this
      2           MR. EPPICH: Object to the form.          2      document back, is my understanding.
      3           THE WITNESS: Absolutely.                 3              I believe that this document is
      4           BY MR. LANIER:                           4      privileged, contains attorney-client privileged
      5      Q. Thank you, sir.                            5      communications.
      6           Next subject. No. Let's stay on          6              And so we intend to -- we are still
      7   that subject for a moment.                       7      tracking down how Cardinal Health got this
      8           So you had mentioned before -- this      8      document. But we are intending to claw this
      9   is still on documents from the DEA.              9      document back. And so I do not believe this
     10           You had mentioned before that some      10      witness can answer any questions regarding this
     11   DEA folks went to work for industry, right?     11      document.
     12      A. Yes, sir.                                 12              MR. LANIER: This was now attached
     13      Q. I think one example is Linden             13      to the Walgreens expert report. So this
     14   Barber.                                         14      thing's like all over the place.
     15           Do you know Linden Barber?              15              MR. BENNETT: I understand the
     16      A. Yes, sir.                                 16      problem.
     17           MR. LANIER: Want to see how much        17              MR. LANIER: So will you be
     18   time I got. Hold on. I have 12 minutes? I       18      instructing him not to answer? And do I have a
     19   have time to burn.                              19      right to appeal on that or...
     20           BY MR. LANIER:                          20              MR. BENNETT: It will depend on what
     21      Q. Did anybody from the pharma or did        21      your question is.
     22   you ever know whether or not any of those       22              MR. LANIER: Okay. I don't think
     23   ex-DEA folks who went to work for the companies 23      it's a bad one.
     24   have their own sets of documents they took from 24              MR. BENNETT: However, I will say,
     25   the DEA?                                        25      if we claw it back, we will ask this portion of

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                                                    Page 673                                                 Page 675
      1   the transcript be redacted.                           1          Did you, on your personal knowledge,
      2          MR. LANIER: Deal. Deal. And then               2   know that to be true?
      3   we don't have to retake a depo if I wind up           3      A. Yes.
      4   getting...                                            4      Q. The second paragraph, it says:
      5          MR. BENNETT: I'd objection.                    5   "While it's appropriate" -- and this is the
      6          BY MR. LANIER:                                 6   second sentence.
      7      Q. All right. So --                                7          "While it's appropriate for a
      8          MR. BENNETT: And again, I don't                8   diversion investigator to provide guidance to
      9   want this information shared.                         9   registrants with respect to their suspicious
     10          MS. MAINIGI: Mr. Bennett, we would            10   order reporting system, it remains the sole
     11   have an ongoing objection to that line of            11   responsibility of the registrant to design and
     12   questioning.                                         12   operate such a system."
     13          MR. BENNETT: And I have an object             13          Do you agree with that assessment?
     14   to this being used at all. If you want to ask        14          MR. BENNETT: You may answer that
     15   him if he knows whether this was taken or not,       15   question.
     16   I would let him answer that question "yes" or        16          MS. MAINIGI: Objection. Form.
     17   "no." To the extent that you're showing any of       17   Foundation.
     18   the contents of this document, we would object       18          THE WITNESS: Yes.
     19   to it.                                               19          BY MR. LANIER:
     20          MR. LANIER: Object. But will you              20      Q. And do you know whether or not
     21   instruct him not to answer, or can I still ask?      21   Linden Barber took that knowledge with him when
     22          I don't know what the rules are.              22   he went to work for the distributor that he
     23          MR. BENNETT: I don't know the                 23   went the work for?
     24   questions that you're going to ask.                  24      A. I don't know if he took --
     25          SPECIAL MASTER COHEN: You got ask             25          MS. MAINIGI: Objection. Form.
                                                    Page 674                                                 Page 676
      1   and see what happens.                                 1   Foundation. Scope.
      2           MR. LANIER: All right.                        2          THE WITNESS: I mean he knew what
      3           BY MR. LANIER:                                3   was going on with the distributors not filing
      4      Q. Sir, did Linden Barber know and                 4   suspicious orders. I -- I don't know what he
      5   report -- I guess I shouldn't show it yet --          5   took, what he didn't take.
      6   that investigations of wholesale distributors         6          BY MR. LANIER:
      7   have revealed that many of the distributors are       7      Q. All right. Next subject.
      8   not filing suspicious order reports?                  8          The Walmart lawyer went last, and he
      9           MS. MAINIGI: Objection. Scope.                9   started asking you some hypotheticals about
     10   Objection. Foundation. Form.                         10   Distributor A and Distributor B. And I'm not
     11           MR. EPPICH: Objection.                       11   sure I followed it, but I think I did.
     12           THE WITNESS: I -- Linden Barber --           12          You with me?
     13           MR. BENNETT: Hold on. Hold on.               13      A. Yes, sir.
     14           THE WITNESS: Okay. Sorry.                    14      Q. I want to ask you some questions.
     15           MR. BENNETT: You can answer within           15          He basically got you to say, if
     16   your personal knowledge "yes" or "no," if you        16   Distributor A or B is doing something wrong but
     17   know.                                                17   the other distributor is not, would you impute
     18           THE WITNESS: Could you repeat the            18   from one to the other.
     19   question. I want to make sure I got it right.        19          Do you remember all of that talk?
     20           BY MR. LANIER:                               20      A. Yes, sir.
     21      Q. Yes, sir. And I'm basing it on the             21      Q. Here's my question: Would it matter
     22   first sentence.                                      22   to you if the two had conspired to work
     23           "Investigation of wholesale                  23   together by joining the same hospital
     24   distributors have revealed many distributors         24   association or -- or healthcare association
     25   are not filing suspicious order report."             25   or -- or working together in some way to

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                                                   Page 677                                                   Page 679
      1   further a plan?                                      1          He showed it to you in the exhibit?
      2          Would that matter?                            2      A. It's -- yes. It's what -- it's what
      3          MR. STEPHENS: Object to form.                 3   Patterson testified to.
      4   Calls for legal conclusion.                          4      Q. What he left out when he showed you
      5          THE WITNESS: If --                            5   that is this paragraph in the middle. It says:
      6          MR. STEPHENS: Foundation.                     6   "I understand that their desire in a lot of
      7          MR. BENNETT: And I'll object to               7   these cases is to be able to get
      8   scope.                                               8   contemporaneous evidence, use undercover as
      9          You can answer.                               9   opposed to having to use witnesses that have
     10          THE WITNESS: Yes, it did -- it does          10   come in that may not have the best of
     11   matter.                                             11   backgrounds."
     12          BY MR. LANIER:                               12          Do you see that?
     13      Q. I mean you -- he kept saying would            13      A. Yes, sir.
     14   you hold Distributor B if it was Distributor A      14      Q. Did you all have undercover agents?
     15   and you kept saying, "Give me more data. Give       15   Or was that FBI agents? Or who had the
     16   me more data. Give me more data."                   16   undercover agents?
     17          I'm giving you more data.                    17          MR. O'CONNOR: Objection.
     18          If they're in a conspiracy, does             18          MR. BENNETT: Objection. Scope.
     19   that make a difference?                             19          I'll remind you that you cannot
     20      A. Yes, it does.                                 20   disclose confidential law enforcement
     21          MS. MAINIGI: Objection.                      21   investigative techniques, the effectiveness of
     22          BY MR. LANIER:                               22   which would be impaired.
     23      Q. Does it matter if they're both                23          You are authorized to answer that
     24   supplying excessive opioid?                         24   question "yes" or "no" only.
     25      A. Yes.                                          25          THE WITNESS: So the -- the question
                                                   Page 678                                                   Page 680
      1          MS. MAINIGI: Objection.                       1   is --
      2          BY MR. LANIER:                                2           BY MR. LANIER:
      3      Q. Does it matter if you've got two               3      Q. Is did you all have undercover
      4   distributors that are supplying to the same          4   operatives?
      5   retailer, and both of them know that the other       5      A. Yes.
      6   one's supplying as well when they're trying to       6      Q. Okay. Then maybe you can answer
      7   figure out orders of unusual size?                   7   this one too: Do you wanted to rat out your
      8          MR. STEPHENS: Objection. Form.                8   undercover ops?
      9          MS. MAINIGI: Objection.                       9      A. You'd disclose their -- no.
     10          THE WITNESS: Yes.                            10      Q. All right. And if the company is
     11          BY MR. LANIER:                               11   not doing something illegal, this problem never
     12      Q. All right. Next subject.                      12   arises.
     13          You got asked, if the DEA waited a           13           Fair?
     14   year to file.                                       14           MR. EPPICH: Objection. Form.
     15          Do you remember?                             15           MS. MAINIGI: Objection.
     16      A. Yes, sir.                                     16           BY MR. LANIER:
     17          I think this is --                           17      Q. Or if a registrant's not. Let me
     18      Q. And there --                                  18   put it that way.
     19      A. -- supposed to be ISOs.                       19           MR. EPPICH: Objection. Form.
     20      Q. ISOs not ASO.                                 20   Vague.
     21          And in that regard, there was                21           THE WITNESS: Yes, sir.
     22   evidently, at least in one circumstance, a          22           MS. MAINIGI: Objection.
     23   delay of one year suspension orders for             23           MR. LANIER: All right. I think I'm
     24   investigation purposes.                             24   out of time as well.
     25          Do you remember that?                        25           I thank you very much, Mr.

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                                                    Page 681                                                                        Page 683
                                                                1                  Veritext Legal Solutions
      1   Rannazzisi. It has been a pleasure to get to                              1100 Superior Ave
      2   know you.                                             2                     Suite 1820
                                                                                   Cleveland, Ohio 44114
      3         THE WITNESS: Thank you.                         3                   Phone: 216-523-1313
      4         THE VIDEOGRAPHER: This concludes                4
                                                                    May 20, 2019
      5   today's deposition.                                   5
      6         Going off record.                                   To: Gregory Utter, Esq.
                                                                6
      7         Time is 4:22.                                       Case Name: In Re: National Prescription Opiate Litigation
      8         (Whereupon, the deposition was                  7
                                                                    Veritext Reference Number: 3301884
      9   concluded at 4:22 p.m.)                               8
                                                                  Witness: Joseph Rannazzisi          Deposition Date: 5/15/2019
     10                                                         9
     11                                                        10 Dear Sir/Madam:
                                                               11
     12                                                           Enclosed please find a deposition transcript. Please have the witness
     13                                                        12
                                                                  review the transcript and note any changes or corrections on the
     14                                                        13
     15                                                           included errata sheet, indicating the page, line number, change, and
                                                               14
     16                                                           the reason for the change. Have the witness’ signature notarized and
     17                                                        15
                                                                  forward the completed page(s) back to us at the Production address
     18                                                        16 shown
                                                               17 above, or email to production-midwest@veritext.com.
     19                                                        18
     20                                                           If the errata is not returned within thirty days of your receipt of
                                                               19
     21                                                           this letter, the reading and signing will be deemed waived.
     22                                                        20
                                                               21 Sincerely,
     23                                                        22 Production Department
     24                                                        23
                                                               24
     25                                                        25 NO NOTARY REQUIRED IN CA

                                                    Page 682                                                                        Page 684
                                                                1           DEPOSITION REVIEW
      1           CERTIFICATE OF NOTARY PUBLIC                             CERTIFICATION OF WITNESS
      2         I, Bonnie L. Russo, the officer before          2
                                                                   ASSIGNMENT REFERENCE NO: 3301884
      3   whom the foregoing deposition was taken, do           3 CASE NAME: In Re: National Prescription Opiate Litigation
      4   hereby certify that the witness whose testimony          DATE OF DEPOSITION: 5/15/2019
                                                                4 WITNESS' NAME: Joseph Rannazzisi
      5   appears in the foregoing deposition was duly          5     In accordance with the Rules of Civil
                                                                  Procedure, I have read the entire transcript of
      6   sworn by me; that the testimony of said witness       6 my testimony or it has been read to me.
      7   was taken by me in shorthand and thereafter           7     I have made no changes to the testimony
                                                                  as transcribed by the court reporter.
      8   reduced to computerized transcription under my        8
      9   direction; that said deposition is a true               _______________          ________________________
                                                                9 Date              Joseph Rannazzisi
     10   record of the testimony given by said witness;       10     Sworn to and subscribed before me, a
                                                                  Notary Public in and for the State and County,
     11   that I am neither counsel for, related to, nor       11 the referenced witness did personally appear
     12   employed by any of the parties to the action in         and acknowledge that:
                                                               12
     13   which this deposition was taken; and further,               They have read the transcript;
     14   that I am not a relative or employee of any          13     They signed the foregoing Sworn
                                                                      Statement; and
     15   attorney or counsel employed by the parties          14     Their execution of this Statement is of
                                                                      their free act and deed.
     16   hereto, nor financially or otherwise interested      15
     17   in the outcome of the action.                               I have affixed my name and official seal
                                                               16
     18                                                           this ______ day of_____________________, 20____.
     19            <%11937,Signature%>                         17
                                                                          ___________________________________
     20            Notary Public in and for                    18         Notary Public
                                                               19         ___________________________________
     21            the District of Columbia                               Commission Expiration Date
     22                                                        20
                                                               21
     23   My Commission expires: June 30, 2020                 22
     24                                                        23
                                                               24
     25                                                        25

                                                                                                              81 (Pages 681 - 684)
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                                                                         Page 685
      1         DEPOSITION REVIEW
               CERTIFICATION OF WITNESS
      2
         ASSIGNMENT REFERENCE NO: 3301884
      3 CASE NAME: In Re: National Prescription Opiate Litigation
         DATE OF DEPOSITION: 5/15/2019
      4 WITNESS' NAME: Joseph Rannazzisi
      5     In accordance with the Rules of Civil
        Procedure, I have read the entire transcript of
      6 my testimony or it has been read to me.
      7     I have listed my changes on the attached
        Errata Sheet, listing page and line numbers as
      8 well as the reason(s) for the change(s).
      9     I request that these changes be entered
        as part of the record of my testimony.
     10
            I have executed the Errata Sheet, as well
     11 as this Certificate, and request and authorize
        that both be appended to the transcript of my
     12 testimony and be incorporated therein.
     13 _______________           ________________________
        Date              Joseph Rannazzisi
     14
            Sworn to and subscribed before me, a
     15 Notary Public in and for the State and County,
        the referenced witness did personally appear
     16 and acknowledge that:
     17     They have read the transcript;
            They have listed all of their corrections
     18     in the appended Errata Sheet;
            They signed the foregoing Sworn
     19     Statement; and
            Their execution of this Statement is of
     20     their free act and deed.
     21     I have affixed my name and official seal
     22 this ______ day of_____________________, 20____.
     23         ___________________________________
                Notary Public
     24
                ___________________________________
     25         Commission Expiration Date

                                                        Page 686
      1            ERRATA SHEET
               VERITEXT LEGAL SOLUTIONS MIDWEST
      2          ASSIGNMENT NO: 3301884
      3   PAGE/LINE(S) /    CHANGE       /REASON
      4   ___________________________________________________
      5   ___________________________________________________
      6   ___________________________________________________
      7   ___________________________________________________
      8   ___________________________________________________
      9   ___________________________________________________
     10   ___________________________________________________
     11   ___________________________________________________
     12   ___________________________________________________
     13   ___________________________________________________
     14   ___________________________________________________
     15   ___________________________________________________
     16   ___________________________________________________
     17   ___________________________________________________
     18   ___________________________________________________
     19
        _______________      ________________________
     20 Date          Joseph Rannazzisi
     21 SUBSCRIBED AND SWORN TO BEFORE ME THIS ________
     22 DAY OF ________________________, 20______ .
     23       ___________________________________
              Notary Public
     24
              ___________________________________
     25       Commission Expiration Date

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